Case:Highly
      1:17-md-02804-DAP Doc #:
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                                                      Confidentiality      Review

     1                        UNITED STATES DISTRICT COURT

     2                    FOR THE NORTHERN DISTRICT OF OHIO

     3                               EASTERN DIVISION

     4    IN RE: NATIONAL                *

     5    PRESCRIPTION                   *      MDL No. 2804

     6    OPIATE LITIGATION              *        Case No.

     7    _____________________          *      1:17-MD-2804

     8    THIS DOCUMENT RELATES          *       Hon. Dan A.

     9    TO ALL CASES                   *        Polster

    10

    11                    THURSDAY, JANUARY 10, 2019

    12

    13             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER

    14                    CONFIDENTIALITY REVIEW

    15                               – – –

    16                 Videotaped deposition of JACK CROWLEY,

    17                 held at the JW Marriott Atlanta,

    18                 3300 Lenox Road NE, Atlanta, Georgia,

    19                 commencing at 9:22 a.m., on the

    20                 above date, before Lois A. Robinson,

    21                 Registered Diplomate Reporter and Certified

    22                 Realtime Reporter.

    23

    24

    25

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                                                              Page 2                                                               Page 4
    1            APPEARANCES                                              1       A P P E A R A N C E S - (continued)
    2   COUNSEL FOR PLAINTIFFS:                                           2 COUNSEL FOR ABBOTT LABORATORIES:
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    5          LAURA FITZPATRICK, ESQUIRE                                 5         Jamccauley@venable.com
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    6                                                                            CLARK MICHIE LLP
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    9       BY: DAN GOLDMAN, ESQUIRE                                      9         Chris.michie@clarkmichie.com
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   10
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   12       35 West Wacker Drive, Suite 3400                                     New York, New York 10006
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   13       BY: NATHAN E. HOFFMAN, ESQUIRE                                          Lpincus@abv.com
               Nathan.hoffman@dechert.com                                13
   14                                                                       COUNSEL FOR MALLINCKRODT:
   15                                                                    14      ROPES & GRAY, LLP
        COUNSEL FOR WALMART:                                                     1211 Avenue of the Americas
   16       JONES DAY                                                    15      New York, NY 10036-8704
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            BY: SARAH G. CONWAY, ESQUIRE                                 17
   18         Sgconway@jonesday.com                                      18 ALSO PRESENT ON PHONE/STREAMING:
   19
                                                                                 JONATHAN JAFFE
        COUNSEL FOR CARDINAL HEALTH, INC.:                               19      DAVID EGILMAN
   20       WILLIAMS & CONNOLLY, LLP                                             ALEXIS PICCIRILLO
            725 Twelfth Street, NW                                       20
   21       Washington, DC 20005                                         21 VIDEOGRAPHER:           JOSH COLEMAN
            BY: STEVEN M. PYSER, ESQUIRE
   22         Spyser@wc.com                                              22
                                                                         23             LOIS ANNE ROBINSON, RPR, RDR, CRR, CRC
   23
   24              (Continued on next page)                              24
   25                                                                    25

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    1        A P P E A R A N C E S - (continued)                          1                  INDEX
    2   COUNSEL FOR McKESSON:
            COVINGTON & BURLING LLP                                       2 EXAMINATION                                   PAGE
            One City Center
    3                                                                     3 By Ms. Conroy                             9
            850 Tenth Street, NW
    4       Washington, DC 20001-4956                                     4 By Mr. Pyser                           342
            BY: LAURA SIDARTH, ESQUIRE
               Lsidarth@cov com                                           5 By Mr. Hoffman                           353
    5
    6                                                                     6 By Ms. Conroy                           375
        (PARTICIPATING BY TELECONFERENCE/STREAMING):
    7                                                                     7                  *****
        COUNSEL FOR AMERISOURCEBERGEN:
    8                                                                     8 EXHIBITS                               PAGE
            REED SMITH, LLP
    9       Three Logan Square                                            9 Crowley Exhibit 1                         19
            Suite 3100
            1717 Arch Street                                             10   Second Amended Notice of Deposition
   10
            Philadelphia, Pennsylvania 19103                             11 Crowley Exhibit 2                         39
   11       BY: MICHAEL J SALIMBENE, ESQUIRE
               Msalimbene@reedsmith com                                  12   LinkedIn page of Jack Crowley
   12                                                                    13 Crowley Exhibit 3                         20
   13   COUNSEL FOR ENDO HEALTH SOLUTIONS, INC , ENDO PHARMACEUTICALS,
        INC , PAR PHARMACEUTICAL, INC , PAR PHARMACEUTICAL COMPANIES,    14   Curriculum vitae
   14   INC (F/k/a PAR PHARMACEUTICAL HOLDINGS, INC ):
               ARNOLD & PORTER                                           15 Crowley Exhibit 4                         20
   15          70 West Madison Street, Suite 4200                        16   Excerpts from DEA/Rannazzisi 2006 and 2007 letters
               Chicago, Illinois 60602-4321
   16          BY: MICHAEL BULLERMAN, ESQUIRE                            17 Crowley Exhibit 5                        192
                  Michael bullerman@arnoldporter com
                                                                         18   Article from LA Times - "More than 1 million OxyContin pills
   17
   18   COUNSEL FOR VALIDUS PHARMACEUTICALS:                             19   ended up in the hands of criminals and addicts. What the
            FOX ROTHSCHILD, LLP
            1301 Atlantic Avenue                                         20   drugmaker knew."
   19
            Midtown Building, Suite 400                                  21 Crowley Exhibit 6                        242
   20       Atlantic City, New Jersey 08401-7212
            BY: ADAM BUSLER, ESQUIRE                                     22   Article from thefix.com - "Oxy Manufacturers Knowingly
               Abusler@foxrothschild com
   21                                                                    23   Supplied LA Drug Ring with More than 1 Million Pills"
   22
   23         (Continued on next page)                                   24 Crowley Exhibit 7                        116
   24                                                                    25   List of Pharmacies - PPLP004384833 to PPLP004384837
   25

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    1             I N D E X - (continued)                               1              I N D E X - (continued)
    2 Crowley Exhibit 8                        129                      2 Crowley Exhibit 31                     334
    3   10/28/10 Report to OMS TEAM - PPLPC041000014663 - 670           3   Bill Mahoney email to Crowley - PPLPC023000234301 - 303
    4 Crowley Exhibit 9                        116                      4 Crowley Exhibit 32                     360
    5   Handwritten notes used on Elmo at deposition                    5 Crowley email to Boockholdt - PPLPD004687363 with Bates
    6 Crowley Exhibit 10                       245                      6 PPLPC004687385 attached
    7   Jack Crowley email of 10/3/17 - PPLPC004000132946 - 954         7 Crowley Exhibit 33                     376
    8 Crowley Exhibit 11                       262                      8   9/27/06 letter - ALLERGAN_MDL_02467796 - 799
    9   Emails - PPLPC019000216132 - 137                                9 Crowley Exhibit 34                     376
   10 Crowley Exhibit 12                       297                     10   12/27/07 letter - no Bates number
   11   Emails - PPLPC018000240260 - 267                               11
   12 Crowley Exhibit 13                       300                     12
   13   OMS Measures of Effectiveness email - PPLPC023000371445 13
   14 Crowley Exhibit 14                       304                     14
   15   Emails - PPLPC018000137550 - 552                               15
   16 Crowley Exhibit 15                       304                     16
   17   Emails - PPLPC008000045952 - 954                               17
   18 Crowley Exhibit 16                       304                     18
   19   Emails - ALLERGAN_MDL_03953259 - 267                           19
   20 Crowley Exhibit 17                       304                     20
   21   CAH_MDL2804_00824045 - 050                                     21
   22 Crowley Exhibit 18                       304                     22
   23   Emails - ALLERGAN_MDL_02128065 - 072                           23
   24 Crowley Exhibit 19                       304                     24
   25   Emails - ABDCMD00301700 - 703                                  25

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    1             I N D E X - (continued)                               1   VIDEOGRAPHER:
    2 Crowley Exhibit 20                      304                       2           We are now on the record. My name is
    3   Crowley email to Donald Walker - MCKMDL00536290                 3   Josh Coleman. I am the videographer for Golkow
    4 Crowley Exhibit 21                      304                       4   Litigation Services. Today's date is January
    5   Email - CAH_MDL2804_01724159 - 160                              5   10th, 2019. The time is approximately 9:22 a.m.
    6 Crowley Exhibit 22                      304                       6           This video deposition is being held in
    7   CAH_MDLPRIORPROD_DEA07_00842131                                 7   Atlanta, Georgia, in the matter of National
    8 Crowley Exhibit 23                      304                       8   Prescription Opiate Litigation, MDL Number 2804,
    9   DEA Industry Investigation and the Impact on Manufacturing -    9   the United States District Court for the Northern
   10   11/9/01                                                        10   District of Ohio, Eastern Division.
   11 Crowley Exhibit 24                      304                      11           The deponent is Jack Crowley.
   12   Crowley email to George Euson - PPLPC026000064596 - 599        12           Will counsel -- counsel will be noted
   13 Crowley Exhibit 25                      304                      13   on the stenographic record.
   14   Emails - TEVA_MDL_A_01453620 - 21                              14           The court reporter is Lois Robinson,
   15 Crowley Exhibit 26                      304                      15   who will now swear in the witness.
   16   Crowley email to Donald Walker - MCKMDL00536290                16                JACK CROWLEY,
   17 Crowley Exhibit 27                      266                      17          the witness, after having first been
   18   Email re SOP - PPLPC026000112463 - 969                         18   duly sworn to tell the truth, the whole truth,
   19 Crowley Exhibit 28                      329                      19   and nothing but the truth, was examined and
   20   Crowley email to Adam Fein - PPLPC031000423731 - 735           20   testified as follows:
   21 Crowley Exhibit 29                      331                      21                 EXAMINATION
   22   Crowley email to Gina Limer - PPLPC018000310388                22   BY MS. CONROY:
   23 Crowley Exhibit 30                      332                      23   Q        Good morning, Mr. Crowley. We met
   24   Crowley email to J. David Haddox - PPLPC022000271055           24   briefly. My name is Jayne Conroy, and I'm gonna
   25                                                                  25   be asking you questions today.

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    1          There may be some other lawyers that         1   Q        Okay. So from 2004 until today, you
    2   will ask questions of you as well. Is that okay?    2   have not had your deposition taken in any matter
    3   A       That's fine. Thank you.                     3   at all?
    4   Q       Is there any reason that you can't give     4   A        My understanding of the term
    5   truthful testimony today?                           5   "deposition," I would say no, I have not.
    6   A       No reason.                                  6   Q        What's your understanding of the
    7   Q       Great.                                      7   deposition?
    8          You have with you a lawyer,                  8   A        It -- as opposed to investigative
    9   Mr. Goldman?                                        9   testimony type of a witness.
   10   A       Yes, I do.                                 10   Q        Have you given investigative testimony
   11   Q       And is he representing you today?          11   since 2004?
   12   A       He is.                                     12   A        Yes.
   13   Q       Okay. And are you paying for him?          13   Q        Okay. And on how many occasions?
   14   A       Not personally.                            14   A        Twice.
   15   Q       Okay. Who's paying for him?                15   Q        And what would the -- what was the
   16   A       The company, Purdue Pharma.                16   subject of those investigations?
   17   Q       Okay. And do you have any other            17   MR. GOLDMAN:
   18   lawyers that are representing you here in the      18           Objection.
   19   room today?                                        19           And to the extent that the question
   20   A       No.                                        20   calls for a conversation between you and counsel
   21   Q       When did you retain -- or do you know      21   about the subject investigation, I'm gonna
   22   when Purdue retained Mr. Goldman to represent      22   instruct you not to answer that question.
   23   you?                                               23   MS. CONROY:
   24   MR. GOLDMAN:                                       24   Q        What -- Mr. Crowley, what I'm asking
   25          Objection.                                  25   you about is your understanding of why you were
                                                Page 11                                                 Page 13
    1          The question is when.                        1   deposed or why you gave --
    2   A       Could you clarify?                          2          This was sworn testimony, correct,
    3   MS. CONROY:                                         3   these two instances? You were under oath?
    4   Q       I'm just looking -- did -- did you --       4   A       I'm not trying to be evasive. I don't
    5          When did you first learn that                5   remember --
    6   Mr. Goldman was going to be representing you        6   Q       Okay.
    7   today? And just -- I don't want any --              7   A       -- if I was or not.
    8   A       In December. December sometime.             8   Q       They were -- they were discrete events,
    9   Q       Okay. When did you first learn that         9   those whatever -- these two times that you spoke
   10   you would be deposed in this case?                 10   with respect to an investigative action?
   11   A       About that time. Wasn't -- the exact       11   MR. GOLDMAN:
   12   date had not been set, but...                      12          Objection.
   13   Q       And how did you learn?                     13          Go ahead.
   14   A       Telephone -- telephone call, you know,     14   A       Government agencies.
   15   following email.                                   15   MS. CONROY:
   16   Q       Okay. Has your deposition -- have you      16   Q       So someone from a government agency was
   17   had your deposition taken before in the past?      17   asking the questions?
   18   Not about -- not in this case. In any case have    18   A       Yes.
   19   you had your deposition taken?                     19   Q       Was it a lawyer? Do you know?
   20   A       I have.                                    20   A       Yes.
   21   Q       Okay. How many times?                      21   Q       And what was the subject matter of each
   22   A       As a government official, probably         22   of those occasions when a government agent was
   23   several. And I had a deposition taken as a -- my   23   asking you questions?
   24   position with Purdue Pharma 2004, I believe. I     24   MR. GOLDMAN:
   25   don't -- I don't remember the details.             25          Objection.

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    1          Go ahead.                                     1   that?
    2   A       Potential litigation against Purdue          2   A        No. To my recollection, no.
    3   Pharma.                                              3   Q        And when do you think that occurred?
    4   MS. CONROY:                                          4   A        I think that was also around the -- I
    5   Q       Do you know if litigation ever occurred      5   think it was 2017.
    6   against Purdue Pharma?                               6   Q        Okay.
    7   A       I don't.                                     7   A        Probably in June. I -- I really don't
    8   Q       Were you represented by anyone when you      8   remember the exact date. I'm sorry.
    9   were questioned in those investigations?             9   Q        Few of us do. I'm not gonna -- I'm
   10   A       Yes.                                        10   just trying to get a feel.
   11   Q       And who represented you?                    11          So the -- the one that you characterize
   12   A       At one time, Mr. Goldman. And the           12   as a deposition was not too long ago, and it came
   13   other time, one of his associates. I can't          13   before the one that you don't characterize as a
   14   remember her name at the moment.                    14   deposition?
   15   Q       Did the -- was the subject matter           15   A        That's correct.
   16   opioids?                                            16   Q        Okay. And what government agency was
   17   A       Yes.                                        17   asking questions at the deposition, if you
   18   Q       And your -- you were -- you don't know      18   recall?
   19   if those were depositions; is that correct?         19   A        State of New Hampshire, Attorney
   20   A       Uh, one of them may have been, and the      20   General's Office.
   21   other was categorized a different way.              21   Q        And the second one, who was asking the
   22   Q       Okay. Do you recall how it was              22   questions? What agency or government entity?
   23   categorized?                                        23   A        U. S. Attorney's Office, District of
   24   MR. GOLDMAN:                                        24   Connecticut.
   25          And to the extent that the question          25   Q        Have you ever seen the -- the actual
                                                 Page 15                                                  Page 17
    1   calls for and the answer calls for communications    1   printout of the deposition from the one in 2016?
    2   that you had with counsel, I'm gonna direct you      2   A       No.
    3   not to answer the question. So if your knowledge     3   MR. GOLDMAN:
    4   of how it's categorized only comes from              4          Objection.
    5   conversations that you and I had or you had with     5          Go ahead.
    6   other people in my firm, then you should not         6   A       No, I have not.
    7   answer the question.                                 7   MS. CONROY:
    8          Can you answer the question without           8   Q       Okay. And there was, as far as you
    9   drawing upon conversation you had with me or         9   understand, there was -- there was no record of
   10   someone else in my firm?                            10   what you had to say in the June 2017 or
   11   THE WITNESS:                                        11   thereabouts questions from the U. S. Attorney's
   12          I cannot.                                    12   Office in Connecticut?
   13   MR. GOLDMAN:                                        13   MR. GOLDMAN:
   14          Okay.                                        14          Objection.
   15   MS. CONROY:                                         15          Go ahead.
   16   Q        Okay. When was the one that you            16   A       No record except for maybe some of
   17   characterize as a deposition? It was sometime       17   their personal notes.
   18   after 2004; correct?                                18   MS. CONROY:
   19   A        I believe it was in June of two -- June    19   Q       Okay. Do you have any notes or
   20   2016, I think.                                      20   documents from either of those two instances?
   21   Q        Okay. Was there a court reporter           21   A       No.
   22   present or a tape recording of it? Do you know?     22   Q       You talked about a deposition in 2004
   23   A        Recording, audio.                          23   when -- concerning Purdue. Is that correct?
   24   Q        And the other instance, was there a        24   A       Yes.
   25   court reporter or an -- or an audio recording of    25   Q       And what was -- what was the subject

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    1   matter of that deposition?                         1   A       Yes.
    2   A       My recollection is it had more to do       2   Q       On how many occasions?
    3   with marketing of...                               3   A       Civil or criminal or --
    4   Q       Marketing of opioids?                      4   Q       Doesn't -- doesn't matter.
    5   A       Yes.                                       5   A       Probably twenty.
    6   Q       And you were employed by Purdue at that    6   Q       Okay. And how would you break down
    7   time?                                              7   between civil and criminal of the twenty?
    8   A       Yes.                                       8   A       I would say all but two would have been
    9   Q       And do you recall who took that            9   on the criminal side.
   10   deposition or whether there was a lawsuit with    10   Q       And what were the two civil cases?
   11   respect to that deposition or any other -- any    11   A       I don't remember. I might as we go
   12   other details about it?                           12   along, but I don't remember.
   13   A       No, not really.                           13   Q       Okay.
   14   Q       Where did it take place? Do you           14   A       Yeah.
   15   remember that?                                    15   Q       Did they -- they involve something with
   16   A       I think it took place right at Purdue     16   respect to your responsibilities as a DEA agent?
   17   headquarters, at the home office, I think.        17   A       Yes.
   18   Q       In Stamford?                              18   Q       And were they in a courtroom?
   19   A       Yes.                                      19   A       Yes.
   20   Q       Where did the June 2016 deposition take   20   Q       And is that the -- is that true of the
   21   place?                                            21   times that you testified at criminal trials?
   22   MR. GOLDMAN:                                      22   They were as a result of your responsibilities as
   23         Objection.                                  23   a DEA agent?
   24         Go ahead.                                   24   A       That's correct.
   25   A       Concord, New Hampshire.                   25   Q       Have you --
                                               Page 19                                                  Page 21
    1   MS. CONROY:                                        1           Take a look at Exhibit 1, which is your
    2   Q       And where did the U. S. Attorney's         2   Notice of Deposition.
    3   Office in Connecticut, where did they talk to      3          (CROWLEY EXHIBIT NUMBER 1
    4   you?                                               4           WAS MARKED FOR IDENTIFICATION.)
    5   A       That was by tele- -- teleconference, I     5   MS. CONROY:
    6   would call it. They were in their office in        6   Q        Have you seen this document before?
    7   New Haven, Connecticut, and I was here at -- in    7   A        I believe this is the same document
    8   Atlanta at a hotel.                                8   that I saw a PDF copy. Yeah.
    9   Q       And that was -- that was not a             9   Q        You're here, so at least you heard
   10   face-to-face? That was over a telephone?          10   about it somehow; right?
   11   A       Video conference.                         11   A        Yeah.
   12   Q       I see.                                    12   Q        All right. You see the second
   13   A       Video conference.                         13   paragraph? It says, "Pursuant to the Federal
   14   Q       Okay.                                     14   Rules, the deponent should produce all documents
   15   A       Yeah.                                     15   which deponent has consulted or reviewed or plans
   16   Q       And then you've had several depositions   16   to consult in preparation for his deposition and
   17   while you were a DEA agent? Is that correct?      17   has relied upon or will rely upon for testimony
   18   MR. GOLDMAN:                                      18   in this matter."
   19         That's a "yes" or "no."                     19           Do you see that?
   20   A       Yes.                                      20   A        Yes.
   21   MS. CONROY:                                       21   Q        And number 2, "Copies of all curriculum
   22   Q       And where would you put that? Ten to      22   vitae used or prepared by the deponent in the
   23   twenty? Five to ten?                              23   preceding five years."
   24   A       Less than five.                           24           And, then, 3 we'll talk about in a
   25   Q       Have you ever testified at a trial?       25   minute. That's a much larger set.

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    1           But I do have what we've marked as           1   A        Just to help me understand what the DEA
    2   Exhibits 3 and 4 that counsel for Purdue gave to     2   was asking for on those two letters.
    3   us today.                                            3   Q        And why were you doing that in 2012?
    4          (CROWLEY EXHIBITS 3 AND 4 WERE                4   Why did you want to help -- why did you want that
    5           MARKED FOR IDENTIFICATION.)                  5   understanding?
    6   MS. CONROY:                                          6   A        Whatever I have done in the course of
    7   Q        Exhibit 3 looks like some sort of           7   my duties would be to be at the highest level of
    8   biographical information about you. Is that          8   compliance with DEA policies -- well, law,
    9   correct?                                             9   regulations, policies, procedure. So just to
   10   A        Yes.                                       10   keep myself up to date.
   11   Q        Okay. And who prepared this?               11   Q        Okay. These are excerpts from letters
   12   A        I did.                                     12   in 2006 and 2007. So what, in 2012, when you
   13   Q        Okay. And when did you prepare it?         13   created this document, had you select excerpts
   14   A        Well, I have to go by the date, which      14   from these two letters to keep up with regulatory
   15   says July 2018.                                     15   and other --
   16   Q        Okay. Were you asked to prepare it or      16   A        The two letters are the basic
   17   is this something that you typically do; you kind   17   documents. Sometimes you would learn an emerging
   18   of keep your CV up to date?                         18   interpretation from a conversation with a DEA
   19   A        I am asked to do this on occasion when     19   agent, investigator, or at a conference or at
   20   I'm about to get a project. But...                  20   some other kind of a meeting.
   21   Q        And this is your most up-to-date bio?      21   Q        And, so, you have the two excerpts from
   22   A        Yes. I think so.                           22   the letters, Roman Numeral IV and Roman Numeral
   23   Q        Do you have a -- a CV that's longer        23   V. Do you see that?
   24   than this or that is set up any differently than    24   A        Yes.
   25   this?                                               25   Q        Is there a Roman Numeral I through III

                                                 Page 23                                                      Page 25
    1   A       I have prepared one in the past, yeah.       1   anywhere?
    2   Q       Okay. And how old is that one?               2   A       I don't know. Probably is. I don't
    3   A        Within the same time frame, within the      3   know. Yeah.
    4   last three to six months.                            4   Q       Okay. Do you know where this -- where
    5   Q       Is there a reason why you didn't             5   this came from?
    6   provide that one?                                    6   A       My personal file.
    7   A       I -- no. No reason. Thought this             7   Q       And when you say your personal file,
    8   would be sufficient.                                 8   personal file as in a file folder at home or an
    9   Q       Okay. And, then, Exhibit 4 is                9   electronic file or --
   10   double-sided document. Does it look familiar to     10   A       Electronic file.
   11   you?                                                11   Q       So from your computer?
   12   A       Yes.                                        12   A       Yes.
   13   Q       And what is it?                             13   Q       And did -- did you print this out
   14   A       Some excerpt notes that I had prepared      14   yourself?
   15   at some point concerning two DEA letters.           15   A       No.
   16   Q       And when, approximately, would you have     16   Q       Okay. Who did that?
   17   prepared them, would you have prepared these        17   A       Mr. Goldman, I think, or --
   18   notes?                                              18   MR. GOLDMAN:
   19   A        Well, sometime before 2012. Well,          19          That's fine.
   20   that's my --                                        20   A       Right.
   21   Q       You're guessing that because of Roman       21   MR. GOLDMAN:
   22   Numeral VI?                                         22          Counsel.
   23   A       Yes.                                        23   MS. CONROY:
   24   Q       Okay. And what was the purpose for          24   Q       Counsel.
   25   preparing this document?                            25   A       Counsel.

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    1   Q        One of your counsel.                        1   MR. GOLDMAN:
    2          And do they have access to your               2          Jack, if the answer to the question
    3   computer at home?                                    3   calls for -- if your understanding of why she's
    4   A        Not readily.                                4   been given the document comes from a conversation
    5   Q        How were they able to -- how were they      5   that you and I have had, then you should not
    6   able to get this document to print it out?           6   answer the question.
    7   A        I -- I mentioned it, and they asked me      7   THE WITNESS:
    8   for a copy.                                          8          Okay. I will not answer on advice of
    9   Q        Okay. So you -- so you sent it to your      9   my counsel.
   10   counsel?                                            10   MS. CONROY:
   11   A        That's correct.                            11   Q       Okay. Is it fair to say this is not
   12   Q        Okay. Did they inquire about any other     12   the only document kept electronically on your
   13   documents that were on your computer, whether       13   computer with respect to opioids or anything to
   14   there was any earlier portion of this document?     14   do with Purdue or opioids?
   15   A        No.                                        15   MR. GOLDMAN:
   16   MR. GOLDMAN:                                        16          Object to form.
   17          Direct you not to answer that question.      17   A       I don't think that's fair. No.
   18          Counsel, that question clearly calls         18   MS. CONROY:
   19   for attorney-client communication.                  19   Q       I don't understand your answer. In --
   20   MS. CONROY:                                         20   you have -- in your -- this comes from your home
   21          I actually don't agree.                      21   computer files; correct?
   22   Q        So you were asked to produce anything      22   A       Correct.
   23   what? That had to do with opioids or the subject    23   Q       Exhibit 4.
   24   of this deposition?                                 24   A       (Nods affirmatively.)
   25   MR. GOLDMAN:                                        25   Q       Is it fair to say that you have other
                                                 Page 27                                                     Page 29
    1          Counsel, to the extent --                     1   opioid --
    2          Sorry.                                        2          Would you consider this an
    3          Jack, to the extent that you're -- any        3   opioid-related document?
    4   response to the question comes from conversation     4   A        Not necessarily, no.
    5   with counsel, you should not answer the question.    5   Q        Okay. Well, how would you characterize
    6   A       I will take that counsel.                    6   what this is?
    7   MS. CONROY:                                          7   A        It's a document, an extraregulatory
    8   Q       Okay.                                        8   communication in the form of a letter --
    9   A       Yeah.                                        9   actually, two letters -- written by a person at
   10   Q       Let me ask you this way. After you          10   Drug Enforcement Administration offering, shall I
   11   received the PDF of the deposition notice, did      11   say, guidance on the suspicious order monitoring
   12   you take a look at your home files, including       12   regulation.
   13   your electronic files on your computer, to          13   Q        And that's Sections 4 and 5, right,
   14   determine if you had any documents responsive to    14   what you just -- what you just told me about?
   15   the notice?                                         15   A        That's correct, yes.
   16   A       I did not.                                  16   Q        Okay. Let's take a look at Roman
   17   Q       So when you provided Exhibit 4 to           17   Numeral VI, Emerging Interpretation, 2008 to 2012
   18   counsel and then it was given to me, that was not   18   and present. Do you see that?
   19   as a result of the deposition notice?               19   A        Yes.
   20   MR. GOLDMAN:                                        20   Q        Did you type those words?
   21          Objection.                                   21   A        Yes.
   22   A       I don't believe it was.                     22   Q        Okay. And then there are bullet points
   23   MS. CONROY:                                         23   underneath it. First one says, "It's not DEA's
   24   Q       Do you know why I've been given this        24   intent to negatively impact those pharmacies
   25   document?                                           25   filling prescriptions for legitimate medical

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    1   purposes."                                           1   A        It would include narcotics, any central
    2          Do you see that?                              2   nervous system controlled substance. So
    3   A        I do.                                       3   narcotics, depressants, tranquilizers,
    4   Q        Okay. What kind of prescription --          4   amphetamines.
    5          Strike that.                                  5   Q        Okay. Would it include OxyContin?
    6          Are these your words, your                    6   A        Yes. OxyContin is a Schedule II
    7   interpretation?                                      7   controlled substance.
    8   A        No.                                         8   Q        Would it include Duragesic?
    9   Q        Who's at -- who's -- where does this        9   A        Yes.
   10   bullet point come from?                             10   Q        And was there some discussion of what a
   11   A        If it did not come from either of those    11   legitimate medical purpose was when you had this
   12   letters, it would have come from a -- some other    12   conversation with the DEA agent or heard this at
   13   communication from a DEA official.                  13   some group meeting?
   14   Q        So this is a quote from a DEA              14   A        I don't recall and I don't believe so.
   15   official's letter, that bullet point?               15   Q        Do you have an understanding of what
   16   MR. GOLDMAN:                                        16   that means?
   17          Objection.                                   17   A        It's a very difficult concept, but
   18          Go ahead.                                    18   I -- I think I do.
   19   A        I don't think it's a quote because I       19   Q        Okay. Can you -- can you tell me what
   20   would have included that in quotation marks.        20   your understanding is?
   21   MS. CONROY:                                         21   A        Well, for a prescription to be
   22   Q        Is that your opinion?                      22   legitimate, it must be issued in the usual course
   23   MR. GOLDMAN:                                        23   of professional practice for a legitimate medical
   24          Objection.                                   24   reason. The legitimate medical reason is arrived
   25          Go ahead.                                    25   at after a conversation with the patient, a
                                                 Page 31                                                  Page 33
    1   A        No. That was my understanding of what       1   diagnosis is -- is reached, and part of
    2   was communicated.                                    2   the -- part of the therapy would be that the
    3   MS. CONROY:                                          3   prescription may be appropriate.
    4   Q        To you by someone at the DEA?               4   Q       Has that been your understanding of the
    5   A        Yes.                                        5   definition of legitimate medical purposes for
    6   Q        And who was that?                           6   years? Is that fair to say?
    7   A        I don't recall.                             7   MR. HOFFMAN:
    8   Q        When would it -- when would you have        8          Object to the form.
    9   received that understanding from someone at the      9   MR. GOLDMAN:
   10   DEA?                                                10          Yeah. Before you answer that
   11   A        I could only give you an estimate, and     11   question --
   12   that's sometime after 2008.                         12          Counsel, I think, to avoid any Touhy
   13   Q        Okay. And it's -- it's your memory         13   problems, I think if you could define as far as
   14   that there was someone at the DEA that told you     14   his understanding --
   15   that the DEA has no intention to negatively         15   MS. CONROY:
   16   impact pharmacies filling prescriptions for         16          That's fine.
   17   legitimate medical purposes?                        17   Q       After -- well, after you were a DEA
   18   A        Yes. It could have been communicated       18   agent.
   19   to me or to a group that I was part of.             19   A       Yes. Right.
   20   Q        And what kind of prescriptions             20   Q       So that would be starting --
   21   are -- what kind of prescriptions are the subject   21          When did you begin -- when did you
   22   of that intention?                                  22   leave the DEA?
   23   A        Prescriptions for controlled               23   A       2001.
   24   substances.                                         24   Q       Okay.
   25   Q        And that would include OxyContin?          25   A       Officially, September of 2001.

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     1   Q       The next bullet point, "Prevent                  1   prescription drugs.
     2   Diversion - onus squarely on the registrant."            2   MR. HOFFMAN:
     3          Do you see that?                                  3          Object to the form.
     4   A       Yes.                                             4   A        Would contribute to my understanding of
     5   Q       And is this a quote from somewhere? Is           5   prescription controlled substances and compliance
     6   this your opinion? What is this?                         6   thereof, yes.
     7   A       It's not my opinion. That would have             7   MS. CONROY:
     8   been a quote from a comment made by a DEA                8   Q        And that would include -- that would
     9   official at one of their conferences or some             9   include the compliance issues surrounding
    10   other meeting attended by representatives of            10   controlled substances?
    11   industry who heard it and then shared it.               11   A        Yes.
    12   Q       And when you drafted this document,             12   Q        The -- if you turn the page on Exhibit
    13   were you writing that from memory or did you have       13   4, there's seven more bullet points. Do you see
    14   other documents you were referring to? How              14   this?
    15   did -- how'd you do it?                                 15   A        Excuse me.
    16   A       I really don't remember. I would say            16          I do.
    17   from memory.                                            17   Q        Okay. The next one is "Can a
    18   Q       Do you have other documents on your             18   prospective customer be trusted."
    19   computer with respect to notes or materials from        19          Do you see that?
    20   conferences that you attended or conversations          20   A        Yes.
    21   you've had with DEA agents?                             21   Q        Is that a quotation from something?
    22   A       I don't believe so.                             22   A        It would have been in a -- a
    23   Q       But this is not the only document on            23   communication from a DEA official at a
    24   your computer; correct?                                 24   conference.
    25   MR. GOLDMAN:                                            25   Q        And when you sat at your computer and
                                                       Page 35                                                 Page 37
     1          Object to the form.                               1   typed up this page, were you just recalling what
     2   A       The only document on my computer?                2   you had heard at conferences or were you
     3   MS. CONROY:                                              3   referring to anything?
     4   Q       Correct. This is not the only document           4   A       Well, I may have been referring to
     5   on your computer; correct?                               5   emails or something like that. I'm sure I was
     6   A       That's correct.                                  6   referring to something.
     7   Q       And do you have other documents and              7   Q       Would it have been something on your
     8   materials on your computer that relate in any way        8   computer, that you had access to on your
     9   to prescription drugs?                                   9   computer?
    10   A       That's a broad question, so I would say         10   A       At the time I wrote it, yes.
    11   I have documents that relate to compliance issues       11   Q       Have you ever provided this document to
    12   that I've kept over the years so I can be               12   anyone other than your counsel for this
    13   current.                                                13   deposition today?
    14   Q       And when you're being asked questions           14   A       Yes.
    15   today, some of those documents have informed your       15   Q       And who was that?
    16   experience and understanding of this area?              16   A       I belong to and actually was one of the
    17   MR. HOFFMAN:                                            17   creators of an industry group, an informal
    18          Object to form.                                  18   working group -- we call it the New Jersey
    19   A       I didn't review any of them in                  19   Pharmaceutical Industry Group -- manufacturers
    20   preparation for today.                                  20   and distributors from the state of New Jersey and
    21   MS. CONROY:                                             21   contiguous states and informal meetings that we
    22   Q       Okay. That's not what I asked you.              22   had several times a year. So my recollection
    23   A       Okay.                                           23   would have been anyone who attended a certain
    24   Q       I asked you whether they contributed to         24   meeting would have gotten that document.
    25   your experience and understanding in the area of        25   Q       When you say "that document," you mean

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     1   Exhibit 4?                                                1          Who were the -- who were the folks that
     2   A        Yes.                                             2   you kind of kept up, Christmas card, occasional
     3   Q        Okay. And do you still attend such               3   emails, whatever?
     4   meetings?                                                 4   A       I might have trouble spelling his name.
     5   A        I do not. No.                                    5   Mike Magliaro.
     6   Q        Is the working group still in effect?            6   Q       And what companies was or is he
     7   A        Yes.                                             7   involved with?
     8   Q        Why do you no longer attend?                     8   A       Well, he's changed jobs recently, so I
     9   A        I -- I'm a consultant now, or I'm not            9   don't know.
    10   viewed as an employee of a manufacturing company,        10   Q       And when you were -- when you were in
    11   so I'm not allowed to.                                   11   the working group, who did he work for?
    12   Q        Okay. So that working group, at least,          12   A       Halo, H-A-L-O.
    13   is restricted to just current employees of               13   Q       And what is Halo?
    14   manufacturers or distributors?                           14   A       That's been acquired also, but it's a
    15   A        Yes. Or whoever they invite to the              15   manufacturing company. It was Avid before that,
    16   meeting.                                                 16   Halo, and now it's -- I don't know. I can't
    17   Q        Okay. And you -- you were instrumental          17   remember.
    18   in the creation of that group?                           18   Q       Okay. Anyone other than Mike?
    19   A        Yes.                                            19   A       Michelle Dempsey.
    20   Q        And approximately when was that?                20   Q       And she's from Janssen?
    21   A        Probably 2008, after these letters came         21   A       Yes. Noramco at the time.
    22   out.                                                     22   Q       Have you had any conversations with
    23   Q        Okay. And when -- did you stop                  23   Michelle Dempsey recently?
    24   attending when you left Purdue or sometime later?        24   A       No.
    25   A        When I left Purdue, yes.                        25   Q       Anybody else?
                                                       Page 39                                                 Page 41
     1   Q       And have you on any occasion been                 1   A        No. Not really, no, that I can think
     2   invited back after you left Purdue --                     2   of.
     3   A       No.                                               3   Q        Okay. Now that we've been talking
     4   Q       -- to any meetings?                               4   about Exhibit 4 a little bit more, does it
     5   A       No.                                               5   refresh your memory at all whether or not there
     6   Q       If I had the files of the -- the                  6   was a Roman Numeral I, II, and III to this
     7   New Jersey working group, would I potentially             7   document?
     8   find Exhibit 4 in those files?                            8   A        I'm sure there was.
     9   MR. HOFFMAN:                                              9   Q        But you, at least for the purposes of
    10         Object to form. Calls for speculation.             10   this deposition, you couldn't find it?
    11   A       There were no official files.                    11   A        It wasn't part of that -- that
    12   MS. CONROY:                                              12   document. I don't -- I no longer have it,
    13   Q       So nobody -- there was no -- was there           13   whatever it was. Correct.
    14   a -- was there any official office for that              14   Q        Okay. So whatever -- whatever's on
    15   organization?                                            15   your computer today is, as best as you can tell,
    16   A       No.                                              16   is just this -- the two pages here?
    17   Q       Do you keep in touch with any of the             17   A        That's right.
    18   members from that working group?                         18          (CROWLEY EXHIBIT NUMBER 2
    19   A       On occasion, yes.                                19           WAS MARKED FOR IDENTIFICATION.)
    20   Q       Who do you -- who do you keep in touch           20   MS. CONROY:
    21   with?                                                    21   Q        Let's take a look at Exhibit 2, which
    22   A       Definition of "in touch"? Just,                  22   is a LinkedIn. It's a little hard to read on
    23   you know, from time to time, once a year, or             23   this. If you turn the page, it says that you
    24   something like that?                                     24   are, from January 2013 to present, you are the
    25   Q       Yeah, sure.                                      25   president of Crowley Associates, LLC. See that?

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     1   A       Oh. Right at the top.                           1   Q       And did -- did anything with respect to
     2   Q       At the very --                                  2   the Rannazzisi letters involve -- did that have
     3   A       Yes.                                            3   any relevance to Gates Healthcare?
     4   Q       Okay. And is that true through today?           4   A       No.
     5   A       Yes.                                            5   Q       Did Gates Healthcare -- was Gates
     6   Q       And did you form that Crowley                   6   Healthcare involved in any controlled substances?
     7   Associates upon leaving Purdue Pharma?                  7   Do you know?
     8          You can see just down a couple of steps          8   A       As far as handling controlled
     9   you were Executive Director, Purdue Pharma, from        9   substances --
    10   January 2003 to December 2012. Do you see that?        10   Q       Correct.
    11   A       Yes.                                           11   A       -- no. No.
    12   Q       Okay. So did you form Crowley                  12   Q       So you were not -- you were not
    13   Associates --                                          13   advising him with respect to anything with
    14          You left -- you left in December --             14   controlled substances? Is that fair?
    15   December of 2012. You formed Crowley Associates        15   A       That's fair, yes.
    16   right away in January?                                 16   Q       Then -- do you have clients at Crowley
    17   A       Well, actually formed it in 2001. So I         17   Associates currently?
    18   re-formed it, I should say.                            18   A       I -- I take projects on referral, so
    19   Q       Okay.                                          19   I've done work for several recently. But I have
    20   A       Yeah.                                          20   one client in Atlanta here, AttainMed, M-E-D,
    21   Q       Okay. And, so, when you were -- if you         21   AttainMed, small wholesale company.
    22   look just above the Purdue Pharma listing, when        22   Q       Do they deal in controlled substances?
    23   you were Vice President, DEA Regulatory                23   A       Yes, among other things.
    24   Compliance at Gates Healthcare Associates, Inc.,       24   Q       And what are you doing for them?
    25   that ran concurrently with Crowley Associates?         25   A       I provide DEA advice. I'm hands-on
                                                    Page 43                                                   Page 45
     1   A       Correct.                                        1   compliance work, physical inventory, reporting,
     2   Q       Okay. And were you -- were you                  2   make sure they're the highest level of
     3   employed as a consultant by Gates Healthcare?           3   compliance --
     4   A       A 1099 employee, friend, helping                4   Q       Okay.
     5   him --                                                  5   A       -- yeah.
     6   Q       Okay.                                           6   Q       And what other clients have you had
     7   A       -- expand his business.                         7   since January of 2013?
     8   Q       Who was the "him"?                              8          Or let me ask it this way, because --
     9   A       Ernest Gates.                                   9          Has it been, you know, ten or so
    10   Q       And what kind of business is Gates             10   clients or --
    11   Healthcare?                                            11   A       Yeah.
    12   A       Primarily regulatory compliance for            12   Q       -- 50-plus clients?
    13   retail pharmacies, compounding pharmacies.             13   A       Ten. Ten, probably.
    14   Q       And what did you -- what did you help          14   Q       Ten?
    15   him with?                                              15   A       Yeah.
    16   A       Expanding his business in the area of          16   Q       And who have the major clients been?
    17   DEA compliance, perhaps offering services to           17   A       Noramco, Incorporated, Athens, Georgia.
    18   hospitals, any other entity that might need help.      18   Q       And what did you do for Noramco?
    19   Q       Did you prepare anything in writing for        19   A       We performed an assessment.
    20   Mr. Gates or for Gates Healthcare?                     20   Q       Assessment of what?
    21   A       Work product, I think. Yes.                    21   A       Scientific affairs and -- and the
    22   Q       Right.                                         22   compliance function and internal interviews and
    23          Did you write any reports or anything           23   best way to comply with Controlled Substances Act
    24   like that for him?                                     24   when you're talking about small quantities, and
    25   A       Yes.                                           25   research, that type of thing, analysis.

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     1   Q        Okay.                                       1   A        Yes.
     2   A        I was down in Puerto Rico for that          2   MS. CONROY:
     3   company, different name. Janssen-Cilag,              3   Q        What other -- what other companies have
     4   C-I-L-A-G.                                           4   you consulted for?
     5          I've done assessments for Fresenius           5   A        I've been involved in Eaton Apothecary,
     6   Kabi, K-A-B-I, in Grand Island, New York, which      6   that assessment. That's in Massachusetts.
     7   is Buffalo. They also have a manufacturing site      7   E-A-T-O-N Apothecary. I think they had, like, 13
     8   in Wilson, North Carolina. That's a German           8   retail locations.
     9   company that has a U.S. presence now in the past     9   Q        Okay. And what did you -- what was the
    10   ten years.                                          10   subject of your assessment there?
    11   Q        What's the name of that company?           11   A        To make sure that they didn't have any
    12   A        Fresenius Kabi.                            12   DEA type issues in any of their locations.
    13   Q        With a PH or an F? Fresenius?              13   Q        Did -- were you looking at both
    14   A        Oh, Fresenius is F. Fresenius, R --        14   controlled substances and just their regular
    15   F-R-E-S -- let's see -- E-N-I-U-S. Fresenius        15   pharmaceutical line?
    16   Kabi, K-A-B-I.                                      16   A        Controlled substances.
    17   Q        And what do they manufacture or supply?    17   Q        And they're a retail pharmacy?
    18   A        Schedule II injectable narcotics and       18   A        That's what they're categorized as.
    19   also a Schedule IV Midazolam, I believe.            19   Some of their locations are what you'd call
    20   Q        And what did you do for them?              20   closed-door, almost.
    21   A        Assessment, you know, identify gaps,       21   Q        Okay.
    22   opportunities for improvement.                      22   A        So...
    23   Q        Is Fresenius Kabi a manufacturer, a        23   Q        What -- do you recall what controlled
    24   supplier or --                                      24   substance Janssen-Cilag manufactured in
    25   A        Manufacturer.                              25   Puerto Rico?
                                                  Page 47                                                 Page 49
     1   Q         And they have manufacturing facilities     1   A       I should. Amphetamine.
     2   in -- in Grand Island, New York, as well as          2   Q       Can you recall any other substances?
     3   Wilson, North Carolina?                              3   A       That was the main, I think. I don't
     4   A         Yes.                                       4   think they had any Schedule II narcotics there.
     5   Q         And the work for Janssen-Cilag, was        5   I really don't remember at the moment. I'm
     6   that -- was Janssen-Cilag in Puerto Rico a           6   sorry.
     7   manufacturer or supplier?                            7   Q       That's fine.
     8   A         Manufacturer. I conducted a -- an          8   A       Yeah.
     9   unannounced audit of that location.                  9   Q       Did you do any consulting work for
    10   Q         Of that manufacturing location?           10   Purdue Pharma after you left as executive
    11   A         Yes.                                      11   director?
    12   Q         And that's -- that's basically what you   12   A       I was retained for one year in case
    13   did as a DEA agent; correct? You inspected and      13   anyone had a question. I did not perform any
    14   audited manufacturing locations?                    14   work that would be in the category of an
    15   MR. GOLDMAN:                                        15   assessment or a project. Occasionally, I would
    16           I'm gonna --                                16   answer questions.
    17   MS. CONROY:                                         17   Q       And that was the year right -- that was
    18           Just generally. I'm not --                  18   2013?
    19   MR. GOLDMAN:                                        19   A       Yes.
    20           Yeah. So object --                          20   Q       Have you -- are you being paid for your
    21   MS. CONROY:                                         21   time today by Purdue Pharma?
    22   Q         I just want to ask just generally.        22   A       No.
    23   That was your background?                           23   Q       Are you being paid for your time by
    24   MR. GOLDMAN:                                        24   anyone today?
    25           Be mindful of that. No specifics.           25   A       No.

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     1   Q        What does it mean -- if you go to the       1         Yeah.
     2   first page of Exhibit 2 of your LinkedIn account,    2   MS. CONROY:
     3   it says, "Mr. Crowley has managed and conducted      3   Q       I'm just -- while you were a DEA
     4   domestic and international assessments and audits    4   agent --
     5   of manufacturers, distributors, laboratories,        5   A       Yeah.
     6   hospitals, clinics, retail pharmacies, and           6   Q       -- you certainly had assessment and
     7   medical and dental practices during his career,      7   inspection and audit experience with respect to
     8   including office-based opioid treatment (OBOT)."     8   manufacturers; right?
     9          Do you see that?                              9   A       I wouldn't use the word "assessment."
    10   A        Yes.                                       10   Q       Okay. I'm actually -- so I'm going by
    11   Q        And you gave me, basically -- I know,      11   what it --
    12   as a DEA investigator, just very generally, you     12         Let me -- let me start again.
    13   were in a lot of manufacturing facilities;          13   A       Right.
    14   correct?                                            14   Q       It says, "Mr. Crowley" --
    15   A        Could you just repeat the end of that      15   A       Right.
    16   question?                                           16   Q       -- "has managed and conducted domestic
    17   Q        Sure.                                      17   and international assessments and audits of
    18   A        Sorry.                                     18   manufacturers."
    19   Q        You're talking about -- a little bit       19         Do you see that?
    20   earlier you talked about a career of over 40        20   A       Yes.
    21   years, and it says here that you have managed and   21   Q       Would you have performed that or those
    22   conducted --                                        22   functions while you were a DEA agent?
    23   A        Correct.                                   23   A       As I answered, I would not use the word
    24   Q        -- domestic and international              24   "assessments" --
    25   assessments and audits of manufacturers,            25   Q       Okay. What --
                                                  Page 51                                                Page 53
     1   distributors, laboratories, hospitals, clinics,      1   A       -- while I was a DEA agent.
     2   retail pharmacies, and medical and dental            2   Q       You did audits?
     3   practices during your career; correct?               3   A       Yes.
     4   A        Correct. Yeah.                              4   Q       Would that be the correct way of
     5   Q        And that career included your time at       5   terming it?
     6   the DEA; correct?                                    6   A       Yes.
     7   A        Yes.                                        7   Q       Okay. And, then, after you left the
     8   Q        And, without getting into any details,      8   DEA, you would call it -- would you call it an
     9   some of -- some of what you're talking about, the    9   assessment?
    10   assessments and audits of manufacturers and         10   A       Yes.
    11   distributors, that would have taken place while     11   Q       Okay. And is that -- did you do audits
    12   you were a DEA agent?                               12   of distributors while you were a DEA agent?
    13   A        Yes.                                       13   A       Yes.
    14   Q        Did you -- would it also include --        14   Q       And of laboratories?
    15   assessments and audits of laboratories,             15   A       Yes.
    16   hospitals, clinics, retail pharmacies, medical      16   Q       Of hospitals?
    17   and dental practices -- would all of those have     17   A       Investigations.
    18   been done while you were a DEA agent?               18   Q       Okay. Clinics?
    19   A        Not all of them.                           19   A       Same. Investigations.
    20   Q        Okay. Which ones -- which ones were        20   Q       Retail pharmacies?
    21   just after your time as a DEA agent?                21   A       The same. That would be
    22   A        Well, just generally speaking --           22   investigations.
    23   MR. GOLDMAN:                                        23   Q       Medical and dental practices?
    24          Listen to the question.                      24   A       Same. Investigations.
    25   THE WITNESS:                                        25   Q       Investigations. Okay.
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     1           Then when you became a consultant, you      1   A        It's called The Spine Practice,
     2   don't call it an audit anymore. You call it an      2   but -- I'll tell you as soon as I think of it.
     3   assessment. Is that fair?                           3   Q        That's fine.
     4   A        I did call the one in Puerto Rico an       4   A        Yeah. Yeah.
     5   audit, but it was an assessment.                    5   Q        They're -- they are not connected to
     6   Q        But it was like a mock audit? Is           6   Attain; correct?
     7   that --                                             7   A        They're not. Only -- only as a
     8   A        Yes.                                       8   customer.
     9   Q        And have you, as a consultant, done        9   Q        Okay.
    10   assessments of all of these: Manufacturers,        10   A        Yeah.
    11   distributors, laboratories, hospitals, clinics,    11   Q        And describe for me what Attain asked
    12   retail pharmacies, medical and dental practices?   12   you to do with respect to this -- The Spine
    13   A        I'm sorry. As a consultant?               13   Practice.
    14   Q        Yes.                                      14   A        We -- we just conduct due diligence --
    15   A        Yes.                                      15   or, in this case, I did -- to determine if the
    16   Q        Okay. Now, it says "including             16   practice was going to be, you know, limited, what
    17   office-based opioid treatment," OBOT in            17   size would the practice be, would it be helpful
    18   parentheses. What's that?                          18   to the patients, you know.
    19   A        That would be a practice that would       19           What they asked me to do was to verify
    20   treat patients for drug addiction.                 20   the information that was contained on the
    21   Q        Okay. And when did you do that?           21   application. Of course, all part of that is the
    22   A        I did one here in Atlanta, Georgia,       22   license verification of the physician, of the
    23   about two years ago.                               23   pharmacy that they had on site; interview the
    24   Q        And could you describe for me what it     24   president of the company, the medical director or
    25   is that you did?                                   25   the director of pharmacy; what types of
                                                 Page 55                                                  Page 57
     1   A       I did a site visit to determine their       1   substances they would be using in the opioid
     2   qualifications to be a customer, to understand      2   treatment, which is SUBOXONE; my impressions,
     3   the practice, interview the medical doctor, make    3   based on my experience. What did the office look
     4   an assessment of the type of practice that they     4   like? Is it a professional office space? All of
     5   were conducting, perhaps get a estimate of the      5   those types of things.
     6   amount of patients they would treat, what they      6   Q       And did you write up a report for
     7   would be ordering, how often.                       7   Attain?
     8   Q       And was this -- were you hired to do        8   A       I think I probably did an email report,
     9   this?                                               9   yeah.
    10   A       Yes.                                       10   Q       Do you know if Attain did decide to do
    11   Q       And who hired you to do this?              11   business and supply controlled substances
    12   A       AttainMed.                                 12   to -- we'll call it spine practice, but --
    13   Q       And that's the small wholesaler?           13   A       They did.
    14   A       Correct.                                   14   Q       And what kind of a -- what kind of
    15   Q       And they're in the Atlanta area?           15   opioid treatment, other than the prescribing of
    16   A       Yes.                                       16   sub- --
    17   Q       And were they looking to supply            17   A       SUBOXONE.
    18   controlled substances to this opioid treatment     18   Q       -- SUBOXONE, what were they providing?
    19   center?                                            19   A       That was only part of their practice,
    20   A       If appropriate, yes.                       20   so the -- the medical director there is a
    21   Q       What do you mean by "if appropriate"?      21   qualified physician to offer that type of
    22   A       Based on the results of the                22   service. That's not her primary function. So,
    23   application.                                       23   in addition to the SUBOXONE, which is
    24   Q       Was the -- what's -- what's the name of    24   buprenorphine, would be counseling and therapy,
    25   the customer?                                      25   physical therapy probably.

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     1   Q        Are they also -- do they also prescribe    1   A       They do.
     2   controlled substances for pain as opposed to        2   Q       And who do they -- and so they have
     3   addiction treatment?                                3   SUBOXONE? They -- they purchase SUBOXONE?
     4   A        I don't think so.                          4   A       They do.
     5   Q        Do you know one way or the other?          5   Q       And who do they purchase it from?
     6   A        I didn't --                                6   A       I'm not sure if they got that from
     7          Based on their ordering, which I look        7   Mallinckrodt or -- or someone else.
     8   at from time to time, I would say no.               8   Q       Do they have fee for service
     9   Q        Okay. And what's the name of the           9   agreements -- do you know? -- with --
    10   doctor? Do you recall? It's a woman?               10   A       No.
    11   A        Yes.                                      11          Well, please continue with the
    12   Q        And she's -- is she the medical           12   question.
    13   director that you went to interview?               13   Q       Okay.
    14   A        Yes.                                      14   A       Yeah.
    15   Q        And you also interviewed the pharmacist   15   Q       So let me -- they do not have fee for
    16   or whoever was in charge of the pharmacy?          16   service agreements with any manufacturers that
    17   A        I did.                                    17   you're aware of?
    18   Q        Did you create any type of suspicious     18   A       None that I'm aware of.
    19   order monitoring system for Attain or assess       19   Q       Do you know if they provide any data of
    20   whatever they may have had in place?               20   their supply of any of their drugs to retail
    21   A        We -- we do have suspicious --            21   pharmacies to any manufacturer or other
    22   suspicious order monitoring, yes.                  22   wholesaler?
    23   Q        And did you have anything to do with      23   A       I don't think so. Not to my knowledge.
    24   that -- the creation of suspicious order           24   Q       And when they purchase -- if it's from
    25   monitoring or did you assist them with what they   25   Mallinckrodt or some other drug manufacturer, is
                                                 Page 59                                                     Page 61
     1   may have already had in place?                      1   it just a one-time purchase or do they have an
     2   A       It was created before I became involved     2   account set up with that purchase --
     3   with them.                                          3           Are they -- let me ask it this way. Do
     4   Q       And was it any part of your                 4   you know if they are an authorized distributor
     5   responsibilities to over- -- to take a look at      5   for any manufacturer?
     6   that program, the suspicious order monitoring       6   A        I think they have a relationship with
     7   program?                                            7   Mallinckrodt now, yeah, which would meet that
     8   A       Yes.                                        8   definition.
     9   Q       And have you written up any sort of         9   Q        Okay. But your -- but they do not have
    10   report or email with respect to your assessment    10   a fee for service contract with Mallinckrodt?
    11   of their suspicious order monitoring practice?     11   A        I don't believe so.
    12   A       I don't believe so.                        12   Q        Okay. And -- and why do you believe
    13   Q       Did you find it -- did you find that it    13   they do not have that?
    14   met your guidelines for suspicious order           14   A        I think I would have been aware of it.
    15   monitoring practice?                               15   That's all.
    16   A       I did.                                     16   Q        Okay. You're familiar with the term
    17          Again, this is a small company, so it's     17   "fee for service"?
    18   fairly obvious and easy to do that.                18   A        Yes. Generally, yes.
    19   Q       Who do they -- who distributes -- I        19   Q        Okay. How would you describe for me
    20   mean, are they connected with a particular         20   your responsibilities during the 10 years you
    21   wholesaler?                                        21   were with Purdue? If you could just give me an
    22   A       They are a wholesaler.                     22   overview of why you went there, what you -- what
    23   Q       And are they connected with -- do          23   your responsibilities were and how they changed
    24   they -- do they contract directly with             24   up until the time you left. And I'm just looking
    25   manufacturers?                                     25   for kind of a -- I know you could go on all day.

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     1   But I'm just looking for a brief overview of what    1   A       No formal department --
     2   your responsibilities were.                          2   MR. GOLDMAN:
     3   A        So this was a good opportunity for me       3         Objection.
     4   to create a Controlled Substance Act or DEA, if      4         Go ahead.
     5   you want to say it that way, compliance program      5   A       Yeah.
     6   from the ground floor.                               6   MS. CONROY:
     7          So, initially, the focus was on the           7   Q       So you created a formal compliance
     8   manufacturing plant and all of the issues            8   department for what --
     9   involved there. So when I first joined Purdue, I     9         What would you have called it? For the
    10   would say that I was able to create a realtime      10   manufacturing division of Purdue? Or how would
    11   one-voice sustainable compliance program which      11   you term it?
    12   was, shall I say, directed by -- by one person.     12   A       We called it the Controlled Substances
    13   It happened to be me.                               13   Act Compliance Organization or Department.
    14          Where some companies and so forth have       14   Q       But, at that time, 2003, it was with
    15   compliance embedded in -- in operational people,    15   respect to the manufacturing arm of Purdue;
    16   we made it a separate independent organization.     16   correct?
    17   I was able to do that.                              17   A       Primarily.
    18          So it would be a reconciliation and          18   Q       Okay. So when did -- when did your --
    19   accountability-type things in manufacturing,        19         Because I know, since I've read so much
    20   packaging, warehousing, distribution to the         20   about what you did at Purdue, it became a broader
    21   authorized distributors, import/export, my advice   21   responsibility for you; correct?
    22   to nonclinical research and development.            22   A       I think it evolved to a broader, yes.
    23          I was involved in -- I became a              23   Yeah.
    24   clearinghouse for -- throughout the company for     24   Q       So it began to include more than just
    25   any compliance type of question that would be       25   manufacturing; correct?
                                                  Page 63                                                  Page 65
     1   DEA-related.                                         1   A        As I say, I became a clearinghouse
     2   Q       And just if I could stop you there --        2   for -- for, you know, interpreting regulations,
     3   A       Yeah.                                        3   whether it be clinical trials, international
     4   Q       -- when you -- what you're talking           4   clinical trials, import/export issues. So there
     5   about right now is sort of the first type            5   were a lot of things as it evolved and people
     6   position you held, which was to oversee              6   became acquainted with me in my -- in our
     7   compliance at the manufacturing facilities for       7   department. And, of course, as a result of these
     8   Purdue?                                              8   letters, it expanded a little bit.
     9   A       Right. That -- that continued the            9   Q        Okay. And what you have pointed to is
    10   whole time.                                         10   a result of the Rannazzisi letters in 2006 and
    11   Q       Okay. And those manufacturing               11   2007. Would it be fair to say that your
    12   locations were located in North Carolina? Is        12   clearinghouse expanded to the distribution of
    13   that correct?                                       13   controlled substances, not just the manufacture
    14   A       There's one in Wilson, North                14   of controlled substances?
    15   Carolina --                                         15   MR. HOFFMAN:
    16   Q       Okay.                                       16           Object to form.
    17   A       -- totowa, New Jersey. Bulk                 17   A        My duties and -- my -- duties. My
    18   manufacturing was in Coventry, Rhode Island. At     18   responsibilities in distribution had to do with
    19   the time I first joined, nonclinical research was   19   accountability from the manufacturing site to the
    20   in Ardsley, New York. Subsequently moved to         20   customer. Security matters were jointly
    21   Cranbury, New Jersey.                               21   conducted with a separate department in Purdue,
    22   Q       And prior to you getting to Purdue          22   corporate security. Each site had a director of
    23   and -- or starting at Purdue in 2003, there was     23   security. Compliance is really records reports
    24   no compliance department for the -- for what        24   and security. We had a very strong security
    25   you're talking about for the manufacturing?         25   presence as well.

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     1          So, in terms of distribution, my              1   A        There was a --
     2   responsibility was always there from day one.        2          I'm sorry. Did you ask was there a
     3   MS. CONROY:                                          3   policy?
     4   Q        What about with respect to wholesalers,     4   Q        Was there a suspicious order monitoring
     5   the -- the purchase of controlled substances by      5   program?
     6   wholesalers from Purdue? At some point did your      6   A        Program. Yes. There was a suspicious
     7   compliance clearinghouse begin to encompass that     7   order monitoring procedure.
     8   area of Purdue?                                      8   Q        And what was that?
     9   MR. HOFFMAN:                                         9   A        And that was -- resided with customer
    10          Object to form.                              10   service and I think probably national accounts
    11   A        That resided in a different department.    11   and maybe, generally speaking, the finance
    12   MS. CONROY:                                         12   organization.
    13   Q        What department was that?                  13   Q        And is that anything that you knew
    14   A        Well, it would have been several.          14   about prior to getting involved with the
    15   Customer service and national accounts.             15   formation of the committee?
    16   Q        At some point after the Rannazzisi         16   A        Yes.
    17   letters, was there a committee formed, the order    17   Q        Okay. And how did you come in contact?
    18   monitoring committee? Did you -- do you recall      18   How did you know about it?
    19   that happening?                                     19   A        Well, I -- I developed relationships
    20   A        Yes.                                       20   with people throughout the company. One -- one
    21   Q        That did not exist, am I correct, prior    21   of those would be the director of customer
    22   to the Rannazzisi letters?                          22   service. I had a close relationship with the
    23   A        It did not exist prior to that.            23   executive director, chief financial officer -- he
    24   Q        Okay. And, so, when you -- when you        24   had a very, very strong interest in all aspects
    25   began at Purdue, you were in -- you were dealing    25   of the business and the national accounts -- and
                                                  Page 67                                                  Page 69
     1   with compliance with respect to the manufacturing    1   also the credit manager. So just from
     2   operation; correct?                                  2   interactions with those people, I knew about it.
     3   A        Yes.                                        3   Whether or not I asked or they told me, I don't
     4   Q        At some point after the Rannazzisi          4   remember.
     5   letters, did your responsibilities expand to         5   Q        Okay. And what is it about the
     6   include order mon- -- suspicious order               6   Rannazzisi letters that, in your mind, changed
     7   monitoring?                                          7   things?
     8   A        I became part of a committee. So, in        8   MR. HOFFMAN:
     9   that regard, my responsibilities expanded.           9           Object to form.
    10   Q        To the best of your knowledge, did that    10   MR. GOLDMAN:
    11   committee exist prior to your joining that          11           Object to form.
    12   committee?                                          12           Go ahead.
    13   A        It did not.                                13   A        Sorry. I keep stepping on this cord.
    14   Q        What proximate time frame would you put    14   I apologize.
    15   on the creation of that committee?                  15           Well, the first thing I noticed was
    16   A        Discussions took place throughout 2008.    16   that it was a letter that -- industry had not
    17   I think the committee probably became established   17   received letters like that in the -- in the past,
    18   in the fall of 2008. Became more formal in the      18   to my knowledge. So it was what I would
    19   first quarter of 2009, something like that. That    19   categorize as an extraregulatory guidance letter
    20   would be my recollection.                           20   that DEA was asking for industry's help. So the
    21   Q        Do you know if there was any sort of       21   first thing I noticed was that it was an
    22   suspicious order monitoring program in place        22   expansion of the plain language of the
    23   prior to, say, the fall of 2008 at Purdue?          23   regulation.
    24   A        I do.                                      24   MS. CONROY:
    25   Q        And what do you know about that?           25   Q        And did you have -- did you have

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     1   conversations with customer service or national      1   responsibilities were in providing and filling
     2   accounts or the -- or your -- or the credit          2   orders for their retail customers, meaning retail
     3   manager about how this plain language explanation    3   pharmacies, primarily.
     4   could impact Purdue?                                 4   Q        And what made you think that it would
     5   A       Yes.                                         5   have any impact on manufacturers?
     6   Q       Okay. And -- and what did you tell           6   A        I wasn't sure. I just said we wanted
     7   them?                                                7   to be ready if it did.
     8   A       That, you know, we -- we had to take         8   Q        And, at some point in time, did you
     9   note of this; that the DEA was asking for our        9   begin to believe it did impact manufacturers?
    10   help. We wanted to stay ahead of the curve in       10   MR. GOLDMAN:
    11   understanding what it really was that they          11          Objection.
    12   wanted, and that it, sooner or later, might         12          Go ahead.
    13   impact the manufacture.                             13   A        At some point in time I believed it to
    14          Wasn't sure, but I began conversations       14   be a good call for citizens, shall I say, and to
    15   with cross-functional people throughout the         15   help DEA in this mission that we would do all we
    16   company: Supply chain, security, in addition to     16   could to help. But whether or not we were
    17   customer service.                                   17   required, that -- that was another story.
    18          Certainly the credit -- director of          18   MS. CONROY:
    19   credit was heavily involved in the beginning        19   Q        Purdue was a DEA registrant --
    20   because of his interest in accounts, and then       20   A        Yes.
    21   expanded to national accounts, and a series of      21   Q        -- with respect to controlled
    22   meetings to try to, you know, understand this,      22   substances?
    23   basically.                                          23   A        Yes.
    24   Q       And you said that it might impact           24   Q        And was it your opinion that the
    25   manufacturing. Did you believe at the time that     25   letters encompassed DEA registrants?
                                                  Page 71                                                  Page 73
     1   it did impact distributors or wholesalers?           1   A        I'm trying to understand "encompassed
     2   A        I did.                                      2   DEA registrants."
     3   Q        And tell me a little bit about that.        3   Q        Let me ask it a little bit differently.
     4   What was your understanding of the impact of the     4          Did you come to believe that there
     5   Rannazzisi letters to --                             5   was -- if you were a DEA registrant, it didn't
     6           Do you call them distributors or             6   matter whether you were a manufacturer, a
     7   wholesalers?                                         7   wholesaler, or a distributor; you had a
     8   A        Well, actually, they're one and the         8   responsibility as outlined in the Rannazzisi
     9   same in this context. A distributor could be a       9   letters?
    10   distributor -- I'm sorry -- of its own products.    10   MR. HOFFMAN:
    11   Q        Okay.                                      11          Object to form.
    12   A        A full-line wholesaler distributes         12   MR. GOLDMAN:
    13   everyone's products. All right?                     13          Objection.
    14   Q        Okay.                                      14   A        I -- I hate to ask -- request you to
    15   A        So, but they're the same category of       15   ask that again, but I would say no.
    16   registrant with DEA.                                16   MS. CONROY:
    17   Q        Okay.                                      17   Q        Okay. So you -- you saw a difference
    18   A        Nonpractitioner.                           18   between a manufacturer that was a DEA registrant
    19   Q        And what was your understanding of the     19   and a wholesaler or distributor who was a DEA
    20   impact of the Rannazzisi letters on distributors    20   registrant with respect to controlled substances?
    21   and wholesalers?                                    21   A        I did, clearly.
    22   A        A little bit more advice or directive,     22   Q        Okay. And do you still hold that
    23   even though it was not a -- a formal guidance       23   opinion, that they're different?
    24   letter. We didn't know how to describe it. It       24   A        Yes.
    25   was a letter, and -- on what their                  25   Q        Okay. And does that mean that they are

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     1   different with respect to their responsibilities     1   A       Yes, it would.
     2   concerning suspicious orders?                        2   MR. GOLDMAN:
     3   MR. HOFFMAN:                                         3          Counsel, we're going for an hour and a
     4          Object to the form.                           4   half, so whenever would be good to take a break.
     5   MS. CONROY:                                          5   MS. CONROY:
     6   Q       Do they -- do they have different            6          Okay. Yeah. Just give me a couple of
     7   responsibilities?                                    7   minutes.
     8   MR. HOFFMAN:                                         8   MR. GOLDMAN:
     9          Object to the form.                           9          Yeah.
    10   A       I'm sorry. I didn't --                      10   MS. CONROY:
    11   MS. CONROY:                                         11   Q       Is your -- is your understanding of
    12   Q       You can -- you can answer.                  12   those two separate -- I'll call them separate
    13   MR. GOLDMAN:                                        13   responsibilities or separate explanations of
    14          You can answer, yeah.                        14   responsibilities, is that generally held -- do
    15   A       Different responsibilities.                 15   you know? -- in the industry?
    16   MS. CONROY:                                         16   MR. HOFFMAN:
    17   Q       Okay. And explain to me the                 17          Object to the form.
    18   differences.                                        18   A       Yes.
    19   A       Well, one of the terms used in              19   MS. CONROY:
    20   suspicious order monitoring is -- would be an       20   Q       Okay. And how -- how do you know that?
    21   order or orders. You have to detect whether or      21   A       From my experience.
    22   not an order is suspicious. That denotes an         22   MS. CONROY:
    23   order from your customer.                           23          Okay. Let's -- let's take a break, and
    24          So a manufacturer has a customer base        24   then --
    25   of wholesale companies or distributing companies.   25   VIDEOGRAPHER:
                                                  Page 75                                                  Page 77
     1   Those are the customers of the manufacturer.         1          We are now going off the video record.
     2          The distributors -- distributors -- I'm       2   The time is currently 10:49 a.m. This is the end
     3   sorry -- or wholesalers distribute controlled        3   of media number 1.
     4   substance products to retail pharmacies, some        4             (OFF THE RECORD.)
     5   cases to -- I mean, and hospitals, clinics, and      5   VIDEOGRAPHER:
     6   so forth, what we call a retail level.               6          We are now back on the video record
     7          So there's a difference in customer.          7   with the beginning of media number 2. The time
     8   And that, to me, denotes a difference in             8   is currently 11:17 a.m.
     9   responsibility.                                      9   MS. CONROY:
    10   Q       Okay. And what sort of difference in        10   Q       Mr. Crowley, you gave me some positions
    11   responsibility does it --                           11   of individuals who became -- were or became
    12          Explain to me what that difference is.       12   involved in suspicious order monitoring. One was
    13   A       Well, suspicious order monitoring in        13   customer service department. Do you recall that?
    14   that regard, the manufacturer would be required     14   A       Yes.
    15   to have a system to detect, you know, irregular     15   Q       Who was the person that you would --
    16   or noteworthy orders from their customer.           16   who do you recall from customer service as being
    17   Q       And that would be the distributor or        17   involved?
    18   the wholesaler?                                     18   A       The director, in the initial
    19   A       Right.                                      19   discussions --
    20          They do not have the responsibility of       20   Q       Sure.
    21   the direct relationship of -- of the movement of    21   A       -- Laura Watson.
    22   the product to the retail level.                    22   Q       Okay. And anyone else from customer
    23   Q       And would that responsibility be in the     23   service that either joined discussions or became
    24   hands of the distributor of the wholesaler whose    24   involved later?
    25   customers were the retail pharmacies?               25   A       No.

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     1   Q       And national accounts, who's that?           1   customers and -- and the way to interpret the
     2   A       Stephen Seid.                                2   Rannazzisi letters with respect to whose
     3   Q       Anyone -- what about Mr. Projansky or        3   responsibilities it was to prevent suspicious
     4   anyone else in national accounts? Do you know        4   orders from being filled. Do you -- do you
     5   Mr. Projansky?                                       5   recall that testimony?
     6   A       I believe he worked for Stephen Seid.        6   A        Yes, I do. Yeah.
     7   Q       Okay.                                        7   Q        Okay. And who do you consider the
     8   A       Right.                                       8   Purdue customers in that analysis?
     9   Q       But you -- in your head, it's Stephen        9   A        Its authorized distributors.
    10   Seid?                                               10   Q        And has that been your opinion since
    11   A       Yes.                                        11   you began to interpret the Rannazzisi letters and
    12   Q       The credit manager, who's that?             12   create the suspicious order -- be a part of the
    13   A       Dan Colucci.                                13   creation of the suspicious order monitoring
    14   Q       Can you recall any other individuals at     14   program at Purdue?
    15   Purdue involved with those three and yourself       15   A        Yes.
    16   with respect to suspicious order monitoring?        16   Q        And who are the wholesaler --
    17   A       In the discussions in the time frame        17          I'm calling it wholesaler.
    18   leading up to the establishment of the committee?   18   A        Right.
    19   Q       Correct.                                    19   Q        Would you -- that means distributors to
    20   A       Generally speaking, Chuck Forsaith.         20   you, wholesalers?
    21   Q       And where did he fit in?                    21   A        Right.
    22   A       He was the director of supply chain         22   Q        Okay. And who are their customers?
    23   security at that time.                              23   A        Well, their customers are retail
    24   Q       Anyone from the sales side, marketing       24   pharmacies, hospital clinics, primarily. Whether
    25   side, somebody like Russ Gasdia, anybody like       25   or not they -- they are also able to distribute
                                                  Page 79                                                  Page 81
     1   that?                                                1   to secondary wholesalers, smaller companies.
     2   A       No. National accounts was the only           2   Q       Okay.
     3   area that I spoke with, that Stephen Seid.           3   A       And I don't know. It's possible that
     4   Q       Okay. What about Howard Udell or Robin       4   they would distribute to individual
     5   Abrams?                                              5   practitioners. But I'm not a hundred percent
     6   A       Well, I reported directly to Robin           6   positive on that.
     7   Abrams. At that time that we're speaking about,      7   Q       But an individual practitioner could be
     8   I have no recollection of having anything -- any     8   a customer if there was that kind of an
     9   conversations with Howard Udell.                     9   arrangement?
    10   Q       Okay. Would you include Robin Abrams        10   A       Could be.
    11   with the discussions leading up to the creation     11   Q       Right.
    12   of a suspicious order monitoring program?           12   A       You know.
    13   A       Yes.                                        13   Q       Would that be, like, a dispensing
    14   MR. HOFFMAN:                                        14   physician or a physician that has a -- who has a
    15          Sorry. Object to form.                       15   pharmacy in their --
    16   MS. CONROY:                                         16   A       Yes.
    17   Q       So do I have everybody when I --            17   Q       -- clinic or office?
    18          Let me list out the names. Yourself,         18   A       That's right.
    19   Laura Watson, Stephen Seid, Dan Colucci, Chuck      19   Q       And, so, it's your testimony that when
    20   Forsaith and Robin Abrams?                          20   DEA was asking for help, as you -- as you stated,
    21   A       To the best of my recollection, yes.        21   in the Rannazzisi letters, 2006, 2007, that you
    22   Q       And let me make sure that I completely      22   understood that to mean that Purdue had to -- had
    23   understand what you were telling me just before     23   to know who their authorized distributors were in
    24   we took the break.                                  24   order to fill their orders?
    25          So you were talking to me about              25   MR. GOLDMAN:

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     1          Objection.                                    1   between Purdue and its authorized distributors
     2   MR. HOFFMAN:                                         2   allowed for a significant amount of visibility
     3          Object to form.                               3   with respect to the customers of the authorized
     4   A        Well, we always knew who our authorized     4   distributors?
     5   distributors were. We had a relationship with        5   MR. HOFFMAN:
     6   them. So, yes, that's the way I understood it.       6          Object to the form.
     7          The 2007 letter was a little bit of an        7   MS. CONROY:
     8   extension of that first letter.                      8   Q        By visibility, I mean, you knew what
     9   MS. CONROY:                                          9   they were -- knew what they were ordering and
    10   Q        Okay. And how -- did that impact in        10   what prescriptions they were filling.
    11   any way your view of who Purdue was responsible     11   MR. HOFFMAN:
    12   for with respect to suspicious orders?              12          Object to form.
    13   A        I thought, and several of us thought       13   A        That data was contained within the
    14   that we should, you know, go the extra step to      14   system.
    15   support our authorized distributors in their due    15   MS. CONROY:
    16   diligence efforts with their own customers.         16   Q        And, so, when I -- and I understand it
    17   Q        And that meant that, going the extra       17   was a work in progress to be able to get it all
    18   step, is it fair to say that that would mean        18   together and get a database working that you
    19   providing them information that Purdue might have   19   could see that data and work with that data.
    20   with respect to an authorized distributor's         20   A        Correct.
    21   customers?                                          21   Q        But it was -- it was your understanding
    22   A        Eventually. First we'd have to get         22   that, as of around 2008, 2009, Purdue had
    23   that data, which we didn't have readily.            23   significant visibility with respect to where its
    24   Q        And that data ultimately came from the     24   pills were going all the way down to the
    25   fee for service agreements?                         25   street-level pharmacies?
                                                  Page 83                                                  Page 85
     1   A        Yes. My understanding, yeah.                1   MR. HOFFMAN:
     2   Q        And, once that data came in, it was at      2          Object to form.
     3   least your position, and maybe some others', that    3   A       We had visibility to the pharmacies,
     4   that information should be shared with Purdue's      4   yes.
     5   authorized distributors?                             5   MS. CONROY:
     6   MR. HOFFMAN:                                         6   Q       And I believe -- and I'm gonna -- just
     7          Object to form.                               7   gonna ask if you agree or disagree with this. I
     8   MS. CONROY:                                          8   took Mr. Seid's deposition a few weeks ago, and
     9   Q        Or let me put it this way. Was              9   he put it in sort of the -- I think in the
    10   already -- they already knew what it was.           10   90 -- somewhere in the 90 percent visibility, and
    11   A        Right.                                     11   it might have even been as high as 97 and a half
    12   Q        But it should be shared for the purpose    12   percent visibility by Purdue down to the retail
    13   of assisting with suspicious order monitoring.      13   pharmacies. Would you agree with that?
    14   MR. HOFFMAN:                                        14   MR. HOFFMAN:
    15          Object to form.                              15          Object to form. Foundation.
    16   A        We -- we had to convert, shall I say,      16   A       Purdue's top three customers provided
    17   or manipulate -- not manipulate, but we had to      17   that percentage that you just talked about.
    18   take that data and -- and apply some instructions   18   MS. CONROY:
    19   to it. I'm not an IT person. But we wanted to       19   Q       And, so, the top -- the top three
    20   get certain information from that data that we      20   customers, you're talking about the top three
    21   could then use to support our authorized            21   authorized distributors?
    22   distributors in their efforts, yes.                 22   A       Yes.
    23   MS. CONROY:                                         23   Q       And who were they?
    24   Q        And is it fair to say that the fee for     24   A       McKesson, Cardinal, and
    25   service agreements or contracts that were set up    25   AmerisourceBergen.

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     1   Q        And because you had visibility down to     1          Object to form.
     2   the street-level retail pharmacies with respect     2   MS. CONROY:
     3   to all three of those authorized distributors,      3   Q        -- to add to that? You would -- they
     4   that gave you visibility in the high 90 percent?    4   could -- they could report a -- they could report
     5   MR. HOFFMAN:                                        5   a retail pharmacy or hospital or clinic or a
     6           Object to form. Foundation.                 6   secondary wholesaler or an individual
     7   A        I've seen figures of 93, and I've also     7   practitioner, they could -- they could report
     8   seen 97. I don't really know what the actual        8   them to the DEA with the information that Purdue
     9   figure is.                                          9   could provide; correct?
    10   MS. CONROY:                                        10   MR. HOFFMAN:
    11   Q        Okay. But it's somewhere in the 90s?      11          Object to form.
    12   A        Yes.                                      12   A        They would report to DEA with -- using
    13   Q        And it was -- it was -- it was your       13   their own information, supported by us, right.
    14   view that --                                       14   MS. CONROY:
    15           Or let me ask you. Was it your view        15   Q        Sure. But what I'm -- what I'm asking
    16   that Purdue should take an extra step with its     16   you about is, in your view of this and in your
    17   suspicious order monitoring program to support     17   view of the extra step that Purdue could take
    18   its authorized distributors with respect to the    18   with this -- this very robust database that you
    19   filling or not filling of suspicious orders down   19   were creating in 2008, 2009, that would provide
    20   to the pharmacy level?                             20   information to the wholesalers so that they could
    21   A        It was -- it was my view that we should   21   report orders as suspicious to the DEA concerning
    22   support our authorized distributors with that      22   their own retail customers; correct?
    23   activity on a, you know, case-by-case basis.       23   MR. HOFFMAN:
    24   Yeah.                                              24          Object to form.
    25   Q        And what was your understanding of what   25   A        The data information that we --
                                                 Page 87                                                  Page 89
     1   a distributor could do with that data or that       1   actually, myself -- shared with wholesalers was
     2   information?                                        2   to support them in their own due diligence
     3   MR. HOFFMAN:                                        3   efforts, to direct them, you know, at certain
     4          Object to form. Foundation.                  4   accounts that they needed to evaluate a little
     5   A       Well, they could report certain orders      5   bit closer. I don't -- I think that's the
     6   as suspicious to DEA. They could also, if it was    6   easiest way for me to describe it.
     7   appropriate, stop -- discontinue doing business     7   MS. CONROY:
     8   with a retail account. Those two things,            8   Q       Okay. And, I mean, is it fair to say
     9   primarily.                                          9   that once you provided that information, it was
    10   MS. CONROY:                                        10   up to them to do whatever they were going to do;
    11   Q       When you say discontinue doing business    11   correct?
    12   with a retail account, could the wholesaler at     12   MR. HOFFMAN:
    13   least stop a shipment to those retail accounts     13          Object to form.
    14   while it conducted an investigation?               14   A       Generally. But, on a case by case, I'd
    15   A       It could.                                  15   have to address it. Right.
    16   MR. HOFFMAN:                                       16   MS. CONROY:
    17          Object to form.                             17   Q       Well, let me -- let me put it this way.
    18   MS. CONROY:                                        18   You could not report an order as suspicious to
    19   Q       Would that be something to --              19   the DEA on behalf of one of the -- one of
    20   A       Yeah.                                      20   Purdue's authorized distributors; correct?
    21   MR. GOLDMAN:                                       21   A       We -- we would not have done that
    22          You have to wait a bit.                     22   without their agreement.
    23   MS. CONROY:                                        23   MR. PYSER:
    24   Q       -- to --                                   24          Object to form on the last question.
    25   MR. HOFFMAN:                                       25   MS. CONROY:

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     1   Q       And -- and why is that?                            1   of 2009 with the DEA officials in Los Angeles.
     2   MR. PYSER:                                                 2   And, in good faith, I think our new chief
     3          Object to form.                                     3   security officer may have mentioned a pharmacy or
     4   A       Without their knowledge, it would be a             4   two -- I don't remember -- without coordinating
     5   direct reflection on their -- on their business            5   with the wholesaler first.
     6   process. So this was a support activity so that            6   Q       And what happened as a result of that?
     7   any reports to DEA would be -- would known -- be           7   Was -- was the -- was the wholesaler upset with
     8   known to both parties. If -- yeah. Simple as               8   Purdue?
     9   that.                                                      9   A       I made a call as soon as I found out
    10   MS. CONROY:                                               10   about it and explained the situation. So I -- I
    11   Q       Because if you -- if you went sort of             11   don't -- I don't think upset would be a -- a
    12   behind their back and reported to the DEA about a         12   accurate word.
    13   suspicious pharmacy that was purchasing                   13   Q       So is it fair to say you -- you heard
    14   controlled substances from, say, McKesson, you            14   about it in time to sort of smooth the waters a
    15   would want to let McKesson know that first                15   bit?
    16   because McKesson was gonna lose business when the         16   MR. GOLDMAN:
    17   DEA -- potential -- potentially could lose                17          Objection.
    18   business when the DEA heard about that pharmacy;          18   MR. HOFFMAN:
    19   correct?                                                  19          Object to form.
    20   MR. PYSER:                                                20   A       I just called my contacts at
    21          Object to form.                                    21   Amerisource and told them what happened. Right.
    22   MS. SIDARTH:                                              22   MS. CONROY:
    23          Object to the form.                                23   Q       Who was the -- who was the corporate
    24   A       There would be an ongoing discussion              24   security person at Purdue that --
    25   with McKesson. Right.                                     25          Do you recall?
                                                       Page 91                                                   Page 93
     1   MS. CONROY:                                                1   A       Last name Geraci, G-E-R-A-C-I, Geraci,
     2   Q       And it's not -- were there any                     2   Mark.
     3   instances where you feel Purdue should report              3   Q       And Mr. Geraci didn't -- is it fair to
     4   without having a conversation or contact with the          4   say he didn't follow the --
     5   distributor?                                               5          At least I'll call it a procedure, but
     6   MR. HOFFMAN:                                               6   maybe that's too strong a word for it. I don't
     7          Object to form.                                     7   know. You can tell me.
     8   MS. CONROY:                                                8          -- that he needs to tell ABC before he
     9   Q       Or with their customers? With Purdue's             9   does some -- before he reports something or talks
    10   customer.                                                 10   about something directly to the DEA agents?
    11   MR. HOFFMAN:                                              11   MR. HOFFMAN:
    12          Sorry. Object to form.                             12          Object to the form.
    13   A       Not that I recall.                                13   A       Well, it -- it was a brand new policy.
    14   MS. CONROY:                                               14   He -- he was fairly brand new to the company, so
    15   Q       Is there any instance that you can                15   I think it was done in good intention to take
    16   recall where there was a report to the DEA with           16   advantage of other activity that he was doing in
    17   respect to a suspicious order of a retail                 17   that geographical area, so to maximize his own
    18   pharmacy where you did not have the distributor's         18   productivity.
    19   agreement to make that report?                            19          So I -- I can't remember exactly how
    20   MR. HOFFMAN:                                              20   you phrased it, but I don't think he violated the
    21          Object to form.                                    21   policy, you know, and certainly not knowingly.
    22   A       I believe there was one.                          22   MS. CONROY:
    23   MS. CONROY:                                               23   Q       Okay. Now, you said it was a brand new
    24   Q       And what one was that?                            24   policy. What -- what year would you put on the
    25   A       It was a meeting that took place in May           25   policy?

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     1   A        2009.                                      1   Q       Okay.
     2   Q        Okay. And how -- would you describe        2   A       Yeah.
     3   the policy to me? How -- or how would you --        3   Q       But that was the only instance that
     4           Or let me -- strike that.                   4   you know that the Purdue policy was violated and
     5           Is -- is the policy written anywhere?       5   a Purdue employee went directly to the DEA
     6   A        Yes.                                       6   without receiving agreement from an authorized
     7   Q        Where is it written?                       7   distributor?
     8   A        It -- it's a standard operating            8   MR. HOFFMAN:
     9   procedure that resides in the Office of General     9          Object to form. Foundation. Also
    10   Counsel.                                           10   misstates his prior testimony.
    11   Q        And do you know which --                  11   A       It's the only instance I'm aware of.
    12           Is it 0007? Does that sound familiar       12   MS. CONROY:
    13   to you?                                            13   Q       Do you ever recall a situation where
    14   A        I think so. I know there's a seven        14   the disagreement was put in writing, as the SOP
    15   involved.                                          15   allowed?
    16   Q        Okay. We'll look at some, and you can     16   MR. HOFFMAN:
    17   tell me which one.                                 17          Object to form. Foundation.
    18   A        Excuse me.                                18   A       No.
    19   Q        Now, in that standard operating           19   MS. CONROY:
    20   procedure at Purdue, is there a section of that    20   Q       The agreement with the distributor, who
    21   SOP that says do not report a retail pharmacy or   21   was responsible for speaking with the authorized
    22   secondary wholesaler or any of these -- any of     22   distributor and reaching agreement with respect
    23   the wholesalers' customers to the DEA without      23   to whether or not to report one of the
    24   first letting the authorized distributor know?     24   distributor's customers to the DEA?
    25   MR. HOFFMAN:                                       25   A       On the Purdue side?
                                                 Page 95                                                  Page 97
     1           Object to form. Foundation.                 1   Q       Yes.
     2   A        There's language contained in that, is     2   A       Me. Myself.
     3   my recollection, that addresses reporting to DEA    3   Q       Okay. Anyone else?
     4   and that that will be done with the agreement of    4   A       Anyone from that committee could have
     5   the authorized distributor.                         5   done it.
     6           There may also be wording that, if          6   Q       And you're talking about the order
     7   there is a disagreement, it'll be conducted in      7   monitoring committee?
     8   writing before Purdue would make the report         8   A       Yes.
     9   itself. That provision was in there just in         9   Q       Okay. So anyone on that committee on
    10   case.                                              10   their own could seek agreement from a
    11   MS. CONROY:                                        11   distributor, or would it need to be a committee
    12   Q        Okay. And, as far as you know, the        12   function?
    13   Las Vegas pharmacy -- was that -- was that Lams?   13   A       It would generally be a committee
    14   Does that sound familiar to you?                   14   function, right.
    15   MR. HOFFMAN:                                       15   Q       And then -- and then someone from the
    16           Object to form.                            16   committee would then be designated to inform both
    17   A        I'm familiar with the Lams Pharmacy in    17   the distributor and then, if there was agreement,
    18   Las Vegas, yes.                                    18   they would -- the committee would decide who
    19   MS. CONROY:                                        19   should report to the DEA?
    20   Q        Do -- do you think that was the one       20   A       If there were gonna be a report to the
    21   that Mr. Geraci reported?                          21   DEA, the SOP said that it would be done by me or
    22   A        Yes. I think -- as I say, there might     22   my department.
    23   have been another one. I'm not sure.               23   Q       Okay. And, as far as you know, that's
    24   Q        Okay. Well --                             24   the way it worked?
    25   A        Well, there was a variety of them.        25   A       Yes.

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     1   Q       And do you recall instances where there     1   A       No.
     2   was agreement with the distributor to report to     2   Q       So it would have been your
     3   the DEA a -- a distributor's customer? Did it       3   responsibility to tell the distributor to
     4   ever happen?                                        4   report -- after agreement and everyone did their
     5   A       I'm sorry. That there was a                 5   homework, it would be your responsibility to say
     6   disagreement?                                       6   to the distributor, "Okay, go and report this to
     7   Q       No. Was -- do you have -- do you            7   the DEA"?
     8   recall any instances where there was agreement      8   A       We would reach an understanding, yes.
     9   with the distributor and you yourself reported      9   Q       And would you get confirmation that the
    10   one of the distributor's customers to the DEA?     10   distributor did in fact report to the DEA?
    11   A       It would have happened the other way,      11   A       Not in all cases.
    12   and they would have said, if they wanted to,       12   Q       Was that something that you would
    13   per -- per discussion with Purdue. It was up to    13   request of the distributor --
    14   them. But there was an agreement, yes.             14   A       Yes.
    15   Q       Okay. So you would -- the way it           15   Q       -- to be told?
    16   worked was, then, you would have a discussion      16   A       Yes.
    17   with the distributor, you would say, "We           17   Q       And, in some instances, would you get a
    18   believe" -- "We, Purdue, have -- believe that      18   copy of the report or anything like that?
    19   this customer of yours should be reported to the   19   A       I don't recall. I don't think so.
    20   DEA"?                                              20   Q       Was there any way that you could track
    21   A       Well, be- --                               21   which retail customers of one of Purdue's
    22   MR. GOLDMAN:                                       22   authorized distributors had been reported to the
    23          Objection.                                  23   DEA by the distributor?
    24          Go ahead.                                   24   A       No.
    25   A       Before that, there has to be a due         25   Q       Were you tracking at any place at
                                                 Page 99                                                 Page 101
     1   diligence assess- -- you know --                    1   Purdue, once you and the order monitoring
     2   Q       Sure.                                       2   committee reached agreement with the distributor,
     3   A       -- assessment.                              3   that the retail customer should be reported to
     4   Q       You would have done your -- you would       4   the DEA?
     5   have done your homework, and you would have         5   MR. HOFFMAN:
     6   come --                                             6           Object to form.
     7   A       Well, they have to also.                    7   A         Perhaps in notes of the committee
     8   Q       Okay.                                       8   meeting -- committee minutes or in the system
     9   A       So, then, after that, you mean?             9   itself, the remarks section.
    10   Q       Right. And, so, what you're telling me     10   MS. CONROY:
    11   is when everyone did their homework, both the      11   Q         That -- the system, what do -- what do
    12   distributor as well as Purdue, and you reached     12   you call that system?
    13   agreement that there was a necessity to report a   13   A         I call it the OMS system. That's what
    14   customer of the distributor to the DEA, the        14   I call it.
    15   entity who would make that report to the DEA,      15   Q         And you had a hand in the creation or
    16   you're telling me, was the distributor?            16   the design of that system? Is that fair?
    17   MR. HOFFMAN:                                       17   A         I'm not a design person, so what -- I
    18          Object to form. Foundation.                 18   had input into what the algorithm should be or
    19   A       Yes.                                       19   the instructions or parameters, whatever you want
    20   MS. CONROY:                                        20   to call it, what information do we want in the
    21   Q       It would -- it would not be Purdue.        21   beginning to create a system to see how we could
    22   A       That's correct.                            22   help and support.
    23   Q       Do you recall any instances where          23           So then the IT experts would take that
    24   Purdue then agreed to make the report to the DEA   24   data that we got from the fee for service and
    25   rather than the authorized distributor?            25   create our -- our own unique internal system.

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     1   Q        And you called that the OMS system?        1          Object to form.
     2   A        Yes.                                       2   A       I -- I wouldn't say a ranking, but,
     3   Q        Was that -- was it a database?             3   yes, that's correct.
     4   A        Yes.                                       4   MS. CONROY:
     5   Q        Could you -- could you get to your         5   Q       Or you could -- by ranking --
     6   office in the morning and call it up on your        6   A       Correct.
     7   computer and see it?                                7   Q       -- you could -- well, you could see
     8   A        I could.                                   8   what they were all ordering from Purdue. And
     9   Q        Okay. And did you?                         9   whether or not you could rank it or put them in
    10   A        Not every day, but, yes, I could.         10   alphabetical order or something, that was a
    11   Q        And, when you did that, what would        11   function of the database?
    12   you -- what would you see?                         12   MR. HOFFMAN:
    13   A        Other committee members also had,         13          Object to form.
    14   you know, sight lines to that. I may have been     14   A       Yeah.
    15   looking at something differently than they did.    15   MS. CONROY:
    16          I saw high-volume purchasers of our         16   Q       What else could you -- other than
    17   product that came to my attention that I wanted    17   high-volume purchasers, what else could you see
    18   to discuss with the wholesalers.                   18   on the database?
    19   Q        And somehow, in the inner workings of     19   A       That was it, primarily. Yeah.
    20   the database, those high-volume purchases --       20   Q       Or that was what -- that was it for
    21   purchasers -- those high-volume purchasers would   21   what you looked at?
    22   be retail --                                       22   A       Right.
    23   A        Retail pharmacies.                        23   Q       Okay. Others on the committee may have
    24   Q        Or hospitals, clinics, any of the         24   had access to other areas?
    25   customers of the distributors?                     25   A       That may not have been the only thing
                                                Page 103                                               Page 105
     1   A       Yes. Except a very -- one time, I           1   that we looked at.
     2   think, it's always retail cus- -- retail            2   Q       Okay. Okay.
     3   pharmacies.                                         3   A       Yeah.
     4   Q       Okay.                                       4   Q       And I know I'm going back in time,
     5   A       Yeah.                                       5   trying to kind of --
     6   Q       And somehow the database would create       6   A       That's okay.
     7   for you a list of those high-volume retail          7   Q       -- have to recreate what the system was
     8   pharmacies and maybe some others that were          8   like.
     9   triggering some algorithm. Is that correct?         9          Did the system have a password?
    10   A       Yes.                                       10   A       I truthfully don't recall.
    11   Q       And if you went on your computer and       11   Q       Could you -- could you access the
    12   clicked the right buttons, you would see that      12   system on a laptop? If you were on the road,
    13   list?                                              13   could you see the system?
    14   A       It -- it -- I mean, it's probably not      14   A       I believe that that was possible,
    15   as simple as that. It's -- it's done by -- you     15   because we could --
    16   can do it by state, you could do it by ZIP code,   16          What do they call it? VPN?
    17   whatever. But -- or you could do it in its         17   Q       Yeah.
    18   entirety. So I could see top purchasers for        18   A       You know, right.
    19   geographical area.                                 19   Q       Could you, on the system itself, if --
    20   Q       And if -- if you were anywhere between     20   if there were emails or reports that had been
    21   93 to 97 and a half percent visibility, you were   21   created, were they linked in the system? Could
    22   gonna -- you could see a ranking of all of the     22   you -- could you click on something and see an
    23   retail pharmacies in the country and know what     23   email exchange or see reports that had been
    24   their volumes were; is that correct?               24   written up about a particular pharmacy?
    25   MR. HOFFMAN:                                       25   A       You could see notes that were written.

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     1   I'm not -- I don't think we -- you couldn't see              1   A       Administrative assistant.
     2   any committee report on that system, but you                 2   Q       Okay.
     3   could see notes.                                             3   A       Yeah.
     4   Q          Could you create a report using the               4   Q       And did he or she have access?
     5   system? Could you -- could you select certain                5   A       If I requested, perhaps. I -- I didn't
     6   notes or certain parts of the system and have it             6   exclude her for any reason that I may have
     7   print out and give you the, you know, the top ten            7   forgotten. But that wouldn't have been her
     8   volume pharmacies in South Carolina or something?            8   primary function at all.
     9   A          I'm -- I'm sure one could. I didn't               9   Q       Could you -- could you yourself input
    10   particularly do that, but --                                10   text into the notes section of the database?
    11   Q          Okay.                                            11   A       Yes.
    12   A          Yeah.                                            12   Q       And did you?
    13   Q          Was that system in operation when you            13   A       Yes.
    14   left Purdue in 2013?                                        14   Q       And what was -- what kinds of notes
    15   A          I believe so. 2012. The end of 2012.             15   would you enter?
    16   Q          The end of 2012.                                 16   A       An example would be, "On January 10th,
    17   A          Right.                                           17   2010" -- I just picked that date --
    18   Q          Do you know or do you have any idea if           18   Q       Yeah.
    19   it's still in effect today, or some version of              19   A       -- "I spoke with a certain person at
    20   it?                                                         20   AmerisourceBergen about this customer, and this
    21   A          I truthfully don't know. I -- I don't            21   was the result."
    22   know.                                                       22   Q       And is that how -- is -- is the
    23   Q          Okay. How many, if you know --                   23   database the way that you would keep track of
    24            Or let me ask it --                                24   your communication and contact with your
    25            I would like to know who or how many               25   authorized distributors in discussing suspicious
                                                        Page 107                                                 Page 109
     1   people had access to the OMS system. Was it                  1   orders?
     2   company-wide or was it a select --                           2   A        That was the intent. That was the --
     3   A        No. Just committee members.                         3   excuse me -- the goal.
     4   Q        Just the -- just the OMS --                         4   Q        And that was so if you -- would it be
     5   A        And maybe the designer of the system.               5   fair to say that if you left for a couple of
     6   Q        Okay. So the -- the order monitoring                6   days, one, and you were waiting for a call back
     7   committee all had access to this database.                   7   from AmerisourceBergen, when that individual
     8   A        Yes.                                                8   called back, you could then go back and call in
     9   Q        And maybe IT to fix --                              9   and -- and look at the notes and say, "Oh, I
    10   A        Yeah.                                              10   tried to reach him on such-and-such a day about
    11   Q        -- things or whatever?                             11   this particular pharmacy"?
    12   A        And maybe one or two support people                12   A        That -- that capability was there.
    13   from the Office of General Counsel. Maybe.                  13   Again, that was the goal.
    14   Q        Would that be Giselle Issa?                        14   Q        Okay.
    15   A        She was the -- designated as the                   15   A        Yeah.
    16   director of the order monitoring system at some             16   Q        And did you feel that the database
    17   point while I was there, yeah. That would be                17   accomplished the goal of keeping track of
    18   her, yeah.                                                  18   suspicious orders and contact with authorized
    19   Q        Okay. Cheryl Reuss, do you remember                19   distributors, or reporting contact with
    20   that name in the --                                         20   authorized distributors?
    21          Cheryl Reuss? No?                                    21   A        I think it -- if there were any
    22          I -- I may see a name further and ask                22   shortfall, it would have been I failed to make
    23   who else.                                                   23   notes because I was busy doing something else.
    24   A        No. I don't know that name.                        24   Again, the intent was to put the note. The
    25   Q        Did you have a secretary?                          25   capability was there. I think we captured most

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     1   of it, yeah.                                         1   A        My recollection is that was a problem
     2   Q        And that's where, if -- if the database     2   for me personally. I -- so whether I was doing
     3   exists today, that's where your contemporaneous      3   it wrong, you know...
     4   notes would reside?                                  4          I'm sure the capability was there, but
     5   A        Yes.                                        5   it wasn't readily available for -- with a couple
     6   Q        Anywhere else you would keep notes          6   of clicks, you know. So...
     7   other than the database?                             7   Q        Okay. So it wasn't something that
     8   A        Emails. Doing an email correspondence.      8   you -- it might have been there, but it's not
     9           Perhaps, you know, committee notes of        9   something you were -- did?
    10   some of the meetings.                               10   A        Yeah. It was the current -- it would
    11   Q        Were committee notes kept on the           11   have been the current 12 months. Might have been
    12   database at all? Do you know? Do you know if        12   18, but certainly the current 12 months. But I
    13   there was a tab --                                  13   don't think you could go back 60 months or
    14   A        I don't believe so. We were working        14   something like that.
    15   towards that or were trying to get that kind of a   15   Q        Or, at least, you didn't --
    16   system, but I don't think it was ever               16   A        I didn't.
    17   accomplished while I was there.                     17   Q        -- know what the clicks were to do
    18   Q        Okay.                                      18   that?
    19   A        Yeah.                                      19   A        Right.
    20   Q        The other committee members, as far as     20   MS. CONROY:
    21   you know, did they use the notes section to keep    21          I think we should probably stop for the
    22   notes, contemporaneous notes?                       22   status conference and lunch. Okay?
    23   A        The people who kept the notes were         23   THE WITNESS:
    24   myself, primarily, Steve Seid, and Luis Bauza.      24          Okay.
    25   He was the director of security, investigations.    25   MS. CONROY:
                                                 Page 111                                                Page 113
     1   I don't think anyone else really put notes in        1          Okay? Thank you.
     2   there, although, you know, perhaps so.               2   VIDEOGRAPHER:
     3   Q        Okay. Could anybody who had access to       3          We are now going off the video record.
     4   the database read your notes or Mr. Seid's notes     4   The time is currently 11:58 a.m. This is the end
     5   or Mr. Bauza's notes?                                5   of media number 2.
     6   A        Yes. That -- that was the purpose.          6              (OFF THE RECORD.)
     7   Q        And when the notes went in, were they       7   VIDEOGRAPHER:
     8   current at that point? They didn't need -- when      8          We are now back on the video record.
     9   you typed them in, they were then available for      9   The time is currently 12:47 p.m. This is the
    10   people to read?                                     10   beginning of media number 3.
    11   A        They were available immediately, yep.      11   MS. CONROY:
    12   Yes.                                                12   Q       Mr. Crowley, welcome back from lunch.
    13   Q        Was there any quality control, that you    13   A       Thank you.
    14   were aware of, of that database?                    14   Q       A couple of questions back about the
    15   MR. HOFFMAN:                                        15   OMS database. When you would sit down at your
    16          Object to the form.                          16   desk and access the database do you remember did
    17   A        That was one of the functions of           17   you click on an icon or did you have to do
    18   Giselle Issa, so I -- I -- if there was,            18   something else to get to the database?
    19   she -- she would have been the one. Yeah. I         19   A       I'm sure I had to click on something,
    20   don't know.                                         20   yes.
    21   MS. CONROY:                                         21   Q       Okay. But it was -- it was accessible
    22   Q        Did the database, as far as you're         22   the way email is accessible on your database --
    23   concerned, at least, by the end of 2012, could      23   on your desktop? If you recall.
    24   you go all the way back to the beginning of the     24   A       Right. I think you asked me before if
    25   database?                                           25   it was password-protected, and I don't remember

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     1   that it -- that it was.                              1   manufacturing, what part of packaging, warehouse,
     2   Q        Okay.                                       2   whatever. Many different categories,
     3   A        That's not to say that it wasn't,           3   subcategories.
     4   but --                                               4   Q       And that was separate from the OMS
     5   Q        No. I understand.                           5   database?
     6   A        Yeah. And it would have been only           6   A       Yes.
     7   available to the people that we've talked about.     7   Q       And you were telling me earlier that IT
     8   Q        And it was -- and it was available on       8   would have assisted with the O- -- OMS database
     9   your desktop, and there was possibly a way to        9   or the creation of the OMS database. Is that
    10   dial in or otherwise remotely connect to it from    10   correct?
    11   your laptop at least at some point during your      11   A       That's my understanding. Yes.
    12   tenure at Purdue?                                   12   Q       Is there a particular person that you
    13   A        I believe -- I believe that's correct.     13   recall that you would have spoken to about what
    14   Q        And did you have an actual office at       14   you and others were looking for in that database?
    15   Purdue?                                             15   A       That -- that was handled by Steve Seid.
    16   A        Had several.                               16   I do know the individual but cannot remember his
    17   Q        Okay. And did you have an office in        17   name right now. I -- I can't. I'm sorry.
    18   Stamford?                                           18   Q       Okay. But you remember that Steve Seid
    19   A        Yes.                                       19   had discussions with whoever that IT individual
    20   Q        And where else did you have one?           20   is about what the OMS committee wanted the
    21   A        Wilson, North Carolina.                    21   database to do?
    22   Q        And did you have computers at --           22   A       Yes.
    23   desktop computers at both locations?                23   Q       And was it the same person that you
    24   A        I had two computers.                       24   used to help you design or create the
    25   Q        And could you actually look at your        25   manufacturing compliance database?
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     1   email and look at the OMS database on two            1   A       No.
     2   different monitors?                                  2   MR. GOLDMAN:
     3   A       I could. I don't recall ever doing           3          Objection.
     4   that.                                                4   MS. CONROY:
     5   Q       Okay. What else would you use your           5   Q       Who was that?
     6   computer for when you were at Purdue? Emails,        6   MR. GOLDMAN:
     7   the OMS database. What other -- what other --        7          Go ahead.
     8          Did you look, for example, at                 8   A       Created it myself.
     9   the -- did you look at fee for service contracts     9   MS. CONROY:
    10   electronically or did you access orders that were   10   Q       Okay. So you -- you were able to
    11   coming in, anything like that?                      11   do -- you were able to do that on your own.
    12   A       I did not.                                  12   A       Yes. And then later, with probably
    13   Q       Did you use any -- did you have any         13   someone like Giselle Issa, who worked for me at
    14   sort of database that you used with respect to      14   that time, we included that in a, you know, in a
    15   your functions as a compliance executive with       15   different system, shall I say, so it was
    16   respect to the manufacturing operations?            16   available to other people if they needed it.
    17   A       I did set up a file, and I think that       17   Q       And would that have -- would it be fair
    18   then became included in another file of all the     18   to say that, when you sat either in Stamford or
    19   activities, yes.                                    19   in Wilson, you could get access to either the OMS
    20   Q       And when you say "file," you mean like      20   database or you could get access to this
    21   a database with respect to manufacturing            21   manufacturing database?
    22   functions?                                          22   A       Yes.
    23   A       Right. And it might -- might have been      23   Q       Okay.
    24   by location, by activity, whether it was -- you     24   A       Yeah.
    25   know, what part of packaging, what part of          25   Q       Was there an SOP with respect to the

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     1   manufacturing database?                              1   A        Not particularly, no.
     2   A        I don't believe so.                         2   Q        Okay. Have you ever seen a screen that
     3   Q        Was there ever any guide or instruction     3   looked like the first page of Exhibit 7, that
     4   manual for the OMS database?                         4   just listed out pharmacies and individuals? Does
     5   A        I'm only familiar with that SOP,            5   that look familiar, even if it's not these exact
     6   you know, in my recollection. So I'm not             6   pharmacies?
     7   familiar with anything else.                         7   A        I've only seen a list like this that
     8   Q        Okay.                                       8   would include pharmacy, not individual
     9   A        Yeah.                                       9   pharmacies.
    10   Q        Let me show you what I've marked as        10   Q        I see.
    11   Exhibit 7.                                          11           And do you recognize whatever that icon
    12         (CROWLEY EXHIBIT NUMBER 7                     12   is on the left-hand side, this -- right -- where
    13          WAS MARKED FOR IDENTIFICATION.)              13   it says B & B Pharmacy and there's a --
    14   MS. CONROY:                                         14   A        Yeah. I see it, what you mean, and I
    15   Q        Yours -- the stamped copy is yours, and    15   don't. I don't recognize that.
    16   then there are some copies to pass down.            16   Q        Okay. And, then, if you turn the page.
    17          Actually, I will mark this OMO note as       17   And I realize this, again, is after you had left
    18   Exhibit 9 so that we don't lose it.                 18   Purdue, but does that look familiar in any way to
    19         (CROWLEY EXHIBIT NUMBER 9                     19   something you might have seen on your computer
    20          WAS MARKED FOR IDENTIFICATION.)              20   screen?
    21   MR. HOFFMAN:                                        21   A        At my time, I don't remember seeing
    22          So are we skipping 5 and 6 for now?          22   emails and correspondence and OMS meeting minutes
    23   MS. CONROY:                                         23   and notes. So I -- I would say no, I'm not
    24          I have them here, but I'm out of order       24   familiar with this, but I've seen screenshots
    25   right now. So I'm not skipping. We'll get           25   that -- which included maybe some of this, but...

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     1   there.                                               1   Q        Okay. So when -- you -- you know what
     2   MR. GOLDMAN:                                         2   emails and correspondence are.
     3           This is 7.                                   3   A        I do.
     4   MS. CONROY:                                          4   Q        You just maybe didn't see it in
     5   Q         Exhibit 7 is PPLP004384833 through 37.     5   this -- in the way it appears here on this
     6   And I realize this is just -- I'm just gonna ask     6   document, Exhibit 7?
     7   you, does this look in any way familiar to you?      7   A        Did not.
     8   I see here on the first page a list of pharmacies    8   Q        Did you keep or do you know if the OMS
     9   that, as you go further in, there's more             9   committee kept emails and correspondence in one
    10   information about the pharmacies. And then we go    10   place, for example, that concerned B & B Pharmacy
    11   and there's some physicians that are listed on      11   or any pharmacy?
    12   the final page.                                     12   MR. PYSER:
    13           Do you know if this is -- or can you        13           Object to form. Foundation.
    14   tell if this is anything from the OMS database,     14   A        I -- I believe that we were always
    15   or are these screenshots from it or something       15   trying to perfect that system. One of Giselle
    16   else?                                               16   Issa's -- part of her title was director of
    17   A         I'm familiar with some of these names,    17   recordkeeping. So I think some of this was
    18   so looks familiar in that sense.                    18   developed after I left.
    19           If I go by the date here that it's          19   MS. CONROY:
    20   modified, it was after I retired from Purdue. So    20   Q        And --
    21   I don't know if this is an extension of the         21   A        But the intention was always to,
    22   system as I recall it, but --                       22   you know, capture as much data as you could, I
    23           The question is am I familiar with          23   think.
    24   this.                                               24   Q        Okay.
    25   Q         Yeah.                                     25   A        And, so, they perfected it as they went

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     1   along, yeah.                                        1   A        Case-by-case basis, yeah.
     2   Q         Looking at these, B & B Pharmacy,         2   Q        So if you, during the time at Purdue,
     3   Better Value Pharmacy, Central Care Pharmacy, is    3   when you would sit down at your desk and there'd
     4   it fair to say that these are customers of an       4   be a list of pharmacies to look -- as you told me
     5   authorized distributor of Purdue?                   5   before, the high-volume pharmacies to look at,
     6   A         Yes, those pharmacies would be, I -- I    6   would it be part of your practice to take a look
     7   believe.                                            7   or ask someone to run a LexisNexis report on a
     8   Q         Okay.                                     8   particular pharmacist?
     9   A         It's fair to say that they -- they        9   A        A case-by-case basis. It wouldn't --
    10   could be, sure, absolutely.                        10   wouldn't be routine.
    11   Q         And when -- do you see where, on the     11   Q        Okay. So, depending on the case,
    12   first page, it says, for example, Pharmacist       12   that's something you might have asked an
    13   Perry Tam Nguyen? Do you see that?                 13   assistant to do?
    14   A         Nguyen? Yeah.                            14   A        Potentially, yes.
    15   Q         Nguyen?                                  15   Q        And then if you look at Physician
    16           Had you ever seen a pharmacist -- had      16   Eleanor Santiago, do you see that --
    17   you ever seen anything with respect to an          17   A        Yes.
    18   individual pharmacist before in the OMS system?    18   Q        -- a little further on down on the
    19   A         No.                                      19   page?
    20   Q         Okay.                                    20          And then it says, "Santiago, 24-month
    21   A         Well, except in notes maybe.             21   Rx history, May 2010."
    22   Q         Okay.                                    22          Do you see that?
    23   A         Yep.                                     23   A        Yes.
    24   Q         And if we turn the page to the section   24   Q        Did you have -- did you have access,
    25   about Perry Nguyen --                              25   while you were on the OMS committee, to physician
                                                Page 123                                                     Page 125
     1         See if there is one.                          1   prescribing history if you asked for it?
     2   MR. GOLDMAN:                                        2   A        Only if I asked for it. I didn't have
     3         Top of the last page.                         3   it readily.
     4   MS. CONROY:                                         4   Q        Okay. And who did you ask for it?
     5         Yeah.                                         5   MR. GOLDMAN:
     6   Q       Do you see that?                            6          Objection.
     7         Do you know what boardofpharmacy.mht          7   MS. CONROY:
     8   is?                                                 8   Q        Or who would -- who would you ask, or
     9   A       I do not.                                   9   what department would you ask?
    10   Q       Or are you familiar with what a            10   A        Someone within general counsel.
    11   LexisNexis report --                               11   Usually Joan Zooper, Attorney.
    12   A       Yes, I am. But I -- I -- yes.              12   Q        And did the general counsel's office
    13   Q       I understand you don't know what this      13   have that data, or would that be something that
    14   is --                                              14   Joan Zooper or someone in the general counsel's
    15   A       Right.                                     15   office would get from a different department?
    16   Q       -- in particular, but do those -- do       16   A        I -- I don't think they had to rely on
    17   those file indicators mean anything to you,        17   anyone else, so I -- I would say their own
    18   generally?                                         18   department.
    19   A       Familiar with the term -- with             19   Q        Okay. So -- so Joan Zooper in the
    20   LexisNexis.                                        20   general counsel's office could call up from
    21   Q       And would you have occasion to look up     21   somewhere, some database, prescribing history of
    22   pharmacists on LexisNexis?                         22   someone, a physician or whoever that you might
    23   A       I would ask someone else to -- to help     23   ask for?
    24   me with -- with that.                              24   MR. HOFFMAN:
    25   Q       And that's --                              25          Object to form. Foundation.

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     1   A       I don't want to be mixed up. So are we     1   A       We're colleagues, and she was a support
     2   talking about prescribing history or the           2   person on the OMS committee. She wasn't a formal
     3   LexisNexis --                                      3   member but valuable asset --
     4   MS. CONROY:                                        4   Q       Okay.
     5   Q       I'm talking about prescribing -- right     5   A       -- colleague.
     6   now I'm talking about --                           6   Q       And could, if you know, could
     7          Let me ask it this way. As I                7   Stephen --
     8   understand it, you didn't need to go to the        8          Stephen Seid was on the commission as
     9   general counsel's office to get a LexisNexis       9   well, correct? I mean was on the committee as
    10   report. That's something you could ask your       10   well; correct?
    11   assistant to run for you.                         11   A       Yes.
    12   A       Well, I had to ask someone who had        12   Q       And would Stephen Seid be able to call
    13   access to that, and that happened to be someone   13   on Joan Zooper for that sort of support?
    14   in the general counsel's office, in my            14   A       He could, in my opinion, yes.
    15   experience. So --                                 15   Q       Who else was on the committee that you
    16   Q       Okay. So who -- who would you ask in      16   recall?
    17   the general counsel's office to run --            17   A       The --
    18   A       The -- the same person --                 18   Q       The formal members.
    19   MR. GOLDMAN:                                      19   A       Right. The formal members were Robin
    20          Let her finish her question.               20   Abrams --
    21   A       I'm sorry. I'm sorry.                     21          She was the chair.
    22   MS. CONROY:                                       22          -- Mark Geraci, who we had mentioned
    23   Q       That's okay.                              23   before --
    24   A       Yeah.                                     24          He's the chief security officer. Both
    25   Q       Giselle Issa would you ask?               25   of those individuals are vice presidents.
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     1   A       No, no, I -- I did not answer that.        1         -- Stephen Seid, Executive Director,
     2   I'm sorry.                                         2   National Accounts, Luis Bauza, Director of
     3   Q       Oh.                                        3   Investigations --
     4   A       For the LexisNexis, if I needed that       4         He was a direct report to Mark Geraci.
     5   report, if -- if I were the one to initiate the    5         -- and myself, Executive Director of
     6   request, I would probably go to Joan Zooper.       6   CSA Compliance. I believe those were the formal
     7   Q       Okay.                                      7   members.
     8   A       Right.                                     8   Q       And were those the members from the
     9   Q       And, now, in asking you about a            9   time of inception of the committee until you left
    10   prescription history with respect to a            10   Purdue at the end of 2012 --
    11   physician --                                      11   A       Yes.
    12   A       Right.                                    12   Q       -- as best you can recall?
    13   Q       -- you would also ask Joan Zooper for     13   A       Yes.
    14   that?                                             14   Q       Did -- did the members elect Robin
    15   A       Yes.                                      15   Abrams as the chair or --
    16   Q       And was it Joan Zooper until you left     16   A       No.
    17   Purdue at the end of 2012?                        17   Q       How did that work? How did she become
    18   A       Yes.                                      18   the chair?
    19   Q       Anyone else in the general counsel's      19   A       She -- she assumed the responsibility.
    20   office you would have asked for that type of      20   That -- that's my answer.
    21   information?                                      21   Q       And was the OMS committee considered a
    22   A       Not to my recollection. My answer         22   formal committee within the Purdue structure?
    23   would be no.                                      23   MR. HOFFMAN:
    24   Q       And how did you know to go to Joan        24         Object to the form.
    25   Zooper for that information?                      25   A       I think it would have been on the next

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     1   level down, but it may have -- may have been        1          This is PPLPC041000014663 through 670.
     2   eventually, yeah.                                   2   MS. CONROY:
     3   MS. CONROY:                                         3   Q        I'm not going to -- this looks pretty
     4   Q       Did you get any additional payment or       4   dense. I'm not going to be asking you --
     5   salary for sitting on that committee?               5          I just want to ask you some general
     6   A       No.                                         6   questions about the document. But, obviously,
     7   Q       Okay. Do you know if anyone else on         7   feel free to read it if you want to.
     8   the committee did?                                  8          But I'm just gonna say does this --
     9   A       I do know, and they did not.                9   does Exhibit 8, Report to OMS Team, October 28th,
    10   Q       It was -- it was part of your daily        10   2010, look familiar to you? Does the -- does the
    11   responsibilities?                                  11   way it appears look familiar to you, not -- not
    12   A       Yes.                                       12   the data in it?
    13   Q       And do you know who, if anyone, took       13   A        I think this looks familiar in format.
    14   your place when you left Purdue?                   14   Q        Okay.
    15   A       I -- I don't. I don't, no.                 15   A        Yep.
    16   Q       Was Stephen Seid at Purdue when -- by      16   Q        And who would -- who would create a
    17   the end of December of 2012? Was he still there?   17   report to OMS team in -- in or around 2010?
    18   A       Yes. I think he retired after I did,       18   A        So, at that time, I believe the
    19   so...                                              19   director of the order management system was
    20   Q       And Luis Bauza --                          20   Elizabeth -- Betsy Adams, I believe, and --
    21   A       Bauza.                                     21   attorney. And she was top-notch in creating
    22   Q       -- Bauza, is he still at Purdue? Do        22   these types of reports.
    23   you know?                                          23   Q        And did the report -- I see that it's
    24   A       I -- I believe so. I haven't spoken to     24   got, you know, sort of a shaded area, Background
    25   the gentleman since -- since I retired. I think    25   and Reason, OMS Investigation. You see the Roman

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     1   he's still there.                                   1   Numerals I and II on the front page. Was this a
     2   Q        Have you spoken to Robin Abrams since      2   template?
     3   you retired?                                        3   A         It was something she developed, so
     4   A        No.                                        4   it -- it was not a template that was formally
     5   Q        How about -- maybe you told me this --     5   approved by the committee. It's just something
     6   Mark Geraci?                                        6   that -- it was her format.
     7   A        Right. I have not spoken to him.           7   Q         And if you take a look -- and this says
     8   Q        Okay. What about Joan Zooper or            8   at the top, on the first page, V Pacifica PHCY,
     9   Giselle Issa? Have you spoken to either of them?    9   Inc., Hunt Beach. So that's V Pacifica Pharmacy,
    10   A        Have not spoken to Giselle since I        10   Huntington Beach?
    11   retired. I may have spoken to Joan once or twice   11   A         Yes.
    12   about issues that had nothing to do with           12   Q         And would this be a pharmacy that you
    13   the -- our former duties, you know.                13   were investigating, if there was a report
    14   Q        Just -- just personal?                    14   created?
    15   A        Personal, yeah. Relocation type of        15   A         I'm not sure "investigating" is the
    16   thing.                                             16   word I'd use at this point, but it's certainly
    17   Q        We'll put that one away.                  17   one we were considering.
    18         (CROWLEY EXHIBIT NUMBER 8                    18   Q         Okay. Where it says on the first page
    19          WAS MARKED FOR IDENTIFICATION.)             19   "Ranked 30th in sales operations audit of 638
    20   MS. CONROY:                                        20   national accounts outlets for 12 months ending
    21   Q        I want to show you what I've              21   July 31, 2010," do you see that?
    22   marked -- again, this is just out of order -- as   22   A         I do.
    23   Exhibit 8.                                         23   Q         And then there's a -- there's
    24          And I have the stickered copy and then      24   a -- looks like some sort of a chart. Would
    25   copies behind it for you.                          25   that -- would that chart have been pulled off of

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     1   some other document and inserted into this           1   A       Yes.
     2   report?                                              2   Q       And then it says, "OMS database, FFS
     3   MR. HOFFMAN:                                         3   data."
     4          Object to form. Foundation.                   4          That's fee for service data?
     5   A       Frankly, she -- some people were better      5   A       Yes.
     6   at manipulating that data than I was. So it was      6   Q       Then it says, "Summary fee for service
     7   pulled from -- from various sources, including       7   data for the 12 months ending September 30th,
     8   the OMS system, I guess.                             8   2010, shows a slight increase in sales compared
     9   MS. CONROY:                                          9   to the 12-month data ending July 30th, above, but
    10   Q       Okay. So -- because the O -- the OMS        10   a slight decrease in the percentage attributable
    11   system, or at least as far as you're concerned,     11   to the higher OxyContin dosage strengths."
    12   you weren't ranking sales operations; correct?      12          Do you see that?
    13   A       That's right. I had nothing to do with      13   A       Yes.
    14   that.                                               14   Q       And then there's -- there's another
    15   Q       Right. So this -- this -- that's taken      15   table that's pulled in, correct, the table just
    16   from some other data in the company; correct?       16   underneath that sentence I just read?
    17   A       Yes. Yes. That --                           17   A       It's a table of another customer?
    18   Q       But that's -- that's within -- that's       18   MR. GOLDMAN:
    19   data within Purdue, correct, as far as you know?    19          No. She's just saying that there's
    20   A       As far as I know, that -- that would be     20   another table.
    21   true, yes.                                          21   A       Oh, there's another table, yes.
    22   Q       Okay. Then the next bullet point says,      22   MS. CONROY:
    23   "Flagged by sales operations as an outlier for      23   Q       There's another table --
    24   OMS review."                                        24   A       Yeah. Right.
    25          Do you see that?                             25   Q       -- that's pulled in; correct?
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     1   A        Yes.                                        1   A        Yes.
     2   Q        And what does that mean?                    2   Q        Do you know where the text comes from
     3   A        I -- that means that the sales              3   that's in that bullet? Do you know who would
     4   representative who was responsible for that area     4   have prepared that? Does that come from Stephen
     5   filed a report of concern through a -- through       5   Seid? Does it come from Joan Zooper? Does it
     6   the sales system of --                               6   come from Betsy Adams?
     7          What was on that report, I don't know.        7   A        I -- I think that came from Betsy
     8   But that's why it was flagged.                       8   Adams.
     9   Q        Okay. And then the next bullet point        9   Q        And then it says, "As detailed in the
    10   says, "ROC from field sales force indicating the    10   following customer 867 data on the next page."
    11   pharmacy was filling prescriptions written by       11           Do you see that?
    12   Region 0 prescribers."                              12   A        Yes.
    13          Do you see that?                             13   Q        Do you recall what 867 data is?
    14   A        I do.                                      14   A        That's the one and the same as what we
    15   Q        And is that ROC "report of concern"?       15   have referred to as FFS data. It's the data we
    16   A        Yes.                                       16   purchased from our wholesalers which captured
    17   Q        And, so, the bullet point above it,        17   their sales to the retail pharmacies.
    18   they -- they're both a result of a report of        18   Q        Okay. And that would be -- if you just
    19   concern, the identification or the flagging as an   19   look one line down, the wholesaler was H.D. Smith
    20   outlier, as well as the actual report of concern    20   in this situation?
    21   from the sales force?                               21   A        Yes, I see that.
    22   A        That would be my interpretation of         22   Q        Okay. And, so, Purdue -- one of
    23   that, my understanding of that, yes.                23   Purdue's authorized distributors was H.D. Smith
    24   Q        Okay. Then the next section, OMS           24   at this time; correct?
    25   investigation activity, do you see that?            25   A        Yes, that's correct.

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     1   Q        And H.D. Smith, pursuant to the fee for     1   unusual activity at the -- at that location?
     2   service agreement with Purdue, was paid to           2   A       No.
     3   provide data with respect to its retail              3   Q       Did that ever happen?
     4   pharmacy -- or supply to its retail pharmacy         4   A       Not to my knowledge.
     5   customers back to Purdue; correct?                   5   Q       How did you select the pharmacies to
     6   A        Yes, that's correct.                        6   look at as part of the OMS committee?
     7   Q        And, as a result of that data that went     7   MR. HOFFMAN:
     8   back to Purdue, someone on the order monitoring      8          Object to form.
     9   team was able to determine that there might be a     9   A       There were various methods. But
    10   problem with the Pacifica Pharmacy in Huntington    10   speaking of the OMS system itself, I would select
    11   Beach. Is that fair?                                11   high-volume outlets in, perhaps, hot spot areas.
    12   MR. HOFFMAN:                                        12   If I were interested in south Florida, Detroit,
    13           Object to form.                             13   San Francisco, New York, Knoxville, Tennessee, or
    14   A        There were indications that additional     14   Los Angeles, I might do it that way. I could
    15   due diligence should occur. Right.                  15   also look at that -- the top 25 in the whole
    16   MS. CONROY:                                         16   country. So there are various ways I could do
    17   Q        And that 867 data is either daily or       17   it.
    18   weekly, correct, that it gets back to Purdue?       18   MS. CONROY:
    19   A        I -- I don't know that it was as often     19   Q       Okay. And that was up to you. You
    20   as daily or even weekly, but certainly monthly.     20   could -- you could determine how you wanted to
    21   I -- I'm not trying to be evasive. I don't know     21   slice and dice the data to take a look?
    22   that it was weekly, but it might have been.         22   A       And each member could also input what
    23   Q        That's something Mr. Seid knows more       23   they thought was important. And that would
    24   about; correct?                                     24   include the new director, who was Betsy Adams at
    25   A        Yes. Right.                                25   the time.
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     1   Q       Okay. But, in any event, that data was       1   Q       Would you ever receive a request from
     2   available to Purdue to review and analyze;           2   Betsy Adams or Robin Abrams, as the chair, or
     3   correct?                                             3   Stephen Seid at national accounts, Hey, I think
     4   A       Yes. I -- I answer as a member of the        4   you'd better take a look at X pharmacy?
     5   OMS committee. Steve Seid would be a better          5   A       Most of the time it was the other way
     6   person to answer some aspects of that. He had        6   around. But we didn't mention Mark Geraci.
     7   sight on this every day.                             7   He -- he might develop a hot spot strategy and he
     8   Q       Okay. And earlier today you had said         8   would want Jack Crowley and Luis Bauza to go look
     9   to me that when you would go to your office, you     9   at each borough of New York City.
    10   could have a list -- you know, not every day, but   10   Q       I see. And then -- and then -- then
    11   some days you would have a list of high-volume      11   you would take the data and --
    12   pharmacies that needed to be -- closer look         12   A       Right.
    13   needed to be taken. Correct?                        13   Q       -- and do whatever you needed to do to
    14   MR. HOFFMAN:                                        14   be able to see all the pharmacies in a particular
    15          Object to form.                              15   borough in New York?
    16   A       I could log on to the system, if I can      16   A       That's right.
    17   use the term "log on" --                            17   Q       Okay. And what was the purpose -- what
    18   MS. CONROY:                                         18   was your purpose in doing that?
    19   Q       Yeah.                                       19   A       Primarily, as we've discussed, to
    20   A       -- and -- and query anything I wanted       20   support our authorized distributors. Right.
    21   to that day.                                        21   Q       And when you would receive information,
    22   Q       Would there be any triggering mechanism     22   how would you actually support an authorized
    23   that would tell you, for example, you should take   23   distributor? What would you do to support them?
    24   a look at the Huntington Beach pharmacy, for        24   A       Well, I -- I had routine, if I could
    25   example, this week because we're seeing some        25   use that word, or pretty regular contact with the

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     1   monitoring committees of each company. And, so,      1   A       On a case-by-case basis, yes.
     2   there'd be a phone call, there'd be perhaps email    2   Q       Okay. And then what you're -- what you
     3   pretty soon in the process if I thought that they    3   were kind of parsing for me was when it came to
     4   needed to be made aware of, you know, what I was     4   the authorized distributor's customers, the
     5   looking at, what I was finding. Perhaps they         5   wholesaler's customers as a -- as a -- as you
     6   already knew. Perhaps they were way ahead of me.     6   term it, a good corporate citizen --
     7   But we would have a conversation. So...              7   A       Right.
     8   Q         Did you believe it was Purdue's            8   Q       -- you were working to report those to
     9   responsibility to support their authorized           9   your authorized distributors if you thought there
    10   distributors with respect to problem pharmacies     10   was a suspicious customer, but you didn't feel
    11   or hot spot areas or issues that you were seeing    11   that that was Purdue's responsibility?
    12   in the data?                                        12   MR. HOFFMAN:
    13   MR. HOFFMAN:                                        13          Object to form.
    14            Object to form. Time frame.                14   A       I believe it was something that, as we
    15   MS. CONROY:                                         15   developed a system, we wanted to do and could do
    16   Q         During the time of the -- during the      16   and -- and tried to do the best we could with it,
    17   time of the order monitoring committee?             17   yeah. But whether or not there's a
    18   A         I -- I believe it's something we wanted   18   responsibility from a regulatory requirement, did
    19   to do. I believe we were trying to be a             19   not believe that.
    20   corporate -- good corporate citizen and -- excuse   20   MS. CONROY:
    21   me -- citizen, and I -- I don't necessarily and I   21   Q       Okay. Did you believe or do you
    22   do not believe that it was our responsibility       22   believe that the authorized distributors have a
    23   under the regulatory scheme at that time. That's    23   responsibility under the Controlled Substances
    24   all I'll say.                                       24   Act to report suspicious orders to the DEA?
    25   Q         Okay. Did you believe it was a part of    25   MR. HOFFMAN:
                                                 Page 143                                                 Page 145
     1   the -- that it was a -- that it was Purdue's         1        Object to form.
     2   responsibility to track whether or not there were    2   A     That's always been my understanding,
     3   suspicious order amounts from its authorized         3   that --
     4   wholesalers or distributors?                         4   MR. GOLDMAN:
     5   A        That's something that we wanted to do       5           I think she was asking about your
     6   as -- as -- as this thing emerged. Maybe that's      6   current understanding.
     7   not the --                                           7   A         I'm sorry. Could you repeat that? I'm
     8           As it became developed, based on those       8   sorry. Yeah.
     9   letters, this is what we wanted to do. When you      9   MS. CONROY:
    10   asked me is it -- was it Purdue's responsibility,   10   Q         You can go ahead with your answer.
    11   I -- I would have to say what I said before, and    11   A         Yeah. Was it the responsibility of
    12   the answer's "no."                                  12   wholesalers to report suspicious orders to DEA?
    13   Q        Okay. My question was just -- just a       13   Q         Yes.
    14   little bit different. Let's -- let's just go        14   A         And my answer is when detected, yes.
    15   back and look at Exhibit 9.                         15   Q         And part of what you were doing in the
    16           Purdue's -- would you agree that Purdue     16   OMS committee was to support Purdue's authorized
    17   had a responsibility under the Controlled           17   wholesalers or distributors in meeting their
    18   Substances Act with respect to whether or not       18   requirements with respect to the Controlled
    19   there was suspicious orders generally going to      19   Substances Act?
    20   authorized -- its authorized distributors?          20   MR. GOLDMAN:
    21   A        Yes.                                       21           Object to form.
    22   Q        And did you perform that function? Was     22   MR. HOFFMAN:
    23   that part of the OMS committee to look to see       23           Object to form.
    24   whether there were suspicious orders generally to   24   A         Yes. We were -- we were supporting
    25   the authorized distributors?                        25   them in conducting the due diligence that would

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     1   lead to whether or not they made a decision, yes.    1          After that, there might be a very free
     2   So I...                                              2   flow of information. But you would initiate 75
     3   MS. CONROY:                                          3   percent of the time. 25 percent of the time, an
     4   Q        And you did that by keeping in close        4   authorized distributor might come back -- might
     5   contact with individuals at each of Purdue's         5   go initiate a conversation with you about a
     6   authorized distributors. Is that correct?            6   problem area.
     7   MS. SIDARTH:                                         7   A       That's correct.
     8           Objection.                                   8   Q       And, when that was happening, was it
     9   A        I made regular contact with people in       9   your goal to record those conversations in the
    10   the big three companies, H.D. Smith. There was a    10   notes of the OMS database?
    11   company called Kinray in New York at that time,     11   A       As I mentioned earlier, that was the
    12   other smaller companies. So my answer is "yes,"     12   goal, but I may not have been the best
    13   I had many and routine conversations with           13   recordkeeper.
    14   wholesale companies, yes, authorized                14   Q       We all suffer from that, but...
    15   distributors.                                       15          But that was your -- the goal of the
    16   MS. CONROY:                                         16   database was, at least, to have that note section
    17   Q        And those routine conversations, what      17   so that those conversations could be recorded and
    18   I'm talking about specifically in those routine     18   that you would have that as some record of what
    19   conversations was you were communicating with       19   was happening for later conversations?
    20   them about problems you were seeing from the data   20   A       That was the intent, yes.
    21   that was visible to Purdue about their retail       21   Q       Did -- I think you told me earlier --
    22   customers?                                          22          Approximately how many authorized
    23   MR. HOFFMAN:                                        23   distributors were there while you were at Purdue
    24           Object to form.                             24   of controlled substances?
    25   A        That's certainly most of -- you know,      25   A       I think, when I was there, I think
                                                 Page 147                                                 Page 149
     1   most of it, but it could have worked the other       1   there were twenty.
     2   way, too.                                            2   Q        And did they all have their own, as far
     3   MS. CONROY:                                          3   as you know, suspicious order monitoring
     4   Q       Right. They may have --                      4   procedures or system?
     5   A       Right.                                       5   A        I believe that they did, but I -- I
     6   Q       -- called you and said --                    6   wasn't necessarily familiar with the smallest of
     7   A       Right.                                       7   them, you know, their system.
     8   Q       -- we think there's a problem with this      8   Q        Were you familiar with the big three,
     9   customer; what do you know about this customer?      9   AmerisourceBergen, McKesson, and Cardinal?
    10   A       Could you help me understand this           10   A        Yes.
    11   and -- yes. I mean...                               11   Q        And how did you become familiar with
    12   Q       Give me a percentage. Which -- which        12   their systems? What did -- what did you do to
    13   way did the information usually flow? From you      13   learn about their systems?
    14   to the authorized distributors or from the          14   A        Well, let me clarify. I know that they
    15   authorized distributors back?                       15   had systems.
    16   MR. HOFFMAN:                                        16   Q        Okay.
    17          Object to form.                              17   A        Being the types of companies they are,
    18   A       I really don't know how accurate it         18   I just -- I know they're robust systems. I began
    19   would be, but I'd say 75/25, something like that.   19   reaching out to those companies early on, early
    20   MS. CONROY:                                         20   2008. We also had formal meetings with those
    21   Q       So you would initiate the conversation      21   companies beginning September 2008, I think. So
    22   75 percent of the time.                             22   I've learned about those, you know,
    23   A       Yes.                                        23   through -- through that sort of activity,
    24   Q       Okay. And -- and I'm not talking            24   conversations on the telephone and -- and
    25   about --                                            25   meetings.

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     1   Q       Okay. Have you ever had access to any       1   Q       Okay. So was -- was it a written
     2   of the big three's suspicious order monitoring      2   report or do you know whether that was contained
     3   systems? Did anyone ever invite you in and show     3   in some sort of a electronic form, ROCs, or
     4   it to you or anything like that?                    4   reports of concern?
     5   A       No.                                         5   A       I was not part of that system, but they
     6   Q       Have you ever seen any of the standard      6   had a formal reporting system which was
     7   operating procedures for any of the big three       7   electronic. Right.
     8   suspicious order monitoring systems?                8   Q       And how is it --
     9   MS. SIDARTH:                                        9          Is it Betsy Adams or Joan Zooper or
    10          Objection.                                  10   someone else that would tell you, if you were
    11   A       I don't think so. In my -- I don't         11   looking at, for example, Pacifica Pharmacy in
    12   believe so.                                        12   Huntington Beach, would you yourself ask, Hey,
    13   MS. CONROY:                                        13   let me know if there are any ROCs out there for
    14   Q       It's your experience that tells you        14   this pharmacy, or would somebody automatically
    15   they had them, but you don't actually know for     15   supply that to you?
    16   certain whether they had formal procedures. Is     16   A       At the time, Betty Adams was -- that
    17   that correct?                                      17   was automatically supplied.
    18   MR. HOFFMAN:                                       18   Q       Okay. So you would -- you would -- you
    19          Object to form.                             19   would -- you would know it existed because it
    20   A       I'd say that was a pretty educated         20   would be provided to you?
    21   feeling that I had.                                21   A       Yes.
    22   MS. CONROY:                                        22   Q       What about -- what about the physicians
    23   Q       I didn't mean to suggest it wasn't.        23   who were -- the physicians who were prescribing
    24   A       From my experience.                        24   and those prescriptions were being filled out of
    25   Q       I just mean -- yeah. But --                25   a pharmacy? Would you receive that kind of data?
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     1   A       Well, yeah.                                 1   MR. GOLDMAN:
     2   Q       -- that's -- that's where that's coming     2          Objection.
     3   from. You didn't -- you -- you haven't been to a    3   A       Not unless I asked for it.
     4   conference and seen someone's protocols or          4   MS. CONROY:
     5   anything like that. You just -- you, from           5   Q       That data was available at Purdue;
     6   conversations, you believe they had a suspicious    6   correct? If you asked for it, they could tell
     7   order monitoring program?                           7   you whether or not -- they could tell you which
     8   A       And, again, from our meetings with          8   physicians' prescriptions were being filled at
     9   them, I'm sure it was discussed.                    9   which pharmacies?
    10   Q       Okay. Do you know if the type of data,     10   MR. HOFFMAN:
    11   the fee for service data or the 867 data, if you   11          Object to the form. Foundation.
    12   want to call it that, do you know if their         12   A       I have to think about that.
    13   systems used that data? Do you know any -- you     13   MS. CONROY:
    14   know, do you know that type of granular            14   Q       Okay.
    15   information?                                       15   A       They could tell you -- they had
    16   A       It is their data. So, yes, they --         16   prescriber information. I don't believe that
    17   they would use it.                                 17   system shows where the prescriptions are filled.
    18   Q       Do you know if they had any access         18   Q       Do you know if the data that came back
    19   to --                                              19   from the authorized distributors tracked whose
    20          Or let me strike that.                      20   prescription it was that was filled, who the
    21          Along with the FFS data that you used       21   physician was? Do you know one way or the other?
    22   at Purdue, did you use --                          22   A       I don't know, but my -- again, through
    23          You mentioned reports of concern.           23   my experience, they didn't have that information.
    24   Would you consider that data or something else?    24   Q       And why -- and why do you think they
    25   A       Something else.                            25   didn't?

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     1   A       From an IDT perspective, I've never          1   manufacturers who want to purchase that
     2   known those data streams to be joined up.            2   information. Normally it's for -- that -- that
     3   Q       I understand the -- the not -- the           3   resides in, you know, some part of the company
     4   joining up. But do you know whether or not that      4   that's different than what we're talking about.
     5   data was available? Do you know, for example, at     5   MS. CONROY:
     6   a pharmacy, whether there would be a record of       6   Q        Right.
     7   not only the dose and the number of pills but        7   A        So --
     8   also the name of the physician who prescribed the    8   Q        Do you know if that data contains the
     9   pills?                                               9   name of the pharmacy where the prescription was
    10   MR. PYSER:                                          10   filled?
    11          Object to form.                              11   A        I believe it does not and it cannot.
    12   A       I'm sorry. Available to who?                12   That's my belief.
    13   MS. CONROY:                                         13   Q        And why do you think it cannot?
    14   Q       To -- to the -- to the pharmacy and         14   A        It's just -- I don't know how it would
    15   then -- and --                                      15   be captured.
    16   A       Well, the pharmacy would have that          16   Q        It would depend on who's capturing it,
    17   information, sure.                                  17   though; correct?
    18   Q       Right.                                      18   A        Right. That's true. But, again,
    19          And if the pharmacy had the                  19   that's my -- my interpretation -- my
    20   information, wouldn't the authorized wholesaler     20   understanding.
    21   or distributor have that information?               21   Q        Okay. And that's your understanding
    22   A       No.                                         22   with respect to Purdue, that that information,
    23   MR. PYSER:                                          23   that data, of what pharmacy filled which
    24          Object to form.                              24   physician's prescriptions was not available to
    25   MR. HOFFMAN:                                        25   Purdue.
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     1          Object to form. Foundation.                   1   A       Right. So -- so let me think about
     2   THE WITNESS:                                         2   this for a second.
     3          Sorry.                                        3          The company that provided that data
     4   MS. CONROY:                                          4   probably offers different buckets, shall I say,
     5   Q       Do you know one way or the other?            5   of data that you could purchase. So I -- it was
     6   A       We're talking about FF- -- FFS and 867       6   not available in that format to Purdue.
     7   data, so my answer is no, they don't have it.        7   Q       Okay. Do you know one way or the other
     8   Q       From Purdue; correct? You -- your            8   whether that information was available to an
     9   understanding is Purdue did not have that data.      9   authorized distributor of Purdue?
    10   A       I'm sorry. Maybe I misunderstood you,       10   MR. PYSER:
    11   so let me be clear.                                 11          Objection.
    12   Q       Okay. Let me ask again. Let me ask          12   MS. CONROY:
    13   again.                                              13   Q       Do you know?
    14   A       Yeah.                                       14   MR. PYSER:
    15   Q       If I -- if I wanted to know who the         15          Objection.
    16   physician was who prescribed a particular dose of   16   MR. HOFFMAN:
    17   OxyContin, would I be able to determine that from   17          Form. Asked and answered.
    18   any data at Purdue, if you know?                    18   A       I don't know.
    19   MR. HOFFMAN:                                        19   MS. CONROY:
    20          Object to form.                              20   Q       Do you know the name of the vendor that
    21   A       There is prescribing data available         21   Purdue received or purchased that information
    22   that will show 12 months or 18 months of what       22   from, the prescribing information?
    23   a -- what a -- what an individual prescriber        23   A       At that time, it was IMS Health
    24   prescribed, what an individual doctor prescribes,   24   Services, I -- I think. Then it merged to -- or
    25   all substances, you know. So that's available to    25   became Quintiles. And now it's -- it's right on

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     1   the bottom of -- I want to say --                         1   MS. SIDARTH:
     2   Q       I think it's IQVIA.                               2          Objection.
     3   A       Yeah. That's the company. It was IMS              3   A       That's my understanding.
     4   when I was there.                                         4   MS. CONROY:
     5   Q       Okay. And do you know one way or the              5   Q       So my -- my next question is if you
     6   other whether or not, if Purdue had wanted to             6   have a distributor who also owns the retail
     7   purchase from IMS, or whatever it may have become         7   pharmacies, like a CVS or a Walgreens, do you
     8   over the years, data with respect to which                8   have an understanding whether or not they have
     9   pharmacy a physician filled -- a physician's              9   that information, they have data with respect to
    10   prescriptions were filled at, do you -- do you           10   which physician prescribed the pills to a
    11   even know if IMS or IQVIA collected that                 11   particular patient who was filling it at those
    12   information?                                             12   pharmacies?
    13         I -- I understand your testimony is                13   A       I don't think I'm the right person to
    14   that Purdue didn't have it, but do you know if it        14   answer that, so I -- I'd say I don't know.
    15   was available?                                           15   Q       That's not anything you've ever looked
    16   A       I don't know, and I -- I -- I don't              16   into?
    17   believe it was.                                          17   A       Right.
    18   Q       And -- and why do you not believe it             18   Q       Has CVS or Walgreens or Walmart ever
    19   was?                                                     19   been an authorized distributor for Purdue?
    20   A       That's kind of like the Holy Grail to            20   A       I don't believe so.
    21   those of us who are trying to develop our                21   Q       Have they ever purchased pills from
    22   programs. If we could -- if we could merge the           22   Purdue? Do you know?
    23   852 and 867 and whatever -- 844 data with the            23   A       In -- in -- in what way? Directly
    24   prescribing data and then, in a collaborative,           24   or --
    25   you know, relationship with the DEA, we'd have           25   Q       In any way, do you know?
                                                     Page 159                                                 Page 161
     1   the Holy Grail, really. So that's why I said              1   MS. CONWAY:
     2   that.                                                     2           Object to form.
     3   Q        What about with a -- a company such as           3   A        I don't. But I don't know all the
     4   CVS that's a distributor or wholesaler as well as         4   arrangements that national accounts had, so I
     5   has the retail pharmacies? Do you have an                 5   don't know.
     6   understanding whether or not they would have data         6   MS. CONROY:
     7   about who the prescriber was?                             7   Q        Do you know if there were ever fee for
     8   MR. PYSER:                                                8   service agreements or something similar with CVS
     9          Object to form.                                    9   or Walgreens or Walmart or Rite Aid?
    10   MR. HOFFMAN:                                             10   MS. CONWAY:
    11          Object to form.                                   11           Object to the form.
    12   A        I'm -- I'm sorry. My attention was not          12   A        I don't know. Not -- not in terms of
    13   as good as it should be for the first part of            13   this I -- OMS committee. I don't know. I don't
    14   your question. I'm sorry.                                14   think so.
    15   MS. CONROY:                                              15   MS. CONROY:
    16   Q        Sure.                                           16   Q        Did you ever share reports of concern
    17          I understood that what you told me was,           17   physically with any of Purdue's authorized
    18   with respect to a Cardinal or a McKesson, you            18   distributors?
    19   don't believe -- you don't know for sure, but you        19   A        Report of concern?
    20   don't believe that they have that Holy Grail of          20   Q        Right. Did you ever --
    21   information where the -- who the -- where a              21   A        Right. Right.
    22   physician's prescription is actually filled.             22   Q        Did you ever actually let them have it
    23   Correct?                                                 23   as opposed to talk to them about it?
    24   MR. PYSER:                                               24   A        I may have cut -- cut and pasted some
    25          Object to form.                                   25   of it. I would -- I don't think I ever gave any

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     1   of the people I talked to a -- a report              1   responsibility to record that if you learned that
     2   from -- that came from some other part of the        2   there was a report to the DEA about a particular
     3   company. So --                                       3   pharmacy that Purdue supplied, the authorized
     4          But would I share what's in the report?       4   distributor?
     5   Yes.                                                 5   A        Mostly.
     6   Q        Was there anything that you would not       6   Q        And how would --
     7   share with a Purdue authorized distributor with      7           Was there a particular place in the
     8   respect to suspicious orders? Is there anything      8   database that would be made? Was there a box
     9   that you might have had or information you might     9   that would be checked off, or was there -- or
    10   have had at Purdue that you felt you could not      10   would it -- would it just go into the notes
    11   tell the authorized distributor?                    11   section?
    12   A        No.                                        12   A        They had certain categories. One of
    13   MR. HOFFMAN:                                        13   them was "complete, close, referred," as I
    14          Objection.                                   14   recall.
    15   A        My recollection is we were a hundred       15   Q        So would "referred" mean it went to the
    16   percent transparent. We would share everything.     16   DEA?
    17   MS. CONROY:                                         17   A        Yes.
    18   Q        And --                                     18   Q        But at the time that Mr. Geraci spoke
    19   A        Unless it was -- something was omitted     19   to the DEA agents, would that have been
    20   by just personal mistake or something.              20   considered a referred, or was that just a
    21   Q        Yeah. I didn't mean that.                  21   conversation that he had about the Las Vegas
    22   A        Yeah.                                      22   pharmacies?
    23   Q        I just meant that your goal was to let     23   MR. HOFFMAN:
    24   the authorized distributor know everything you      24           Object to form.
    25   knew or everything that the order monitoring        25   A        I'm glad you brought that up, because I
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     1   committee learned about a suspicious order.          1   may have given the wrong impression before.
     2   MR. HOFFMAN:                                         2           We talk to DEA all the time, and not
     3           Object to form.                              3   only myself. But he, as the new chief security
     4   A         If they wanted it, yes. You know, yes.     4   officer, he was assuming a more active role.
     5   I -- I'd say, "We're discussing this. We have a      5           So case-by-case basis, referral,
     6   lot of information."                                 6   discussion, "Can we help each other?" I --
     7           They may have said, "So do we."              7           You know, and, then, the more I thought
     8           But that would be the goal, to -- to         8   of it when I was trying to have my lunch, the --
     9   share it. Excuse me.                                 9   the SOP said we -- we may discuss with the
    10   Q         Did you ever ask any of Purdue's          10   wholesaler. I think I made it more of an
    11   authorized distributors to let you know, to let     11   absolute, and it -- and it wasn't an absolute.
    12   Purdue know or the order monitoring committee, if   12           So we talked to DEA all the time,
    13   there was a report to the DEA?                      13   and -- and the wholesaler may know about it or
    14   A         Yes. We -- we would ask that, or I        14   may not. Was that a referral? It probably -- it
    15   would ask that. Doesn't mean I asked for proof      15   became a referral because I think he followed up
    16   of it. They could just tell me. Right.              16   with a letter after his meeting. And, so, yes,
    17   Q         But that was something you would -- you   17   that was a referral.
    18   would hope that they would tell you?                18   Q        And it was a referral because it was
    19   A         Yes.                                      19   something in writing that went to the DEA?
    20   Q         And would you report --                   20   A        That's my interpretation, yes.
    21   A         If it involved our product, yeah.         21   Q        Okay. And, so, in order for something
    22   Q         Sure. And would you record that in        22   in the -- on the database -- in order for, we'll
    23   the -- in the database?                             23   call it, an investigation to be -- to be -- to
    24   A         Tried to. That was the goal. Yep.         24   be -- to be marked as referred to the DEA, it has
    25   Q         And would that have been your             25   to be something formal to the DEA, some -- a -- a

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     1   writing or something else that is considered more    1   DEA?
     2   than just a conversation with the DEA?               2   A        I didn't personally, so I -- I don't
     3   MR. HOFFMAN:                                         3   know.
     4          Object. Object to form.                       4   Q        Who would have?
     5   A       That's correct. But the referral might       5   MR. HOFFMAN:
     6   actually reside from the wholesaler.                 6          Object to form.
     7   MS. CONROY:                                          7   A        Robin Abrams.
     8   Q       And if it -- if it resided from the          8   MS. CONROY:
     9   wholesaler -- or it did. You told me the only        9   Q        Would it have been -- it was discussed
    10   time was the one time with Mr. Geraci.              10   at the committee level, the OMS committee?
    11   A       Right.                                      11   A        It -- it probably was. It may not have
    12   Q       So there are no other referrals from        12   been unanimous.
    13   Purdue to the DEA; correct?                         13   Q        Why do you say it may not have been
    14   MR. HOFFMAN:                                        14   unanimous?
    15          Object to form. Foundation.                  15   A        Well, I -- I should not have said that.
    16   MS. CONROY:                                         16   I apologize. But...
    17   Q       At least while you were there.              17   Q        Did you believe they should be
    18   A       I -- I -- I may have made a mistake on      18   reported?
    19   that. Okay?                                         19   A        It -- it -- it's tough for me to
    20          So there was a time where other              20   give -- give a simple answer to that.
    21   referrals were made to DEA in 2011 that I can       21          I had no problem with the report going
    22   remember, and this was a result of analysis of      22   forward. You know, we tried to do our best, do
    23   six months' worth of data after OxyContin was       23   the right thing. And, you know, was the timing
    24   reformulated to become abuse- and                   24   the best? It -- it was good for some aspects.
    25   tamper-resistant sort of thing.                     25   We have now six months of real data that we could
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     1           So it was noted in the OMS system that       1   show.
     2   certain retail outlets became very, very reduced     2   Q       Did you believe it could have been
     3   in -- in what they were buying. And people on        3   reported earlier, when you were seeing the high
     4   the committee took that as an indication that        4   volume of OxyContin?
     5   those pharmacies were eligible for referral right    5   MR. HOFFMAN:
     6   then, if not -- if --                                6          Object to form.
     7           If we weren't talking about them             7   A       I believe we were doing our best to get
     8   before, which I believe we were anyway, that data    8   to that point. Right. And many of them may have
     9   would indicate that they should be referred as       9   been by the wholesaler. I don't know.
    10   suspicious.                                         10   MS. CONROY:
    11           So I was not involved in the actual         11   Q       You don't know. Many of those
    12   meeting that took place at DEA, but that -- it      12   pharmacies, during the period of time with the
    13   was one sometime in April where -- I don't know     13   high volume when you were communicating with the
    14   the exact number -- 150 pharmacies were referred,   14   authorized distributors, it's possible that
    15   something like that.                                15   those -- some of those distributors reported to
    16   Q        And those 150 pharmacies were              16   the DEA, correct, reported those pharmacies to
    17   pharmacies whose OxyContin business greatly         17   the DEA?
    18   decreased?                                          18   A       It's possible.
    19   A        That's correct.                            19   MR. HOFFMAN:
    20   Q        And were those 150 pharmacies or           20          Objection.
    21   whatever the number is, did they have authorized    21   MS. SIDARTH:
    22   distributors?                                       22          Objection.
    23   A        Yes.                                       23   MS. CONROY:
    24   Q        And did you reach agreement with the       24   Q       You don't --
    25   authorized distributor before you reported to the   25   THE WITNESS:

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     1          Sorry.                                        1   A        We only have so much time.
     2   MS. CONROY:                                          2   Q        It was the delta that triggered the
     3   Q       You don't know one --                        3   reporting, then, the delta between the high
     4   A       I don't know.                                4   prescribing and the low prescribing of the -- of
     5   Q       -- way or the other?                         5   the reformulated OxyContin.
     6   A       No.                                          6   MR. HOFFMAN:
     7   Q       But it is true that when the OxyContin       7          Object to the form as to prescribing.
     8   business vastly decreased, Purdue made a             8   MR. GOLDMAN:
     9   decision, at least at the OMS committee level, to    9          Objection.
    10   report those pharmacies to the DEA; correct?        10   A        It was the percentage change.
    11   MR. HOFFMAN:                                        11          It wasn't that they were a -- a -- a
    12          Object to the form.                          12   suspiciously high-volume pharmacy, necessarily,
    13   A       A decision was made. Whether or not it      13   but once the reformulation happened, it went
    14   was made from the point of view of suspicious       14   down.
    15   order monitoring primarily or "This is how good     15   MS. CONROY:
    16   our -- our reformulated product is working from     16   Q        Right. And, so, the -- the decision
    17   an abuse standpoint."                               17   was made to report those to the DEA. And, in
    18          So, secondarily, the fact that these         18   part, that was to tout the benefit or potentially
    19   particular pharmacies went from here to here may    19   tout the benefit of the reformulated --
    20   have been an indication to some people that they    20   A        Yes.
    21   were suspicious and should be looked at. Right.     21   MS. CONROY:
    22   MS. CONROY:                                         22   Q        -- OxyContin?
    23   Q       And, if I understand what you're            23   MR. HOFFMAN:
    24   telling me correctly, those pharmacies had been     24          Object to form.
    25   suspicious for some time because of the high        25   A        That was my understanding.
                                                 Page 171                                                 Page 173
     1   number of OxyContin before the reformulation.        1   MS. CONROY:
     2   MR. HOFFMAN:                                         2   Q        Did Robin Abrams make the decision to
     3          Objection.                                    3   report those pharmacies to the DEA?
     4   MR. GOLDMAN:                                         4   A        Yes.
     5          Objection.                                    5   Q        And do you know if she made that
     6   MS. CONROY:                                          6   decision with input from the committee, or was it
     7   Q       As far as you know.                          7   a separate decision?
     8   MR. HOFFMAN:                                         8   MR. HOFFMAN:
     9          Object to form. Foundation.                   9           Object to form. Asked and answered.
    10   A       I -- I have a problem with the way you      10   A        I -- I think it was discussed,
    11   describe it, only because I'm not an expert with    11   certainly with -- yeah, with each member of the
    12   data.                                               12   committee. Right.
    13          A lot of those pharmacies may never          13   MS. CONROY:
    14   have ever appeared on anything that I looked at     14   Q        I take it you were not supportive of
    15   because their volumes were so low. But              15   reporting. You didn't have a -- you didn't -- it
    16   percentage-wise, did it go from 90 percent to 20    16   didn't bother you that they got reported, I take
    17   percent? Yes. If that's what you're talking         17   it, but you weren't supportive of the reason for
    18   about.                                              18   it?
    19          But I, myself, I'm interested in             19   MR. HOFFMAN:
    20   volume, period, as a first indicator. And -- and    20           Objection. Form.
    21   the volume of those stores may not have been        21   A        I didn't know how it would be received
    22   anything that I was interested in speaking to a     22   by DEA. So I don't think it was accurate to say
    23   wholesaler about.                                   23   I was not in favor. I was just skeptical
    24   MS. CONROY:                                         24   that -- that it would be received in the -- in
    25   Q       Right.                                      25   the way it was intended. That's all.

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     1   MS. CONROY:                                         1   Q         -- national accounts side of the house?
     2   Q        And did you get any feedback from any      2   A         Right. National accounts would be the
     3   of Purdue's authorized distributors with respect    3   relationship with the authorized distributors.
     4   to that reporting?                                  4   You're correct.
     5   A        Not that I recall.                         5           I -- I really don't know how it came to
     6   Q        And that was a --                          6   that. I just know he -- he had the capability of
     7          Did -- did Miss Abrams go to the DEA to      7   doing that. I didn't know how he specifically
     8   report those pharmacies?                            8   got that information.
     9   A        Yes.                                       9   Q         Okay. And, then, where you see Luis
    10   Q        And do you know which office she went     10   Bauza did a public records search, I assume he
    11   to?                                                11   did that on his computer or something like that?
    12   A        She went to the Office of Diversion       12   A         My understanding, yes.
    13   Control, which was headed up by Joel Rannazzisi,   13   Q         Then the field sales force input,
    14   and spoke to some of the staff members there.      14   that's the ROCs that are listed here.
    15   Q        In DC?                                    15   Those -- those are from the sales side of the
    16   A        Yes. They're actually located in --       16   house; correct?
    17   Q        Virginia?                                 17   A         Yes.
    18   A        Yes. Pentagon City, yeah.                 18   Q         "Savings card information," what --
    19   Q        And did anyone accompany her?             19   what does that mean?
    20   A        I believe Giselle Issa.                   20   A         I'm probably not the right person to
    21   Q        You didn't go?                            21   answer that question. I -- I didn't pay that
    22   A        I did not go.                             22   much attention to it, personally. But I know
    23   Q        And Mr. Seid didn't go, as far as         23   that the company ordered -- I mean offered
    24   you know?                                          24   savings cards for people who financially needed
    25   A        As far as I know, did not.                25   it, I think. Yeah.
                                                Page 175                                                 Page 177
     1   Q       And Luis Bauza didn't go?                   1   Q       Okay. Is that anything you ever looked
     2   A       Did not.                                    2   at?
     3   Q       And Mr. Geraci didn't go?                   3   A       No, not -- not personally, no.
     4   A       Did not.                                    4   Q       You see it says, in that first bullet
     5   Q       And this, if we continue on Exhibit 8,      5   point, "Savings card utilization reports indicate
     6   there's national -- it says, "National accounts     6   that the following Region 0 prescribers had
     7   input, October" -- it's on the second               7   prescriptions filled by Prescription [sic] Side
     8   page -- "October 27, 2010, report from Steve        8   Pharmacy in March, April, and May but not in
     9   Seid. Modern store. Near a medical group.           9   June, July, and August."
    10   Still orders significant product but for weeks     10          Do you see that?
    11   all reformulated. Decent product mix. Doesn't      11   A       Yes.
    12   appear to be an issue."                            12   Q       And what's a Region 0 prescriber? Do
    13          Do you see that?                            13   you know?
    14   A       Yes.                                       14   A       Region 0 is a -- was a category that
    15   Q       Do you know where that information is      15   the company used to describe physicians that the
    16   coming from? I know it comes from a report from    16   sales force was not allowed to speak to those
    17   Steve Seid, but do you know how he knows it's a    17   physicians.
    18   modern store and that it's near a medical group?   18   Q       Okay.
    19   A       I -- I believe some of that would have     19   A       The company did not want its product --
    20   to come from the sales side of the house. He       20   they didn't want those physicians visited by
    21   would --                                           21   anybody from Purdue.
    22   Q       Let me just --                             22   Q       There was no prohibition of any of
    23          Sales side of the house is the sales        23   those physicians on Region 0 to prescribe a
    24   reps, that area, not the -- not the --             24   Purdue product; correct?
    25   A       Correct.                                   25   MR. HOFFMAN:

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     1           Object to form.                              1   know?
     2   A        My understanding was there's no             2   A       She could have pulled that off of the
     3   mechanism to -- to do that. So that's correct.       3   OMS system under the remarks section or an email
     4   MS. CONROY:                                          4   or both.
     5   Q        Okay. And then it says the savings          5   Q       Did she have -- did Betsy have access
     6   card utilization reports --                          6   to your email? Could she go in and, you know,
     7           Those are reports that are available to      7   search for any conversations, email conversations
     8   Purdue. Correct?                                     8   you had with H.D. Smith or a particular person,
     9   A        I think so.                                 9   or would you have to forward those to her?
    10   Q        Okay. It says that those reports           10   A       I'd have to forward them.
    11   indicate that the following prescribers -- and      11   Q       And here where you see on the third
    12   all of those prescribers are listed here in this    12   paragraph, it says, "H.D. Smith had made an
    13   bullet point -- had prescriptions filled by The     13   adjustment to the account's threshold. Jack
    14   Pacific Side Pharmacy. Do you see that?             14   traded information concerning Dr. Siew as well as
    15   A        Yes.                                       15   other prescribers in the area."
    16   Q        So that would -- that would indicate,      16          Do you see that?
    17   wouldn't it, that Purdue did have information       17   A       I'm sorry. I heard you. I'm still
    18   about where prescribers' prescriptions were         18   trying to find it.
    19   filled?                                             19   Q       Oh. Sorry. The bottom -- see there
    20   MR. HOFFMAN:                                        20   under your -- the wholesaler input section?
    21           Object to form.                             21   A       Yes.
    22   A        I wouldn't say that data was absolutely    22   Q       The third paragraph --
    23   available. It had to be sought out.                 23   A       Oh, okay.
    24   MS. CONROY:                                         24   Q       -- of that very last sentence where it
    25   Q        Okay. But a few moments ago you told       25   says, "H.D. Smith had made an adjustment to the
                                                 Page 179                                                 Page 181
     1   me that Purdue did not have that data. And I'm       1   account's threshold. Jack traded information
     2   not -- I'm not discussing whether it was             2   concerning Dr. Siew as well as other prescribers
     3   difficult to get or how much there was of it or      3   in the area."
     4   anything like that.                                  4           Do you see that --
     5   A        No. I understand. And I'm not trying        5   A        Yes.
     6   to be -- hold anything back.                         6   Q        -- sentence?
     7   Q        Right. But would this indicate to you       7           And would it -- would it be fair to say
     8   that, at least in some -- under some                 8   that it was a consequence of your conversations,
     9   circumstances, it was possible for Purdue to see     9   in part, with George Euson at H.D. Smith that
    10   where certain prescribers' prescriptions were       10   adjustments were made to the -- to the
    11   filled?                                             11   pharmacies -- to the Pacifica Pharmacy's
    12   MR. HOFFMAN:                                        12   threshold at H.D. Smith?
    13           Object to form.                             13   A        We had routine conversations. On this
    14   A        In -- in some circumstances, Purdue        14   case-by-case basis, I don't know. He was a very
    15   could see where prescriptions written by some       15   aggressive person in this regard, so he -- in
    16   doctors -- why -- why some prescriptions written    16   this case, he may well have reduced that
    17   by some doctors were filled.                        17   threshold before we had that conversation.
    18   MS. CONROY:                                         18   Q        I see.
    19   Q        Then we have here wholesaler input, and    19   A        But -- but it -- it could be that it
    20   it says that you spoke with George Euson of         20   was as a result, but he -- he was -- was quite
    21   H.D. Smith concerning LA area scams. And            21   capable of acting independently.
    22   this -- this text, would Betsy Adams have written   22   Q        Okay. So he may have done it on his
    23   this up? Would she have pulled this off of the      23   own.
    24   notes section of the database? Would you have       24   A        Yes.
    25   typed something up and given it to her or do you    25   Q        Or he may have been reinforced by

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     1   something you told him or maybe you told him in      1   Q        So, while you were there, you would
     2   the first case?                                      2   have -- you would have had to ask somebody, say
     3   A        That's correct.                             3   "Do we have a report on Pacifica," or something
     4   Q        Where it says "further investigative --     4   like that?
     5   investigatory activity," it says that -- you         5   A        Yes.
     6   know, the square footage of the store, et cetera,    6   Q        Could you search -- could you search
     7   do you know where that information comes from,       7   the database? Could you put in "Pacifica" to see
     8   who would -- who would find that out?                8   if anyone else had submitted any notes or if it
     9   A        I -- again, Betsy Adams was the             9   showed up anywhere?
    10   director for -- I don't know -- about a year, and   10   A        Not -- not from the OMS system, no.
    11   she was very good at pulling data from any number   11   Q        It was not searchable?
    12   of sources. I think she would have put that in.     12   A        Not searchable for additional
    13   Where she got it, I don't know.                     13   information from other sources. Right.
    14   Q        Okay. A document like Exhibit 8, a         14   Q        How about for -- could you search to
    15   report to the OMS team, if you were having a        15   see if you wanted to know about whether anyone
    16   committee meeting, is this -- would this be a       16   else had put anything in the notes section with
    17   sort of report that you would discuss at the        17   the word "Pacifica"? Could you search
    18   meeting?                                            18   "Pacifica"?
    19   A        It -- it would be discussed. The           19   A        I don't think so. So my answer would
    20   general object was that the members would have      20   be no, that I don't think so. But...
    21   read this before the meeting, and then a            21   Q        And if you wanted a -- a report
    22   discussion as time was allotted, available.         22   concerning a pharmacy such as Exhibit 8, who is
    23   Q        Okay. And would there be -- would          23   it that you would have asked for it?
    24   someone put together a packet of everything that    24   A        I'm sorry. If I wanted the -- the
    25   you needed to review before the committee           25   report?
                                                 Page 183                                                       Page 185
     1   meeting?                                             1   Q       If you wanted to actually get a copy of
     2   A       That began to happen at around -- you        2   the report, who would you -- and I'm talking
     3   know, in this time, yep.                             3   about not -- I know it would be supplied to you
     4   Q       And who was responsible for creating         4   by Betsy or someone --
     5   the material to be viewed -- reviewed or the         5   A       Right.
     6   agenda for the committee meeting?                    6   Q       -- in advance of the meeting. But if
     7   A       The agenda was controlled by                 7   you were going to be getting on the phone, for
     8   Betsy Adams or Giselle Issa, with input from         8   example, with George Euson and you knew that this
     9   everyone else.                                       9   report existed and you said, Oh, I'd really like
    10   Q       Okay. And, then, would it follow,           10   to see a copy of that report, could you call it
    11   then, that Betsy or Giselle would collect all the   11   up on your computer or would you have asked your
    12   materials that would be necessary to have           12   assistant, Hey, get me a copy of the report? How
    13   everybody up to speed on the topics on the          13   would -- how would you do it?
    14   agenda?                                             14   A       I could not call it up on my system
    15   A       Yes.                                        15   while I was there. It's possible I could have
    16   Q       Where -- this report to the OMS team,       16   asked someone else to get a report.
    17   did you have sort of a share point or some sort     17   Q       Do you know who that would have been?
    18   of document system at Purdue where, if you wanted   18   A       Betsy Adams or Giselle, Giselle Issa.
    19   to look at this OMS report, you could see it?       19   Q       You can put that exhibit away.
    20   A       Well, that's what I alluded to earlier.     20   MR. HOFFMAN:
    21   We were trying to develop a share point. I don't    21          Good time for a break, Jayne?
    22   think we ever got there while -- while I was        22   MS. CONROY:
    23   there.                                              23          Sure.
    24   Q       Okay.                                       24          Want a break?
    25   A       That was the intention.                     25   THE WITNESS:

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     1          I -- I should probably take every             1           Purdue has a list of Region 0
     2   opportunity.                                         2   physicians that they will not allow their sales
     3   MS. CONROY:                                          3   force to call on, correct?
     4          You should. That's a -- yeah. I'll be         4   A        That's my understanding, yes.
     5   your counsel on that. Yes.                           5   Q        And what is your understanding of -- of
     6   VIDEOGRAPHER:                                        6   the reason why those physicians are on
     7          We are now going off the video record.        7   Region 0 -- a Region 0 list?
     8   The time is currently 2:14 p.m. This is the end      8   A        Would have resulted from a process, a
     9   of media number 3.                                   9   report of concern -- and there was a separate
    10               (OFF THE RECORD.)                       10   committee for -- for that -- determined that the
    11   VIDEOGRAPHER:                                       11   company no longer wanted to be associated in any
    12          We are now back on the video record          12   way with that prescriber, and the best way for
    13   with the beginning of media number 4. The time      13   them to do that was to prohibit any salesperson
    14   is currently 2:39 p.m.                              14   from visiting that -- that doctor. And, so, they
    15   MS. CONROY:                                         15   put it into something they called Region 0.
    16   Q        Mr. Crowley, can you expound for me how    16   Q        And if it could be identified where
    17   knowledge of who the prescriber is and where his    17   those Region 0 patients are filling
    18   or her patients are filling their prescriptions     18   prescriptions, is it your understanding that that
    19   would be the Holy Grail to the DEA?                 19   would have been helpful to you in identifying
    20   A        I probably should have reworded that.      20   suspicious orders or pharmacies who were filling
    21   Could be the gateway to the Holy Grail.             21   suspicious orders?
    22          But to -- to understand where                22   MR. HOFFMAN:
    23   prescriptions come from, shall I say, someone has   23           Sorry. You said Region 0 patients.
    24   to -- someone has to be on a location. There has    24   You might have meant prescribers.
    25   to be some kind of a knowledge of -- of the         25   MS. CONROY:
                                                 Page 187                                                 Page 189
     1   geographical location, who the prescribers are.      1   Q       I'm sorry. I did mean prescribers.
     2   You have to ask the pharmacist, "Who's writing       2          Do you want me to repeat that, maybe
     3   these prescriptions?" You -- you can't -- you        3   repeat that?
     4   can't see that in data. That's all I meant. I        4   A       Please. Please.
     5   mean, if you -- you know, it would have been         5   Q       So if it could be identified where
     6   quite helpful.                                       6   Region 0 prescribers' patients are filling their
     7   Q        And helpful in what way?                    7   prescriptions, is it your understanding that
     8   A        Application of your resources to            8   would have been helpful to you in identifying
     9   conduct further due diligence. It would be more      9   either suspicious orders or pharmacies that were
    10   efficient use of time if you knew which four or     10   more likely to be filling suspicious orders?
    11   five doctors were more interesting than the other   11   MR. HOFFMAN:
    12   30 or 40 that were writing prescriptions that       12          Object to form.
    13   were filled at that pharmacy.                       13   A       In my role as a member of the order
    14   Q        And -- well, I didn't mean to --           14   monitoring system, that certainly could be
    15   A        Well, you know, there's not much else      15   helpful as one source of information that would
    16   to say except efficiency.                           16   be interesting to me, yes.
    17   Q        Would it also help to identify problem     17   MS. CONROY:
    18   pharmacies in a different way than just looking     18   Q       Would you agree that a Region 0's
    19   at, for example, volume or whether it's a cash      19   physician's prescriptions are suspicious? It's
    20   sale or something else?                             20   the reason they're on Region 0 list; right?
    21   MR. HOFFMAN:                                        21   MR. GOLDMAN:
    22          Object to form.                              22          Objection.
    23   A        It -- it -- it might.                      23          Go ahead.
    24   MS. CONROY:                                         24   A       I -- my understanding would be that
    25   Q        And, by way of example, if you were --     25   there's something there, so it would rise to the

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     1   level of suspicious. Right.                              1   Adams [sic] from 2009 to 2010, or was Robin out
     2   MS. CONROY:                                              2   of the picture while Betsy was there?
     3   Q       And if -- if you had had that                    3   A       Abrams?
     4   information, if you knew where the Region 0              4   Q       Abrams. I'm sorry.
     5   prescribers -- physicians were -- where their            5   A       She worked for Betsy -- I mean she
     6   patients were filling their prescriptions, would         6   worked for Robin Abrams, yes.
     7   those pharmacies have been some of the pharmacies        7   Q       Betsy Adams worked for Robin Abrams.
     8   on your list, like the high-volume pharmacies?           8   A       That's correct.
     9   MR. HOFFMAN:                                             9   Q       Okay. And then Betsy left. Did anyone
    10          Object to form.                                  10   take Betsy's place?
    11   A       I'm sorry. Would it have been helpful?          11   A       Yes. That was Giselle Issa.
    12   MS. CONROY:                                             12   Q       And did Giselle Issa have the same
    13   Q       No. Would you have -- would you have            13   desire as Betsy Adams, so far as you know, to
    14   looked into those pharmacies as well?                   14   merge different data among the company?
    15          You told me earlier that you would look          15   A       May have had the same desire. I don't
    16   at the high-volume pharmacies.                          16   know that she succeeded to that level. Yeah.
    17   A       Right.                                          17   Q       Is Giselle Issa a lawyer?
    18   Q       That was sort of your process.                  18   A       She is not, no. She's a Certified
    19          If you also knew which pharmacies --             19   Public Accountant.
    20   A       I see.                                          20   Q       And what about Betsy Adams? Is she
    21   Q       -- were filling Region 0 physicians'            21   a --
    22   prescriptions, would you have included those            22   A       Attorney.
    23   pharmacies on your list of pharmacies to                23   Q       And she was located in Stamford?
    24   investigate?                                            24   A       Yes.
    25   MR. HOFFMAN:                                            25   Q       And -- and Giselle Issa was
                                                      Page 191                                               Page 193
     1          Object to form.                                   1   headquartered in -- in Stamford as well?
     2   A       Under Betsy Adams' leadership, that's            2   A        Yes.
     3   where they were moving. They were moving in that         3   Q        Do you know where Robin Abrams is now?
     4   direction. She wanted to include all the                 4   A        Not specifically, no.
     5   information that -- that was available different         5   Q        Do you know generally where she is?
     6   places in the company.                                   6   A        I was aware that she had moved to a new
     7   MS. CONROY:                                              7   position in a new company, but I -- I really
     8   Q       And when you say Betsy Adams'                    8   cannot remember what it was.
     9   leadership, when was -- when was that?                   9   Q        Did she -- is she in a new company as
    10   A       2009 and maybe --                               10   a -- as counsel? Did she move -- is the
    11          What's the date on this? Can I look at           11   position?
    12   that?                                                   12   A        Yes, I believe so.
    13   Q       Oh, yeah. Sure.                                 13   Q        Do you know if she moved -- moved out
    14   A       -- through two thousand and -- through          14   of Connecticut?
    15   2010.                                                   15   A        You mean her residence?
    16   Q       And was she -- did -- did she leave at          16   Q        Well, I -- I -- you may not know that,
    17   some point?                                             17   but do you know if the new company is in
    18   A       Yes.                                            18   Connecticut or her office is in Connecticut?
    19   Q       And did she leave in 2010?                      19   A        I think it's in New York City. I --
    20   A       I -- I'm sorry. I don't really know             20   Q        You don't know the name of the company?
    21   exactly when.                                           21   A        I don't recall. I'm sorry. No.
    22   Q       Okay. Do you -- do you know where she           22   Q        Is she anyone that you have -- is she
    23   is now?                                                 23   anyone that you see at conferences or anything?
    24   A       No.                                             24   A        No.
    25   Q       Okay. Was -- did she work with Robin            25   Q        Have you kept up with Betsy Adams at

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                                                Page 194                                                 Page 196
     1   all?                                                1   A         They -- Lisa Girion and Scott Glover
     2   A       No.                                         2   showed up, unbeknownst to me -- and the
     3   Q       Let me give you what I've marked as         3   conference was at a well-attended group of
     4   Exhibit 5.                                          4   administrators of dental practices -- and created
     5         (CROWLEY EXHIBIT NUMBER 5                     5   kind of a commotion at the registration desk.
     6          WAS MARKED FOR IDENTIFICATION.)              6           So once I found that out as I was
     7   MS. CONROY:                                         7   coming in, I said, "Well, come on, let's just go
     8   Q       The top one's yours and then copies.        8   off to the side here and -- and see what we
     9          Exhibit 5 is LA Times article dated          9   could -- what we could do."
    10   July 10th, 2016. It's several pages long, 16       10           I had no intention of speaking to them
    11   pages -- 16 pages long.                            11   until they showed up like that.
    12          You are familiar with this article,         12   Q         Okay. Why were you at a conference
    13   correct, Mr. Crowley?                              13   concerning the administration of dental
    14   A       Correct.                                   14   practices?
    15   Q       And, prior to this article publication,    15   A         I was doing consulting work for the
    16   you were interviewed; is that correct?             16   company that was the primary wholesaler
    17   A       Yes.                                       17   for -- for their medication.
    18   Q       And were you interviewed -- were you       18   Q         And what kind of medications?
    19   interviewed by the authors, Harriet Ryan, Lisa     19   A         Oral surgery. So it would be conscious
    20   Girion, and Scott Glover?                          20   sedation type drugs.
    21   A       Scott Glover and Lisa Girion.              21   Q         Okay. And what was the name of -- of
    22   Not Harriet. Well, was not interviewed initially   22   that primary wholesaler?
    23   by Harriet Ryan.                                   23   A         Southern -- Southern Anesthesia
    24   Q       Okay. And were the interviews face to      24   Company.
    25   face or over the telephone?                        25   Q         And were you doing consulting work for
                                                Page 195                                                 Page 197
     1   A       Face to face.                               1   them?
     2   Q       And how many were there?                    2   A        Certain projects, yes. Limited. I
     3   A       Two.                                        3   mean, not -- it wasn't an ongoing thing. It was
     4   Q       And how long did they last?                 4   a -- certain projects.
     5   A       Hour.                                       5   Q        I don't think -- that wasn't -- you
     6   Q       An hour each?                               6   would add that to the list, what we were talking
     7   A       Probably.                                   7   about this morning?
     8   Q       Did they come to see you?                   8   A        Yes.
     9   A       Yes.                                        9   Q        Okay. And you were not presenting --
    10   Q       Okay. And where did they see you?          10   is that what you said? -- at -- at this
    11   A       They saw me at a conference that I was     11   conference?
    12   making a presentation in San Diego, and they,      12   A        I was.
    13   because some things needed to be clarified, they   13   Q        Or you were presenting.
    14   flew to South Carolina.                            14   A        Yes.
    15   Q       For the second meeting.                    15   Q        And what were you presenting on?
    16   A       Yes.                                       16   A        What -- what -- how the staff should
    17   Q       Okay. And for what reason were you in      17   properly handle a DEA unannounced inspection.
    18   South Carolina?                                    18   Q        Staff of -- of what --
    19   A       That's where I lived at the time.          19   A        Dental -- dental office.
    20   Yeah.                                              20   Q        Okay.
    21   Q       Okay. And what prompted --                 21   A        Right.
    22          Was -- was the first -- the first           22   Q        Had you yourself -- this is just a
    23   interview was in San Diego?                        23   general question. Had you ever inspected a
    24   A       Yes.                                       24   dental office?
    25   Q       And what prompted that interview?          25   A        Yes.

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     1   Q        And did you -- did you present a           1   they hand you anything? How did the interview
     2   PowerPoint as well?                                 2   go?
     3   A        Yes.                                       3   A       They asked me about certain individual
     4   Q        And what kind of a commotion did           4   practitioners, I think, in the Los Angeles area,
     5   the -- did Mr. Glover and Mrs. -- and Ms. Girion    5   is my recollection, and must have gotten into my
     6   create?                                             6   duties or whatever.
     7   A        I can only go on secondhand reports.       7          But I -- I probably felt that I had
     8   They wanted to enter the conference and -- and      8   kind of a unique perspective that might help them
     9   listen to my presentation. They were not allowed    9   understand supply chain issues and so forth.
    10   entrance, making demands and whatnot.              10   Q       And when -- the article was published
    11   Q        So they were -- they were interested in   11   in July of 2016. When do you think this first
    12   you --                                             12   interview took place?
    13   A        It upset the people at the registration   13   A       2014.
    14   desk.                                              14   Q       Okay. What time of year? Do you know?
    15   Q        Okay.                                     15   A       April.
    16   A        Yeah.                                     16   Q       And then there was a second interview
    17   Q        And they were interested in you,          17   in South Carolina?
    18   not the -- not the dental practice.                18   A       Yes.
    19   A        I would say that's right.                 19   Q       Okay. And when was that?
    20   Q        Okay. And, so, you agreed to speak        20   A       I think it was still springtime. I
    21   with them?                                         21   think it was still probably a month later, May.
    22   A        Yes.                                      22   Q       So May of 2014?
    23   Q        Did you speak with them before you        23   A       I don't think it was a year later. I
    24   presented?                                         24   think it was a month later. So...
    25   A        They contacted me a couple of times by    25   Q       Okay. And what were they looking, if
                                                Page 199                                                 Page 201
     1   email, and I said was not interested.               1   you can recall, for clarification in the South
     2   Q       And that was -- that was after they         2   Carolina meeting?
     3   created the commotion?                              3   A       I emphasized several times that I
     4   A       Oh, no. That would have been before.        4   wanted to be quoted 100 percent accurately. I
     5   Q       Before. I see.                              5   didn't want to be cherry-picked or anything like
     6   A       Right.                                      6   that. So accuracy, I guess, is what.
     7   Q       And then they showed -- they were in        7   Q       And -- and do you believe that they did
     8   California, and they showed up because you were     8   quote you accurately in the article when it was
     9   there in San Diego?                                 9   published?
    10   A       Right.                                     10   A       No.
    11   Q       Do you know how they found out you were    11   Q       And did you have an understanding --
    12   gonna be there?                                    12   did you believe, at least in 2014, based on your
    13   A       Not really.                                13   conversations with them, that your quotes were
    14   Q       Okay. So, then, what -- then what          14   accurate?
    15   happened? How did you come to actually be          15   A       I didn't know what my quotes would be
    16   interviewed by them?                               16   at that point. 2014?
    17   A       We -- we sat out -- this was at the        17   Q       Yeah.
    18   Marriott on Coronado Island, I think it was, in    18          So when they --
    19   San Diego. So there might have been an area out    19          They didn't -- they didn't show you
    20   back of the conference area. Sat there.            20   anything?
    21   Q       And did they record you? Do you know?      21   A       Right.
    22   A       I don't think -- I don't know. I don't     22   Q       And then you didn't --
    23   remember.                                          23          Did you have any telephone
    24   Q       Okay. And what happened? Did they ask      24   conversations or emails with them, other than
    25   you questions? Did they have set questions? Did    25   when they were trying to get --

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     1   A       I think I probably had several.              1   A      Oh, I didn't -- oh, oh, oh. I
     2   Q       And were any of the -- were the emails       2   misunderstood you. I'm sorry.
     3   about scheduling or were some of them                3   Q      Oh.
     4   substantive?                                         4   A      I never had an official email account
     5   A       My recollection is substance --              5   with Southern Anesthesia, if that's what you
     6   substantive. All right.                              6   mean.
     7   Q       And where are those emails now?              7
     8   A       I have no idea. I mean, I -- I don't
     9   know if I kept them or not. I don't think so.
    10   Q       Do you know one way or the other?
    11   A       I don't know one way or the other.
    12   Q       Okay. I would ask, at least as of
    13   today, that you not destroy any emails that you
    14   have at home.
    15                                                       15   Q        And how long has that been active?
                                                             16   A        Three years, probably.
                                                             17   Q        Any others?
                                                             18   A        Gates Healthcare. That was a
                                                             19   consulting company.
                                                             20   Q        Any others?
                                                             21   A        No. That's all.
                                                             22   Q        Okay. And can you -- can you access --
                                                             23   still access any of -- of these emails, with the
                                                             24   exception of the Purdue email? For example, can
                                                             25   you -- can you get on the AT&T.net and see your
                                                                                                          Page 205
                                                              1   emails?
                                                              2   A        My own personal?
     3   Q        What about a Comcast? Do you have one       3   Q        Right.
     4   of those?                                            4   A        Yes. Yeah.
     5   A        No.                                         5   Q        And what about the Gmail?
     6   Q        Any other email addresses other             6   A        I -- I have access to it, sure.
     7   than --                                              7   Q        Okay. And the AttainMed.com, do you
     8          I know you have a pharma -- you had a         8   have access to that email?
     9   pharma.com; correct?                                 9   A        Yes.
    10   A        Right. I don't have that.                  10   Q        And what about the Gates Healthcare
    11   Q        Okay. And did that -- did you have         11   email?
    12   that -- did it cease in December of 2012 or did     12   A        I -- I think I still may have access,
    13   you have that for the year after that?              13   but I have not worked for that company for two
    14   A        I think I probably had it for the year     14   years, really.
    15   after. Right.                                       15   Q        Okay. Did you -- when did you first
    16   Q        And for any of the clients that you did    16   see Exhibit 5 in its published form?
    17   consultancy work for, were you ever given           17   A        I think shortly before it was
    18   emails -- email addresses within those companies?   18   published.
    19   A        I'm sure I was, yeah.                      19   Q        Did they send you -- did they send you
    20   Q        Okay. So those -- were you able to         20   the -- the to-be-published article by email?
    21   view, if you were --                                21   A        Yeah. I don't think it was in this
    22          For example, if you had a Southern           22   form, format, but I think they -- I think so.
    23   Anesthesia email account, were you able to see      23   Yeah.
    24   that on your home email, on your home Outlook or    24   Q        Okay. And did -- did they ask for you
    25   whatever?                                           25   to -- did they ask for your comments on the draft

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     1   or comments on your quotes or anything like that?    1   something?
     2   A        Yeah. I gave them. Yeah.                    2   Q        Sure.
     3   Q        And did you give them by email?             3   A        You asked me about pictures --
     4   A        Yes.                                        4   Q        Right.
     5   Q        And did they -- did they change             5   A        -- to the L.A. Times?
     6   anything in the draft that you received shortly      6   Q        Or to the authors of the article.
     7   before publication?                                  7   A        I -- I may have showed them a couple of
     8   A        Excuse me. I didn't mean to make a          8   pictures to give them an idea --
     9   noise.                                               9   Q        Pictures --
    10          I think there was some changes. I            10   A        -- of what clearly a suspect patient
    11   can't remember exactly which ones, you know.        11   might look like. Maybe. I -- I can't really
    12   Q        Did you have any conversations with        12   recall.
    13   anyone at Purdue or anyone who had worked for       13   Q        What's in your -- what's in your head?
    14   Purdue about this article, your interview, or the   14   What kind of a picture was it? What was it a
    15   draft?                                              15   picture of?
    16   A        I --                                       16   A        Young patients walking into a pharmacy
    17          Any contact or communication?                17   and then leaving.
    18   Q        Right.                                     18   Q        And where --
    19          Did you -- did you have any -- did you       19           Did you take those pictures?
    20   tell Purdue that you were speaking to reporters     20   A        Yes. Yeah.
    21   for the L.A. Times or did you have any              21   Q        And had you -- had you -- did you take
    22   conversation with anyone at Purdue?                 22   them as a result of some prior investigation you
    23   A        I did at some point, yeah. I did.          23   were -- you had done?
    24   Q        Prior to the publication?                  24   A        Uh, yeah.
    25   A        Yes.                                       25   Q        I mean, you didn't -- you didn't go out
                                                 Page 207                                                 Page 209
     1   Q        Okay. And what -- did you have any          1   and take --
     2   conversations with Michele Ringler?                  2         Did you go out and take these pictures
     3   A        I did. Well, email. I did not speak         3   with the L.A. Times article --
     4   to her.                                              4   A       No, no.
     5   Q        And when I'm talking about this is this     5   Q       -- in mind, or you had the pictures?
     6   is not with respect to work you were doing --        6   A       I had the pictures.
     7   A        Right.                                      7   Q       And -- and you forwarded them on to the
     8   Q        -- at Purdue. This is about the             8   authors, as best you can recall?
     9   article itself.                                      9   A       I -- I think I may have, yeah.
    10   A        I think I sent her an email                10   Q       And there were certain pharmacies and
    11   and -- short and sweet, I think. I think. Yeah.     11   physicians that were discussed in the article.
    12   Q        Okay. And did you provide any              12   Did you give the authors any pictures of any of
    13   documents to the L.A. Times or to the authors?      13   those pharmacies?
    14   A        No. I don't believe so.                    14   A       With the -- with the three or four
    15   Q        Did you provide any pictures?              15   pictures I gave of the individuals, Lams Pharmacy
    16   A        No.                                        16   may have been one.
    17   Q        Did you provide any substantive            17   Q       Was Purdue at any time from -- in 2014,
    18   information in writing to them?                     18   2015, or 2016 until the article was published,
    19   A        I may have.                                19   were they aware that you were providing
    20   Q        Did you provide to either Mr. Goldman      20   information or pictures to the L.A. Times?
    21   or Purdue's counsel any of your emails to the       21   MR. HOFFMAN:
    22   L.A. Times or from the L.A. Times?                  22         Object to form.
    23   A        No.                                        23   A       I -- I don't know. I mean, I've had
    24   Q        Have you provided --                       24   conversations with people in the general
    25   A        Could -- could -- could I clarify          25   counsel's office, said that I tried to clarify

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     1   many things. So, generally speaking, maybe.         1   A       Robin Abrams.
     2   Right. I don't know about anything specific.        2   Q       Go to page --
     3   MS. CONROY:                                         3          Let me ask you this. Have you ever had
     4   Q       Would these conversations have taken        4   a conversation with Joseph Rannazzisi at any
     5   place before the publication of the article or      5   time? Do you know him?
     6   after?                                              6   A       I know him. I believe he knows me, but
     7   A       Before.                                     7   we're not acquainted to -- to the point where we
     8   Q       So you -- don't tell me what the            8   would have a direct conversation.
     9   conversations were or the substance of them, but    9   Q       Have you ever spoken at a conference
    10   you believe you had conversations with the         10   that he's also spoken at or attended? Do you
    11   general counsel's office at Purdue concerning      11   know?
    12   information you had provided to the authors of     12   A       I've attended a conference where he was
    13   what was going to be an article published in the   13   the speaker. I was one of the people that
    14   L.A. Times?                                        14   invited him. Whether or not he attended anything
    15   A       Yes.                                       15   I spoke at, I can't remember.
    16   Q       Did you have any -- those -- the emails    16   Q       Did you ever -- did you ever have any
    17   that you had with Michele Ringler, were those      17   email -- email communication or any other kind of
    18   in -- were those prior to the publication of the   18   communication with him about his letters?
    19   article? Do you know?                              19   A       Indirectly, no.
    20   A       Yes. Oh, I think -- the one -- the         20   Q       Okay. If you look on the -- if you
    21   only email after I left the company to Michele     21   look on page -- starting at the very bottom of
    22   Ringler may have been at the same time.            22   Exhibit 5, it says, "A former Purdue executive
    23   Q       Okay.                                      23   who monitored pharmacies for criminal activity
    24   A       May have been the day of or the day        24   acknowledged that even when the company had
    25   after. Yeah.                                       25   evidence pharmacies were colluding with drug
                                                Page 211                                                       Page 213
     1   Q        Day of or the day after what?              1   dealers, it did not stop supplying distributors
     2   A        The publication.                           2   selling to those stores."
     3   Q        That the article came out?                 3          Do you see that?
     4   A        Yes.                                       4   A        Yes.
     5   Q        I see. Did you know that Michele           5   Q        Do you know who that executive is?
     6   Ringler was also going to be quoted in the          6   A        I have no idea what they're talking
     7   article?                                            7   about in that paragraph, that -- that sentence.
     8   A        No.                                        8   Q        Okay. As far as you know, they're not
     9   Q        Not until you read the article?            9   talking about you?
    10   A        That's right.                             10   A        Correct.
    11   Q        Okay. Do you know if -- do you know of    11   MR. HOFFMAN:
    12   anyone here that was quoted or infor- --           12          I'm sorry. What page is that on?
    13   information was provided? For example, had you     13   Maybe I missed it.
    14   been given the statement from Purdue from          14   MS. CONROY:
    15   Phil Strassburger? Did you know about that         15          It's the -- the very bottom of the
    16   before the article was published?                  16   first page to the top of the second page.
    17   A        Did not.                                  17   MR. HOFFMAN:
    18   Q        Did you know Phil Strassburger?           18          Okay. Yeah.
    19   A        Yes.                                      19   MS. CONROY:
    20   Q        And was he one of the individuals you     20   Q        Then it goes on and it says, "Purdue
    21   had conversations with before the article was      21   knew about many suspicious doctors and pharmacies
    22   published?                                         22   from prescribing records, pharmacy orders, field
    23   A        No.                                       23   reports from sales representatives and, in some
    24   Q        Who was it that you spoke with in the     24   instances, its own surveillance operations
    25   general counsel's office?                          25   according to court and law enforcement records,

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     1   which include internal Purdue documents, and         1   that's ever happened before?
     2   interviews with current and former employees."       2   MR. HOFFMAN:
     3          Do you see that?                              3          Object to the form.
     4   MR. HOFFMAN:                                         4   A        I'm not the expert, I guess, that could
     5          Object to the form. Hearsay.                  5   answer that question.
     6   A        I see it.                                   6   MS. CONROY:
     7   MS. CONROY:                                          7   Q        Well, I'm -- I'm not asking as an
     8   Q        Do you agree with that sentence?            8   expert.
     9   A        That was part of our job on the OMS         9   A        Right.
    10   committee.                                          10   Q        I'm asking are you familiar with anyone
    11   Q        So you do agree?                           11   who became addicted to a prescription drug and
    12   A        Yes.                                       12   then moved to illegal substances because of that
    13   Q        And if you go to page --                   13   addiction?
    14          Unfortunately, there aren't any pages        14   MR. HOFFMAN:
    15   on this. So let's see. We're -- the very next       15          Object to form.
    16   page where it says "what Purdue knew," do you see   16   A        Thank you for the clarification. Thank
    17   that?                                               17   you.
    18   A        Yes.                                       18          I'm not aware of any.
    19   Q        In the middle of the first paragraph,      19   MS. CONROY:
    20   it says, "The prescription drug epidemic is         20   Q        Okay. And you never heard of anything
    21   fueling a heroin crisis, shattering communities     21   like that during your time at Purdue? You never
    22   and taxing law enforcement officials who say they   22   heard of any -- not an individual, but you never
    23   would benefit from having information such as       23   heard of that happening, that someone could
    24   that collected by Purdue."                          24   become addicted to a prescription drug and then
    25          Do you see that?                             25   move to illegal drugs?
                                                 Page 215                                                Page 217
     1   A       Yes.                                         1   MR. HOFFMAN:
     2   Q       Do you believe that the prescription         2          Object to the form. Asked and
     3   drug epidemic is fueling a heroin crisis?            3   answered.
     4   MR. HOFFMAN:                                         4   A       Not that I can recall.
     5         Object to form.                                5   MS. CONROY:
     6   A       I don't know.                                6   Q       Do you -- is it your understanding that
     7   MS. CONROY:                                          7   there -- that an individual can become addicted
     8   Q       Have you ever heard that before?             8   to prescription opioids --
     9   A       Yes.                                         9   MR. HOFFMAN:
    10   Q       You have no opinion on it?                  10          Object to form.
    11   MR. HOFFMAN:                                        11   MS. CONROY:
    12         Object to form.                               12   Q       -- when -- when taken under a doctor's
    13   A       I have an opinion. I mean, many times       13   care and as prescribed?
    14   those who abuse prescription drugs also abuse       14   MR. HOFFMAN:
    15   heroin.                                             15          Object to form.
    16   MS. CONROY:                                         16   A       Terminology, I've never been really
    17   Q       Have you ever heard that individuals        17   good personally at terminology. But a patient
    18   who become addicted to prescription drugs can       18   could become medically dependent upon opioid
    19   then move to heroin or other drugs?                 19   medication or other types of substances, yes.
    20   MR. HOFFMAN:                                        20   Addicted is a -- I'm not qualified to use that
    21         Object to the form.                           21   term, I don't think.
    22   A       The question is "Have I heard it?" I        22   MS. CONROY:
    23   have heard it.                                      23   Q       You -- you told me earlier that you
    24   MS. CONROY:                                         24   were a consultant with respect to an addiction
    25   Q       Do you have any -- do you know whether      25   therapy --

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     1   A         Right.                                     1   A        Trained or informed, I'd say yes.
     2   Q         -- clinic. Did that -- do you make a       2   Q        And were you trained or informed while
     3   separation between addiction and dependency when     3   at the DEA?
     4   you are evaluating an addiction -- an addiction      4   MR. GOLDMAN:
     5   therapy clinic or addiction treatment clinic?        5          Why don't we -- I -- I would -- I
     6   MR. HOFFMAN:                                         6   would -- I'd think that -- I want to be mindful
     7           Object to form.                              7   of Mr. Crowley's Touhy obligations. I think
     8   A         I would --                                 8   that's a very specific question about training
     9           Let me think here for a second.              9   that I would prefer him not answer unless
    10           I would be evaluating --                    10   specifically instructed by the DEA.
    11           No, that doesn't even play into it,         11   MS. CONROY:
    12   really. There's -- there's no distinction.          12   Q        Okay. After -- after 2004, did you
    13   MS. CONROY:                                         13   ever receive --
    14   Q         Tell me what you mean by dependent. Or    14          Had you left the DEA by 2004?
    15   did you say medically dependent? You did.           15   A        Yes.
    16   Medically dependent.                                16   Q        After 2004, did you ever receive any
    17   A         You know, some of that may be older       17   training of any type with respect to addiction,
    18   terminology. But addicted, to me, almost -- I --    18   withdrawal, tolerance, dependence, medical
    19   I -- I shy away from that because it could denote   19   dependence, anything?
    20   abuse. Medically dependent, in my mind, does not    20   A        Did not.
    21   denote abuse, if I could say it that way.           21   Q        Did you ever see a package insert for
    22   Q         Okay. If someone is medically             22   OxyContin? Ever read one?
    23   dependent on an opioid medication, can they be      23   A        I've perused one, I'm sure, yep.
    24   psychologically dependent as well?                  24   Q        After 2004?
    25   MR. HOFFMAN:                                        25   A        Yes.
                                                 Page 219                                                 Page 221
     1         Object to form. Still calling for a            1   Q       Did you ever yourself provide any
     2   medical opinion.                                     2   training to sales reps or other individuals
     3   A       I -- I really don't know. I don't            3   employed by Purdue?
     4   know.                                                4   A       I never was involved in any training
     5   MS. CONROY:                                          5   with sales reps. Some training probably with
     6   Q       Do you know if someone who's medically       6   other employees of Purdue but not in what you're
     7   dependent on an opioid medication can crave that     7   asking me about.
     8   medication?                                          8   Q       Did you ever have any conversations at
     9   MR. HOFFMAN:                                         9   the order monitoring committee about addiction,
    10         Same objection.                               10   abuse, tolerance, withdrawal, any -- any of those
    11   A       I would assume that would be part of        11   types of issues with respect to controlled
    12   it.                                                 12   substances?
    13   MS. CONROY:                                         13   A       Did not. None that I can recall.
    14   Q       And do you know if someone is medically     14   Q       What was the -- what was the point of
    15   dependent on an opioid medication, can they         15   the picture of the young patient walking in and
    16   experience withdrawal if they stop taking the       16   out of the pharmacy? What were you attempting to
    17   medication?                                         17   show the authors of the LA Times article?
    18   MR. HOFFMAN:                                        18   MR. GOLDMAN:
    19         Objection. Same objection.                    19          Objection.
    20   A       They could, in my opinion.                  20          Go ahead.
    21   MS. CONROY:                                         21   A       Probably the type of patient that would
    22   Q       Have you ever -- have you ever been         22   trigger a -- a suspicion on the part of a
    23   trained with respect to the terms "medically        23   reasonably -- reasonable person conducting any
    24   dependent," "addicted," "tolerance,"                24   kind of a -- an inspection outside of the
    25   "withdrawal"? Just asking "yes" or "no."            25   pharmacy, that perhaps they may be entering for

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     1   some reason other than a legitimate medical               1   controls against the diversion of drugs from
     2   purpose. However, it's not that easy, so I...             2   legitimate medical purposes."
     3   MS. CONROY:                                               3          Do you see that?
     4   Q       What would it be about -- what would it           4   A       I'm sorry. I may have the wrong page.
     5   be about the patient walking in? What                     5   Q       Oh, I'm sorry.
     6   would -- what would cause you to use that picture         6          Go to the -- we -- we were on the page
     7   to describe someone who was potentially seeking a         7   that talked about what Purdue knew.
     8   prescription for a nonlegitimate medical purpose?         8   A       Yes.
     9   A       The way they carried themselves, the              9   Q       Now turn the page.
    10   way they were dressed.                                   10   A       Okay.
    11   Q       And how would they be dressed?                   11   Q       And, at the very top, it says "After
    12   A       Shorts that come down halfway, if                12   the settlement."
    13   you know what I mean, hat on backwards, holding a        13          Do you see that?
    14   cell phone a funny way.                                  14   A       I see that, yeah.
    15   Q       And would you --                                 15   Q       And then it says, "Drugmakers like
    16   A       I didn't quite finish. I'm sorry.                16   Purdue are required by law to establish and
    17   Q       Oh, I'm sorry.                                   17   maintain," quote, "effective controls against the
    18   A       Well, age, physical condition, that              18   diversion of drugs from legitimate medical
    19   sort of thing.                                           19   purposes."
    20   Q       And would you be identifying that                20          Do you see that?
    21   individual as someone who is either medically            21   A       I do.
    22   dependent or addicted to a controlled substance          22   Q       And do you agree with that?
    23   or someone who would be dealing or -- or                 23   A       No. Not -- not the exact terminology.
    24   diverting a controlled substance?                        24   Q       Okay. How would -- tell me what's
    25   MR. HOFFMAN:                                             25   wrong with it or the way that you would phrase
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     1           Object to form.                                   1   it.
     2   A        I would say the former, because the              2   A       Establish and maintain effective
     3   latter is a very difficult concept, diversion.            3   controls against the diversion of drugs from
     4   So...                                                     4   legitimate medical channels, scientific channels.
     5   MS. CONROY:                                               5   Q       Instead of purposes, channels or
     6   Q        So you're describing someone who, at             6   scientific channels?
     7   least visually, to you, is -- and I'll use your           7   A       That's correct.
     8   word -- medically dependent on a controlled               8   Q       And did you make that suggestion to the
     9   substance?                                                9   authors?
    10   MR. HOFFMAN:                                             10   MR. HOFFMAN:
    11           Object to form.                                  11          Object to form.
    12   A        I think I may have used that term in a          12   MS. CONROY:
    13   different context. They may have been                    13   Q       If you recall.
    14   drug-seeking individuals who were addicted.              14   A       I don't recall that in particular, no.
    15   MS. CONROY:                                              15   Q       Okay. And the next paragraph says,
    16   Q        And you're making a distinction between         16   "That anti-diversion effort at Purdue was run by
    17   that individual that would be addicted and               17   Associate General Counsel Robin Abrams, former
    18   someone else who might be medically dependent?           18   Assistant U.S. Attorney in New York, who had
    19   MR. HOFFMAN:                                             19   prosecuted healthcare fraud in prescription drug
    20           Object to form.                                  20   cases. Jack Crowley, who held the title of
    21   A        I am, yes.                                      21   Executive Director of Controlled Substances Act
    22   MS. CONROY:                                              22   Compliance and had spent decades at the DEA, was
    23   Q        If we turn the page, it says,                   23   also on the team."
    24   "Drugmakers like Purdue are required by law to           24          Do you see that?
    25   establish and maintain," quote, "effective               25   A       I -- I do.

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     1   Q       And is this, "the anti-diversion             1          So I -- I can agree with it generally,
     2   effort" and "the team," is that referring to the     2   but not necessarily every word.
     3   order monitoring committee?                          3   MS. CONROY:
     4   A       I believe so.                                4   Q       Okay. Then you're quoted, "'I could
     5   Q       It says, the next line, "Purdue had          5   punch it in at any time...Bang,' Crowley told the
     6   access to a stream of data showing how individual    6   Times. 'I was sitting on a gold mine.'"
     7   doctors across the nation were prescribing           7          Did you say that?
     8   OxyContin. The information came from IMS, a          8   A       I probably did. I -- I don't remember
     9   company that buys prescription data from             9   exactly saying it that way. But, again, that
    10   pharmacies and resells it to drugmakers for         10   would have been part of a broader idea that I was
    11   marketing purposes."                                11   trying to express.
    12          Do you see that?                             12   Q       Okay. Do you believe that you were
    13   A       I do.                                       13   sitting on a gold mine?
    14   Q       Do you agree with that paragraph?           14   MR. HOFFMAN:
    15   MR. HOFFMAN:                                        15          Object to form.
    16          Object to form. Foundation.                  16   A       Probably would have used different
    17   A       I agree that Purdue had a -- access to      17   terminology. I was sitting on valuable data.
    18   data showing prescribing practices. I -- IMS, I     18   MS. CONROY:
    19   really don't know that much about their manner of   19   Q       Okay. And why was it valuable to you?
    20   providing that information.                         20   A       Well, I -- I had kind of a unique view
    21   MS. CONROY:                                         21   of things, having worked in this arena for DEA
    22   Q       That's -- that's not a database that --     22   for 28 and a half years and now in industry. I
    23   that you would go into at Purdue. You would just    23   had a pretty good idea of what might be
    24   sometimes ask for information from that database;   24   noteworthy on its face, and it would give me then
    25   correct?                                            25   the -- you know, would send me to the idea that I
                                                 Page 227                                                 Page 229
     1   A       That's correct.                              1   should look into this further.
     2   Q       Now I would like you to go to the page       2   Q       If you look, it says, a little further
     3   at the top -- it's several in -- that says "I was    3   down on that page, "In 2007 DEA pressured drug
     4   sitting on a gold mine." It's at the very top of     4   manufacturers to do more to stem the prescription
     5   the page.                                            5   drug crisis and warned that it would be looking
     6          It says here, "With a" --                     6   at every step in the supply chain."
     7          Did you find it?                              7          Do you see that?
     8   A       Yes.                                         8   A       Yes.
     9   Q       "With a few keystrokes on his computer       9   Q       Is that a reference to one or both of
    10   at Purdue, Jack Crowley could identify pharmacies   10   the Rannazzisi letters?
    11   around the country that were moving a staggering    11   A       I assume it is. Yeah.
    12   volume of 80s and almost nothing else."             12   Q       "'In response, Purdue decided to gather
    13          Eighties is 80 milligram OxyContin?          13   detailed information about pharmacies,' Crowley
    14   A       That's correct.                             14   said."
    15   Q       Do you have -- do you have issue with       15          Do you see that?
    16   anything in that sentence?                          16   A       I do.
    17   MR. GOLDMAN:                                        17   Q       And that's what you were talking about
    18          Object.                                      18   with me this morning, that around that time
    19   A       I'm -- I'm sure it was taken out of         19   period after the two Rannazzisi letters, you were
    20   context. The word "staggering" would be             20   beginning to form this order monitoring committee
    21   something that I would object to. I was trying      21   and starting to look at data, with others, to try
    22   to be 100 percent truthful with them on the fact    22   to identify suspicious orders.
    23   that we had certain abilities that, if we applied   23   A       That's correct.
    24   the data correctly, would -- we'd see certain       24   Q       And it says next, "The company
    25   things.                                             25   approached wholesalers and struck agreements."

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     1          That's the fee for service agreements;        1   Q       -- you could just get the agreement
     2   correct?                                             2   signed and you'd know everything.
     3   A        May I read the entire sentence?             3   A       Right.
     4   Q        Absolutely.                                 4   Q       But that was -- you needed the fee for
     5   A        Yes, I agree.                               5   service agreement in order to get the data. Is
     6   Q        Did you have anything to do with the        6   that correct? Or did you --
     7   fee for service agreements or what types of data     7   A       That's true.
     8   you would be interested in that whoever was          8   Q       -- already have the data?
     9   negotiating the fee for service agreements should    9   A       Well, he may have had some of it in his
    10   try and secure from the authorized distributors?    10   role in national accounts. He had to evaluate
    11   A        No. That was national accounts. But        11   orders every day. So that's something, at that
    12   it's generally the -- what they call 867 data,      12   time, I didn't pay attention to. Only as we
    13   their sales to the retail outlets. That's what      13   began to form this committee.
    14   it is.                                              14          But in terms of the wholesalers making
    15   Q        So you knew, as long as you said, "We      15   orders to Purdue, he's involved in, I assume,
    16   should be getting the 867 data from our             16   that kind of data readily for -- for a while,
    17   authorized distributors," that's --                 17   yes.
    18   A        Right.                                     18          Wait a minute. Wait a minute. Let me
    19   Q        -- that's, to you, the data that you       19   back -- I might be getting...
    20   would need?                                         20   MR. GOLDMAN:
    21   A        Whether I said it first or Steve Seid      21          You want the question repeated?
    22   said it, yes.                                       22   THE WITNESS:
    23   Q        You both recognized that was where you     23          Yeah. I think -- I'll repeat it
    24   would be able to recognize suspicious orders.       24   myself.
    25   A        Yes.                                       25   MS. CONROY:
                                                 Page 231                                                 Page 233
     1   MR. HOFFMAN:                                         1   Q        Okay.
     2          Object to form.                               2   A        My understanding of the question was
     3   THE WITNESS:                                         3   did -- did he have access to that data before.
     4          Sorry.                                        4   MS. CONROY:
     5   A       Could you -- could I back up on that a       5   Q        Correct.
     6   second? I'm sorry.                                   6   A        And, so, I'm -- I -- I was getting a
     7          We both recognized it would be valuable       7   little mixed up that he was the main driver of
     8   data stream.                                         8   the Purdue order monitoring system, so he made
     9   MS. CONROY:                                          9   decisions hourly, daily, weekly in this regard.
    10   Q       Okay.                                       10           Whether or not he had data that looked
    11   A       And I think you said "for suspicious        11   down all the way to the retail pharmacy, I'm not
    12   orders"?                                            12   really sure, until we began looking into this.
    13   Q       Correct.                                    13   Q        What you do know is that Mr. Seid, when
    14   A       I mean, there'd have to be other steps      14   he received an order from Cardinal or McKesson or
    15   taken, I mean, you know, with that data.            15   AmerisourceBergen, he could determine whether
    16   Q       Sure.                                       16   that order was of unusual size or it was some
    17   A       Yeah.                                       17   suspicion about that; correct? Before the fee
    18   Q       You needed -- you needed to create a        18   for service agreements.
    19   database; correct?                                  19   A        Yeah, the -- the --
    20   A       Yeah.                                       20   MS. SIDARTH:
    21   Q       So that you could collect that data and     21           Object to form.
    22   then run an algorithm off of it.                    22   MR. HOFFMAN:
    23   A       Right.                                      23           Object to form.
    24   Q       I'm not suggesting --                       24   A        There may have been something
    25   A       Right.                                      25   noteworthy about it. I'd use that word rather

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     1   than "suspicious."                                        1           Actually, is this a reference to your
     2          But he would certainly make phone                  2   activities and maybe others at Purdue contacting
     3   calls, do it, whatever due diligence he had, to           3   Purdue's authorized distributors in that exchange
     4   assure himself that that order was fine.                  4   of information we talked about concerning hot
     5   MS. CONROY:                                               5   spots or high-volume pharmacies?
     6   Q       And he would also be looking at credit            6   A        I -- I believe it is.
     7   issues, whether whoever was ordering the product          7   Q        So that's when you -- we -- we saw a
     8   could pay for it?                                         8   couple of examples. You might call George Euson
     9   A       Could be part of it, yes.                         9   at H.D. Smith or, I mean, or he might call you,
    10   Q       And are you familiar at all with the             10   but there would be an exchange of information
    11   score cards? Is that term familiar to you, score         11   with Purdue's wholesalers.
    12   cards that Mr. Seid would use to look and                12   A        Yeah.
    13   determine whether, for example, whether McKesson         13   Q        It then says, "In the case of Lake
    14   had provided the data during a particular period         14   Medical, Purdue didn't notify some distributors
    15   of time and how much they purchased and how much         15   that it suspected St. Paul's was part of a drug
    16   of a rebate or a chargeback they may get? Did            16   ring."
    17   you have anything to do with that?                       17           Do you see that?
    18   A       No.                                              18   MR. HOFFMAN:
    19   Q       And then if you go a few pages in, past          19           Object to form and beyond the scope of
    20   the picture of the pharmacy and then at the top          20   the track 1 cases.
    21   of the page, it says, "Once Purdue identifies."          21   A        I see it.
    22          Do you see that?                                  22   MS. CONROY:
    23   MR. GOLDMAN:                                             23   Q        Do you know whether some distributors
    24          Next page, I think.                               24   were not notified who were supplying -- who were
    25   A       Next page?                                       25   authorized distributors supplying to Lake
                                                     Page 235                                                        Page 237
     1          Yes.                                               1   Medical?
     2   MS. CONROY:                                               2   MR. HOFFMAN:
     3   Q        It says, "'Once Purdue identifies the            3          Same objections.
     4   potential suspicious activity of a wholesaler's           4   A       I do not.
     5   customer, Purdue informs the wholesaler so they           5   MS. CONROY:
     6   can perform their due diligence,' Strassburger            6   Q       Did you take issue with this sentence
     7   said."                                                    7   with the authors?
     8          Is this a reference to your activities             8   A       If I didn't, I should have.
     9   and maybe others at Purdue contacting Purdue's            9   Q       Okay. And -- and why is that?
    10   authorized distributors and that exchange of             10   A       Well, the terms "drug ring," number
    11   information we talked about about hot spots or           11   one.
    12   high-volume pharmacies?                                  12   Q       How could we tell today whether or not
    13   MR. HOFFMAN:                                             13   Purdue notified any of its authorized
    14          Object to the form.                               14   distributors who supplied Lake Medical?
    15   A        I -- I have to apologize, because I             15   MR. HOFFMAN:
    16   kind of zoned out --                                     16          Object to the form. Beyond the scope
    17   MS. CONROY:                                              17   of the track 1 cases.
    18   Q        Okay.                                           18   A       Notifying them of what? That
    19   A        -- on your question while I was reading         19   St. Paul's was ordering suspicious amounts of
    20   this. I think I know what it is, but I --                20   OxyContin?
    21   Q        Sure. Let me repeat it.                         21   MS. CONROY:
    22          What's meant here is that once Purdue             22   Q       Correct. This is the same type of
    23   identifies the potential suspicious activity of a        23   information you were communicating to H.D. Smith.
    24   wholesaler's customer, Purdue would --                   24   A       I don't know, but -- if there are any
    25          Oh, no. I'm sorry.                                25   notes in the OMS system, but that would be one

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     1   way.                                                 1   word -- catching up with a St. Paul's or some
     2   Q        Because this might not be correct. You      2   other pharmacy to actually report them to the
     3   may in fact have had conversations with other        3   DEA?
     4   distributors who were supplying to Lake Medical;     4   A       Correct.
     5   correct?                                             5   MR. HOFFMAN:
     6   MR. HOFFMAN:                                         6          Object to the form.
     7          Same objection.                               7   MS. CONROY:
     8   A        I'm getting mixed up. The sales would       8   Q       That's -- that's a different timing;
     9   have gone to St. Paul's.                             9   correct?
    10   MS. CONROY:                                         10   MR. HOFFMAN:
    11   Q        Correct. And, so, there was H.D. Smith     11          Object to form.
    12   was -- was one of the distributors to St. Paul's;   12   MS. CONROY:
    13   correct?                                            13   Q       That's a different timing; correct?
    14   A        That's right.                              14   A       I -- I was specifically talking about
    15   Q        And -- and it looks, according to this     15   my understanding of law enforcement
    16   sentence, that there were other distributors        16   investigation. So it's different in that regard,
    17   distributing Purdue products to St. Paul's.         17   sure.
    18   Correct?                                            18   Q       Because under your -- under the system
    19   MR. HOFFMAN:                                        19   that you helped to create at Purdue, you created
    20          Same objection -- same objections.           20   a system with others that could be used to stop
    21   A        That helps me to understand.               21   the distribution of controlled substances to
    22          I believe I -- I did have conversation       22   specific pharmacies as long as you had
    23   with other wholesalers.                             23   cooperation from an authorized distributor.
    24   MS. CONROY:                                         24   Correct?
    25   Q        Okay. And those conversations may, in      25   MR. GOLDMAN:
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     1   fact, be referenced in the notes of the OMS          1           Objection.
     2   database?                                            2   A         That'd be -- be a big part of it. But
     3   A       May be, yeah.                                3   it's very, very difficult for industry,
     4   Q       Or in your emails.                           4   manufacturers and wholesalers, to stop shipping
     5   A       Yes.                                         5   with the risk of -- of depriving legitimate
     6   Q       Then, a little bit further down on that      6   patients of their medicine. So there's --
     7   page, it says, "It really takes G a long time to     7   there's more steps involved in that, except for
     8   catch up with these jokers."                         8   the cases that are unbelievably egregious, I
     9          Do you see that?                              9   would imagine.
    10   A       Yes.                                        10           But, for instance --
    11   Q       What did you mean by that?                  11           Well, you know, there's more to it.
    12   MR. HOFFMAN:                                        12   But the idea was as we made the system better,
    13          Object to form.                              13   we'd get a different, perhaps, reaction from the
    14   A       Poor choice of terminology, but really      14   DEA and the collaborative effort to make the
    15   takes the government, meaning DEA or any            15   right kind of decisions so that legitimate
    16   investigative agency, a long time to conduct and    16   patients did not get harmed. And, in my view,
    17   complete an investigation which would lead to       17   shall I say, my idea would be that that -- that's
    18   indictments and arrests.                            18   what would have taken place. And you bring in
    19          The word "jokers," I don't know. Maybe       19   the state disciplinary boards and all that,
    20   I was having a bad day.                             20   together with administrative action, which could
    21   Q       And by "catch up" there, you mean           21   happen a lot faster than criminal investigations.
    22   indictment or arrest?                               22           I'm sorry to, you know...
    23   A       Yes.                                        23   MS. CONROY:
    24   Q       That's different from one of Purdue's       24   Q         I understand that your concern -- your
    25   authorized distributors -- and I'll use the         25   concerns, at least with respect to the industry

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     1   side, not the government side, your concern was      1   to the DEA? Do you know if legitimate patients
     2   that if you stopped shipping to a particular         2   were deprived their controlled substances when
     3   suspicious pharmacy or if you persuaded an           3   that happened?
     4   authorized distributor to stop supplying to a        4   A        I -- I don't, no. But I -- I don't.
     5   suspicious pharmacy, you would impact legitimate     5   Q        Did you supply any pictures that
     6   patients?                                            6   ultimately ended up in the article?
     7   MR. GOLDMAN:                                         7   A        I don't think so.
     8           Objection.                                   8   Q        And did you ever go on to --
     9           Go ahead.                                    9          It looked like there was an ability to
    10   A        Potentially, yes.                          10   go on the L.A. Times website and see a little bit
    11   MS. CONROY:                                         11   more information or look at the full documents.
    12   Q        Do you know if that ever happened?         12   Did you ever go on the website and look at the --
    13   MR. HOFFMAN:                                        13   A        No.
    14           Object to form.                             14   Q        -- at what they had?
    15   A        I don't know directly.                     15   A        I never did, no.
    16   MS. CONROY:                                         16   Q        There was a -- at least maybe some
    17   Q        Did you ever hear indirectly of any        17   other articles, but I see a second article that
    18   particular instance where legitimate patients       18   I've marked as Exhibit 6. And your copy is the
    19   were impacted by the shutting -- by the reporting   19   top one.
    20   to the DEA of a particular pharmacy by an           20         (CROWLEY EXHIBIT NUMBER 6
    21   authorized distributor?                             21          WAS MARKED FOR IDENTIFICATION.)
    22   MR. HOFFMAN:                                        22   MS. CONROY:
    23           Object to the form.                         23   Q        Exhibit 6 is an article from
    24   A        I'm sure there were reports from news      24   www.thefix.com on July 11th of 2016 by Paul
    25   organizations, other types of agencies. But         25   Gaita, G-A-I-T-A. Have you ever read -- does
                                                 Page 243                                                 Page 245
     1   certainly our own observations would be that         1   this article look familiar to you?
     2   perhaps a certain amount of patients that are        2   A        I don't think it looks familiar to me
     3   entering this pharmacy are, quote, drug-seeking      3   at all. I don't recognize this.
     4   individuals who are -- whose intent is to abuse      4   Q        Okay. If you'd turn the page, it's
     5   the substance, and another percentage might be --    5   double-sided, so go to not the back side but the
     6   would be, therefore, legitimate patients. How do     6   next page. At the very top, it says "more than
     7   you -- how do you stop shipping completely           7   1800."
     8   without -- without harming 50 percent or whatever    8           Do you see that? Not that page. Go to
     9   the percentage might be who are legitimate?          9   the next one.
    10          So that was always something that we         10   A        Yes.
    11   struggled with on a daily basis, and how are we     11   Q        Okay. In the second paragraph, it
    12   gonna do the right thing? So...                     12   says, "But as he," talking about you --
    13   MS. CONROY:                                         13           You can take a look -- take your time
    14   Q       I understand you struggled with the         14   to look at this paragraph.
    15   concept.                                            15           "But as he and others noted, company
    16   A       Right.                                      16   policy prohibited employees from taking such
    17   Q       What I'm asking is did you ever do it       17   actions without first consulting distributors,
    18   and see what the consequences were?                 18   and Purdue continued to fulfill orders to stores,
    19   MR. HOFFMAN:                                        19   even in cases where company employees personally
    20          Object to the form.                          20   witnessed suspicious behavior at these
    21   A       I never saw the consequences in my time     21   locations."
    22   at Purdue.                                          22           Do you see that?
    23   MS. CONROY:                                         23   MR. HOFFMAN:
    24   Q       And were the consequences weighed when      24           Object to form.
    25   Robin Abrams reported those 150 or so pharmacies    25   A        I'd like to read it again, if -- if

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                                                 Page 246                                                       Page 248
     1   that's okay.                                         1   Q        And then you have a series of emails.
     2   MS. CONROY:                                          2   But the one I want to ask you about is the one
     3   Q         Feel free to -- to read it. And I'll       3   that's on page 951, if you look at the stamped
     4   tell you in advance of you reading it, what I'm      4   numbers down at the bottom right-hand corner.
     5   going to ask you about, is this the policy we        5   A        Yes.
     6   were discussing about Purdue telling authorized      6   Q        And it's from you, Tuesday,
     7   distributors if it was gonna report suspicious       7   September 25th, to Stephen Seid, Laura Watson.
     8   activity to the DEA?                                 8   We know who they are. Dan Colucci, we know who
     9   A         We were talking about it. I don't know     9   he is. Who's Pat McGrath?
    10   if it's captured accurately here. I never spoke     10   A        She worked in the finance organization.
    11   to this man. I don't know who he is.                11   Q        Who's Kris Christensen?
    12   Q         Okay.                                     12   A        He -- he was another colleague in -- in
    13   A         I think that's the policy we were         13   finance.
    14   talking about.                                      14   Q        And John Lowne?
    15   Q         Okay. You can put that away.              15   A        Lowne. He was a --
    16   A         Okay. I -- I don't like the word          16   Q        Lowne?
    17   "prohibited."                                       17   A        Yeah.
    18   Q         Okay. You can keep that --                18          I can't remember the exact titles, but
    19   A         Oh, okay.                                 19   John Lowne may have been director of budget --
    20   Q         -- in that stack.                         20          No, I don't think that was it, but
    21   MR. HOFFMAN:                                        21   more -- controller or something like that, yeah.
    22            Jayne, would it be good time for a         22   Q        And what was the executive audit
    23   break?                                              23   committee? That's on the "RE" line. It says,
    24   MS. CONROY:                                         24   "Executive Audit Committee Follow-Up."
    25            Yeah, that's fine.                         25   A        That's something that the Chief
                                                 Page 247                                                     Page 249
     1   VIDEOGRAPHER:                                        1   Financial Officer had set up.
     2          We are now going off the video record.        2   Q        And there was no order monitoring
     3   The time is currently 3:54 p.m. This is the end      3   committee at this time; correct?
     4   of media number 4.                                   4   A        September 25th, 2007. That's correct.
     5              (OFF THE RECORD.)                         5   Q        And on that page 951, you pose a
     6   VIDEOGRAPHER:                                        6   hypothetical question. Do you see that?
     7          We are now back on the video record.          7   A        Yes.
     8   The time is currently 4:11 p.m. This is the          8   Q        It says -- it's right in the middle of
     9   beginning of media number 5.                         9   the page.
    10         (CROWLEY EXHIBIT NUMBER 10                    10   A        Yeah.
    11          WAS MARKED FOR IDENTIFICATION.)              11   Q        "Number 1, was their order suspicious?"
    12   MS. CONROY:                                         12           And you're talking about a hypothetical
    13   Q       Mr. Crowley, let me pass you Exhibit        13   wholesaler. Correct?
    14   10. Your copy is on the top. The rest are the       14   A        I don't know. Could I --
    15   copies for everyone else.                           15   Q        I'm only going by it says "Louisiana
    16          Exhibit 10 is an email from Mr. Crowley      16   Wholesale," so --
    17   dated October 3rd, 2007, to a number of people at   17   A        Oh. Oh. I didn't see that part. I
    18   Purdue, PPLPC004000132946 through 954.              18   didn't -- that's why I said.
    19          If you take a look at this, if you go        19   Q        Right. Just to --
    20   to the last page, you see the first email is from   20   A        "Our hypothetical question was not
    21   you, on September 24th, to a John Lowne.            21   really answered, but let's take the situation
    22          Do you see that?                             22   with Louisiana..."
    23   A       Yes. Lowne.                                 23           Okay.
    24   Q       Lowne?                                      24   Q        It says, "It was at least questionable
    25   A       Yeah.                                       25   initially, based on our criteria."

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     1          And then number 2, "What responsibility       1   one page earlier, 950, there's an email from
     2   do we, as the manufacturer, have, if any, to         2   Stephen Seid, hour and a half later or so, and he
     3   evaluate the wholesaler's customers; in essence,     3   says, "Let's make sure we take a step back and
     4   the customers of our customer, Louisiana             4   look at the entire picture. Our goal is to
     5   Wholesale?"                                          5   assure availability to appropriate patients while
     6   A        Right.                                      6   we do our best due diligence to assure
     7   Q        Do you see that?                            7   appropriate channels of distribution."
     8   A        Yeah.                                       8          Do you see that?
     9   Q        And that's what we were talking about       9   A        I do.
    10   earlier, whether Purdue had a responsibility with   10   Q        And that's -- that's what we were
    11   respect to its customers, its authorized            11   talking about just before the break; right?
    12   distributors, and what responsibility Purdue's      12   Appropriate patients or patients with legitimate
    13   authorized distributors had to their customers.     13   prescriptions?
    14   Correct?                                            14   MR. GOLDMAN:
    15   A        Yes.                                       15          Objection.
    16   Q        And their -- and their customers was       16   A        Yeah.
    17   that list we saw, pharmacies, hospitals,            17   MR. GOLDMAN:
    18   dispensing physicians?                              18          Go ahead.
    19   A        That's correct.                            19   A        Yes. My recollection, yes.
    20   Q        And -- and you say, "I think that the      20   MS. CONROY:
    21   emerging standard is that we have to take all       21   Q        And Mr. Seid goes on to say, "First, we
    22   information available in totality and make a wise   22   have already taken action that I initiated to
    23   and defendable business decision on whether or      23   utilize available FFS" -- fee for
    24   not to fill the order. This would include           24   service -- "data to help what might be suspect
    25   maintaining a record of our discussion and what     25   channels of sale."
                                                 Page 251                                                 Page 253
     1   was considered before rendering our," quote,         1          And then he goes on to talk about, "Ten
     2   "'business decision' to fill the order and not       2   regionals are under contract."
     3   report it as suspicious."                            3          Does that mean ten regionals at this
     4          Do you see that?                              4   time were under fee for service contract? Do
     5   A       Yes.                                         5   you know?
     6   Q       And this was what you were discussing        6   A        I don't know. I -- I don't.
     7   prior to having any sort of an order monitoring      7   Q        Okay. Then it says, "The system sends
     8   database. Correct?                                   8   alerts if their business is out of line."
     9   MR. HOFFMAN:                                         9          Do you see that?
    10          Object to form.                              10   A        Yes.
    11   A       It appears so, yes.                         11   Q        Do you know if what Mr. Seid is talking
    12   MS. CONROY:                                         12   about is whether or not the authorized
    13   Q       And would it be fair to say that you        13   distributor's business is out of line?
    14   were in the -- in the beginnings at Purdue of       14   A        I believe that's what it is, yes.
    15   determining what you would need in an order         15   MR. HOFFMAN:
    16   monitoring database to begin to render a business   16          Object to form.
    17   decision about whether or not to fill an order      17   MS. CONROY:
    18   and whether or not to report it as suspicious?      18   Q        Then if you go to the very first page,
    19   MR. HOFFMAN:                                        19   which is your very long response, in the "RE"
    20          Object to form.                              20   line, "Changes to follow-up on suspicious order
    21   A       Yeah. This was the beginning of our         21   reporting."
    22   discussions on what would help us to make the       22          Do you see that?
    23   right decisions. Right.                             23   A        I do.
    24   MS. CONROY:                                         24   Q        Have you seen this email recently?
    25   Q       Then if you look to the next email on       25   A        No. I don't think so.

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     1   Q         Okay. You -- you say, "As a follow-up      1   system. Others in the finance organization are
     2   to our email and telephone conversations             2   involved as well."
     3   regarding the latest DEA thinking" -- and you put    3          Do you see that?
     4   in parentheses, "The 13th DEA Pharmaceutical         4   A        I do.
     5   Industry Conference in Houston."                     5   Q        So is it -- is it fair that this
     6            Do you see that?                            6   is -- you are beginning to discuss with others at
     7   A         I do.                                      7   Purdue how you're going to create an SOP that is
     8   Q         Did you attend that conference?            8   going to identify suspicious orders outside
     9   A         I did.                                     9   of -- or in a different way than the 7.7 SOP?
    10   Q         Okay. And if you look down, you -- it     10   A        To involve other areas of the company
    11   says, "Recap: DEA requires the registrant to,       11   and to broaden the concepts in that SOP, yes.
    12   number 1, design a system to disclose; 2, report    12   Q        And you go on and you say, "The
    13   to DEA; and, 3, prevent diversion."                 13   requirement is to report suspicious orders, not
    14            Do you see that?                           14   suspicious sales after the fact."
    15   A         I do.                                     15          Do you see that?
    16   Q         And is that a recap of what you heard     16   A        I do.
    17   at the industry conference in Houston?              17   Q        And do you -- do you still agree with
    18   A         That would have been a recap of my        18   that?
    19   knowledge and experience. Whether or not I heard    19   A        Yeah. Yes, I agree with that.
    20   that at the conference, I'm not sure.               20   Q        And, in the middle, you say -- middle
    21   Q         Okay. And, in the next paragraph,         21   of the paragraph, "The registrant" --
    22   it -- it looks like you were aware of SOP --        22          And that means the DEA registrant,
    23   standard operating procedure -- 7.7, which was      23   which would be Purdue or anyone else who has a
    24   one from finance and accounting, but you -- you     24   DEA controlled substances registration number;
    25   felt that it should be a broader SOP. Correct?      25   correct?
                                                 Page 255                                                 Page 257
     1   In -- where you say it should be cross-functional    1   A       Yes. In this case, the registrant
     2   responsibility.                                      2   would be either the manufacturer or the
     3   MR. HOFFMAN:                                         3   wholesaler. Yep.
     4          Objection.                                    4   Q       And you're saying that "The registrant
     5   A       Yeah. I see it.                              5   must make the business decision whether or not to
     6          Please allow me to read that a little         6   ship the order. The responsibility for making
     7   bit closer.                                          7   the decision to ship rests with the supplier."
     8   MS. CONROY:                                          8          You're talking about the authorized
     9   Q       Yep.                                         9   distributor; correct? Or are you talking about
    10   A       Yeah. I -- I read that, and I               10   Purdue? Who's the supplier?
    11   understand what my meaning is. That was your        11   A       The supplier in this instant would be
    12   question?                                           12   the authorized distributor.
    13   Q       Right. So my question was that there        13          If I can back up for a moment?
    14   was an SOP 7.7 system to disclose suspicious        14   Q       Sure.
    15   orders of controlled substances that resided in     15   A       I have, "DEA does not relieve a
    16   accounting and finance, but it was -- it was your   16   distributor," and, in parentheses, "or
    17   belief, at this time, at least, that there needed   17   manufacturer." But it's primarily the
    18   to be something broader, more cross-functional,     18   distribution to the retail customer that we're
    19   that included other areas of Purdue. Is that        19   talking about.
    20   fair?                                               20   Q       Okay. There's nothing to prevent a
    21   A       That is fair. Yes.                          21   manufacturer from reporting diversion to the DEA;
    22   Q       And then if you look in the next            22   correct?
    23   sentence, you say, "We agree that customer          23   MR. HOFFMAN:
    24   service, credit services, national accounts,        24          Object to the form.
    25   legal, CSA compliance, each play a role in this     25   A       And diversion is a -- is a big concept.

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     1   So if --                                             1   credit, or it could be that it was of an unusual
     2   MS. CONROY:                                          2   size, or there could have been some other issue
     3   Q         Well, I'll strike that and I'll            3   with it that -- who knows?
     4   ask -- I was only using that word because it's in    4   A        That was my understanding, yes.
     5   the sentence.                                        5   Q        And, so, Mr. Seid would have the
     6           But the -- there's nothing that stops a      6   ability, when those alerts were triggered, for
     7   manufacturer from reporting suspicious orders to     7   whatever reason, to decide whether or not to
     8   the DEA?                                             8   ship. He could -- he could do some
     9   A         Nothing to prevent a manufacturer from     9   investigation, he could hold the order for ten
    10   reporting suspicious orders that it receives,       10   minutes, he could hold the order for three weeks,
    11   inference being from their customers.               11   or he could just say, "No, we're not shipping."
    12   Q         Correct. To the DEA?                      12   A        That's right.
    13   A         To the DEA. There's nothing preventing    13   Q        And --
    14   that, right.                                        14          Okay. But, if I understand your
    15   Q         But when you say "The responsibility      15   testimony from earlier today, if the decision was
    16   for making the decision to ship" -- what we're      16   made not to ship because the order was
    17   talking about here is shipping the order --         17   suspicious, that would -- you would have
    18   A         Right.                                    18   contacted the authorized distributor before you
    19   Q         -- "rests with the supplier."             19   made that decision.
    20           And "the supplier," in your sentence,       20   MR. GOLDMAN:
    21   is the authorized distributor.                      21          Objection.
    22   A         Well, it could be either. But             22   MR. HOFFMAN:
    23   I -- I -- I believe that my intention was to say    23          Object to form.
    24   that it was the distributor. Right.                 24   A        Not to ship from Purdue to the
    25   Q         Because there's nothing to prevent the    25   authorized distributor? I -- I'm not --
                                                 Page 259                                                 Page 261
     1   manufacturer, but you believe that it's the          1   MS. CONROY:
     2   authorized distributor that has the actual           2   Q       Right.
     3   ability to stop the shipment.                        3   A       I'm just trying to understand.
     4   MR. HOFFMAN:                                         4   Q       Right.
     5          Object to the form.                           5          If -- if there was --
     6   A        I know that Purdue stopped many             6          Well, do you know of any instance where
     7   shipments. What period of time, again, I think I     7   the -- where the order from the authorized
     8   stated before, some for an hour, some for half a     8   wholesaler or distributor was suspicious because
     9   day, some for two, three days.                       9   of size or because it was a certain percentage of
    10          So I'm -- I'm not necessarily excluding      10   one -- one dose versus another?
    11   manufacturers from that concept. So the sentence    11   A       I -- I -- I don't know. But -- I don't
    12   reads, "The responsibility for making the           12   know.
    13   decision to ship rests with the supplier." I --     13   Q       Okay. That's not something you were
    14   I agree. And the supplier could be either the       14   involved with? That's a -- that's a --
    15   manufacturer or the distributor.                    15   A       That's what we were trying to,
    16   MS. CONROY:                                         16   you know, develop. That's what we were moving
    17   Q        Okay.                                      17   towards, getting some kind of visibility. Yeah.
    18   A        It was kind of a general statement. I      18   Q       You say, "Historically, it's been
    19   try to be accurate in these memos, but --           19   difficult for a manufacturer" -- I'm on the next
    20   Q        Okay. And what you're saying is you        20   page -- "for a manufacturer to gauge what might
    21   certainly knew of instances where Mr. Seid would    21   be a suspicious order from a wholesaler."
    22   receive an alert about a particular order and it    22          You still agree with that; right?
    23   might be a concern about whether the -- whether     23   A       Yes.
    24   the person or the wholesaler making the order       24   Q       "It seemed natural that we would extend
    25   could pay for it, whether they had issues with      25   the discussion to the question of," quote,

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     1   "'knowing our customer's customers.'"                1   registrations regarding suspicious order
     2          Do you see that?                              2   discovery and reporting is to pledge to remain in
     3   A        I do.                                       3   close contact with each other whenever there may
     4   Q        And that's talking about with things        4   be a questionable order."
     5   like -- and I know this is early days -- the fee     5           So my question is: What you're talking
     6   for service agreements and such getting more         6   about there is you need close contact within the
     7   visibility into the authorized distributor's         7   different departments at Purdue to identify
     8   retail pharmacy customers.                           8   suspicious orders.
     9   A        Yes.                                        9   A        I believe so.
    10   Q        And then you say, in the third -- the      10   Q        Because you already -- you already
    11   second full paragraph, "I've been giving this a     11   discussed earlier on you need to have close
    12   lot of thought since last Wednesday, which is the   12   collaboration with your authorized distributors,
    13   one -- which is one of the reasons I'm a little     13   but --
    14   late sending out this summary. I believe we can     14   A        That's right.
    15   make intelligent decisions in this area by          15   Q        -- what I think -- what I'm asking if
    16   involving our authorized distributors in an         16   you're saying here is it's not just an accounting
    17   as-needed, collaborative effort."                   17   function; you need help from other departments to
    18          Do you see that?                             18   try to identify those authorized distributors
    19   A        I do.                                      19   that may have suspicious orders.
    20   Q        And we've talked about that today, that    20   A        That's right.
    21   you still hold -- hold that opinion today;          21   Q        You can put this one away.
    22   correct?                                            22          (CROWLEY EXHIBIT NUMBER 11
    23   A        I -- that's correct.                       23           WAS MARKED FOR IDENTIFICATION.)
    24   Q        And you did, as far as you know,           24   MS. CONROY:
    25   everything you could to communicate with            25   Q        Exhibit 11 -- yours is the top copy --
                                                 Page 263                                                 Page 265
     1   authorized decisions to help them -- with            1   is PPLPC019000216132 through 37. And you can
     2   authorized distributors to help them make            2   kind of look through this, but this looks, to
     3   intelligent decisions.                               3   me -- and, so, my question to you is this looks,
     4   A       Yes. I agree.                                4   to me, like your first stab at an order
     5   Q       And you go on. You say, "The very best       5   management system protocol.
     6   way for us to protect ourselves and our              6   A         It's a stab at it. I -- I don't know
     7   registrations regarding suspicious order             7   if it's the first, but it -- I say it's a start,
     8   discovery and reporting is to pledge to remain in    8   so it probably is, yeah.
     9   close contact with each other whenever there may     9   Q         Okay. It's dated May of 2008.
    10   be a questionable order."                           10   A         Yes.
    11          Do you see that?                             11   Q         And who is, if you remember, Aileen
    12   A       I do.                                       12   Barcia?
    13   Q       And you're talking about keeping in         13   A         She was a paralegal in the Office of
    14   close contact with other departments at Purdue;     14   General Counsel.
    15   correct?                                            15   Q         Okay. And then if you look a little
    16   A       I'd like to take a minute and -- and        16   bit down, there was an earlier email before you
    17   read that. I apologize.                             17   actually sent the draft. Aileen says, "Jack, do
    18   Q       Yep.                                        18   you want me to review the SOP prior to our 2:15
    19   A       Okay. Thank you for allowing me to do       19   meeting? If not, we can always circulate after
    20   that.                                               20   Robin's review."
    21          And -- and the question, again, was?         21            Do you see that?
    22   Q       When you --                                 22   A         I do.
    23   A       I'm sorry.                                  23   Q         That's Robin Abrams she's referring to?
    24   Q       In this paragraph, you say, "The very       24   A         Yes.
    25   best way for us to protect ourselves and our        25   Q         Then if you turn the page, this

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     1   is -- there's no -- there's no signature or         1          (CROWLEY EXHIBIT NUMBER 27
     2   anything, but this is -- this is a draft that       2           WAS MARKED FOR IDENTIFICATION.)
     3   you're working on; correct?                         3   MS. CONROY:
     4   A         Yes. I think that's correct. Yeah.        4   Q        Exhibit 27 is an email from Jack
     5   Q         Okay. And who would you -- do you --      5   Crowley to James Doyle and Robin Abrams and
     6           It says at the bottom here -- and we've     6   others dated Thursday, November 29th, 2012, and
     7   seen this in other SOPs -- that this would be       7   it attaches the OMS SOP dated March 23rd, 2009.
     8   issued by legal and national accounts.              8           The -- Mr. Crowley, the top email is
     9           Do you see that in the bottom left?         9   out of date, at least for our discussion, because
    10   A         I do.                                    10   you are in the process of thinking about updating
    11   Q         And then, next to it, it says            11   the 2009 SOP, but you attach the signed SOP. Do
    12   "approval," and there's a bunch of initials. Do    12   you see that? Take a look. And I'm gonna ask
    13   you see that?                                      13   you if this appears to be the Order Management
    14   A         Yes.                                     14   System SOP 0007 and that -- with your signature
    15   Q         And would you have expected -- do you    15   on the back page.
    16   think that's an artifact or do you think you       16   A        Certainly looks like it.
    17   would have also approved something like this? I    17   Q        Okay. And that's your signature, on
    18   don't see your initials.                           18   the last page, of April 2nd, 2009?
    19   A         I -- I eventually did approve this.      19   A        That's -- that's right. Yes.
    20   But maybe in this iteration my initials were not   20   Q        And it says -- you're under the
    21   included.                                          21   "written by Robin Abrams," and she signed it on
    22   Q         Okay. We can -- we'll take a look at     22   April 1st. Do you see that?
    23   what finally became the protocol. You can put      23   A        I do.
    24   that one away.                                     24   Q        And then you signed it the next day.
    25           So by at least May, the end of May of      25   And then there are approvals by Mr. Seid on April
                                                Page 267                                                      Page 269
     1   2008, you were working on a protocol for            1   2nd and Mr. Geraci on March 31st. Do you see
     2   suspicious order monitoring that would be --        2   that?
     3   encompass more than just national accounts;         3   A       I do.
     4   correct?                                            4   Q       And then the approvals down the bottom,
     5   A        Yes, that's correct.                       5   that's who we see the signatures. It's -- REA is
     6   MR. HOFFMAN:                                        6   Robin Abrams; SS, Stephen Seid; JC is you; and MG
     7          Object to form.                              7   is Geraci?
     8   MS. CONROY:                                         8   A       That's correct.
     9          Bear with me a second. The 007 SOP is        9   Q       And who -- on the front page, you're
    10   actually attached to a document, and I'm looking   10   sending it to a James Doyle at Purdue. Who is
    11   to see which one has the final SOP.                11   that?
    12          No, no, no. It's 2012. Here.                12   A       He was the vice president in charge of
    13          We don't have it until -- 007 is what I     13   business development. I don't know if that was
    14   need. And we don't actually have a copy of it      14   his exact title, but he probably sat on the
    15   until --                                           15   executive committee, so I sent it to him.
    16          I think this is it here.                    16   Q       Okay. And it says at the bottom of
    17          Do you have more stickers?                  17   your email, "Our members decide" --
    18   MS. FITZPATRICK:                                   18          By "members," you're talking about the
    19          Yeah. It's gonna be out of order. Is        19   members of the order monitoring committee;
    20   that okay?                                         20   correct?
    21   MS. CONROY:                                        21   A       Yes.
    22          Yeah.                                       22   Q       -- "decide which accounts need further
    23          What number is it?                          23   due diligence analysis, which accounts to discuss
    24   MS. FITZPATRICK:                                   24   with our authorized distributors, when to conduct
    25          27.                                         25   OMS site visits, and when to report a particular

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     1   account to the Drug Enforcement Administration as    1   would actually see in the fee for service
     2   suspicious."                                         2   agreement, you could take -- you could come up
     3          Do you see that?                              3   with an estimate of how much of the supply was
     4   A        I do.                                       4   going to that -- to that retail account, or at
     5   Q        And then it goes on. You say, "The OMS      5   least had gone to that retail account.
     6   committee has the authority to stop shipments to     6   A       On a case-by-case basis, in my
     7   both wholesale and retail accounts."                 7   experience, those involved the smaller wholesale
     8          Do you see that?                              8   authorized distributors that we had, the smaller
     9   A        I do.                                       9   companies. All right.
    10   Q        And that was -- that was true when you     10   Q       And it doesn't appear that it's
    11   wrote it; right?                                    11   mentioned in your email to Mr. Doyle, but the OMS
    12   A        It was true in the context that I          12   committee also had the authority to report
    13   wanted Mr. Doyle to know that the committee was     13   anything to the DEA; correct?
    14   capable of powerful action and would involve        14   MR. HOFFMAN:
    15   shipments to both wholesale and, I mention here,    15          Object to the form.
    16   retail accounts.                                    16   A       Report anything to DEA is your
    17          I -- I didn't include a longer               17   question?
    18   description of how that would happen, so, as a      18   MS. CONROY:
    19   general matter, I -- that was my intent to show     19   Q       Well, the OMS committee had the
    20   this was a powerful committee, and -- and I         20   authority to report suspicious orders to the DEA;
    21   didn't -- I didn't express it by saying we'd go     21   correct?
    22   through certain -- the amount of different steps    22   A       That was part of the function.
    23   in order to stop, you know. So it's -- it's         23   Q       Okay.
    24   fairly accurate, but...                             24   A       Right. If it was indicated, yes.
    25   Q        The OMS committee did have the             25   Q       And the OMS committee had the authority
                                                 Page 271                                                      Page 273
     1   authority to stop shipments to wholesalers;          1   to report suspicious sales to the DEA as well;
     2   correct?                                             2   correct?
     3   A         Yes.                                       3   MR. HOFFMAN:
     4   Q         And they did --                            4           Object to the form.
     5           What -- what is -- what's your               5   A         The -- the -- the suspicion would be on
     6   definition of a retail account? What's that?         6   the order. So I wouldn't say suspicious sales.
     7   A         Retail pharmacy.                           7   I'd say noteworthy orders.
     8   Q         Okay. And the OMS committee -- did the     8   MS. CONROY:
     9   OMS committee have authority to stop a shipment      9   Q         When do you -- what -- when -- what's
    10   to a retail account?                                10   the dis- -- what's the distinction between or the
    11   A         We did not sell directly to retail        11   timing between an order and a sale? You know,
    12   accounts. Those were through the wholesalers.       12   obviously, talking about Purdue and -- and -- and
    13   The only way a manufacturer could stop would        13   its -- its order, when is it an order and when is
    14   be -- and this is an example -- to say we are not   14   it a sale?
    15   gonna ship 20 percent of your normal order until    15   A         It's an order when it's received by
    16   we can evaluate this particular retail outlet.      16   Purdue, and it becomes a sale when the -- when
    17   And -- and that would maybe strongly induce the     17   the order is fulfilled.
    18   wholesaler to not ship to that account while        18   Q         Fulfilled -- when the order is
    19   further analysis was being performed, further due   19   fulfilled to the authorized wholesaler?
    20   diligence. But we -- we did not have the            20   A         In that instance, yes.
    21   authority to stop a shipment on its face. Right.    21   Q         And that would -- so that would be
    22   Q         And you could -- and I know it's          22   almost --
    23   a -- it's an -- it's an example, but you could      23           If an order came in and it was filled
    24   determine to hold back 20 percent of an order or    24   the very next day, the order and the sale would
    25   14 percent or 32 percent based -- because you       25   be a day apart; correct?

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     1   A        Yes.                                              1   pharmacy.
     2   Q        Okay. And is there any reason that if             2   MR. HOFFMAN:
     3   for some reason information came in after                  3          Object to the form. Overly broad.
     4   a -- an -- a sale was made to an authorized                4   A       We were looking at, after the fact, if
     5   wholesaler, is there any reason that could not be          5   I could say that, data. And then the effort
     6   reported to the DEA? That would be a sale                  6   would be to conduct due diligence to potentially
     7   reported to them as opposed to an order.                   7   stop future sales. Right.
     8   A        Oh, there's no reason. The -- the --              8   MS. CONROY:
     9   what was being asked of industry by DEA was make           9   Q       It's just a function of the way the
    10   that report before you make the sale. Could it            10   business works; right?
    11   happen? Yes, it probably could happen. But the            11   A       Yes.
    12   intention was to perform your due diligence, your         12   Q       How long has it been since you've taken
    13   -- your independent assessment of the quality of          13   a look at this SOP 0007 from 2009?
    14   that order before you made the sale.                      14   A       I may have looked at it yesterday. But
    15   Q        But in all of what we looked at earlier          15   prior to that, long time.
    16   today when you were looking at pharmacies and you         16   Q       Is this anything you have used in your
    17   were calling up high-volume pharmacies, those are         17   consulting work to say, Hey, this is -- even if
    18   all retail pharmacies that had already --                 18   you didn't give it attribution of Purdue, this is
    19          You'd already sold the product;                    19   a type of protocol that can be used?
    20   correct? It wasn't a -- it wasn't a pending               20   A       I'm working with a company right now on
    21   order.                                                    21   developing their program, and I may have given
    22   MR. HOFFMAN:                                              22   them several examples -- examples, and the reason
    23          Object to the form and foundation.                 23   is not one size fits all, especially when you're
    24   A        Just to be clear, Purdue did not sell            24   bringing a new product to market. So...
    25   the product. What we were looking at were orders          25   Q       By the time you had drafted, with
                                                      Page 275                                                  Page 277
     1   from retail accounts to -- to the wholesaler.              1   others, this SOP, was the order monitoring
     2          Now, I don't want to split hairs. The               2   database up and running? Dated -- this is March
     3   sales were made in most cases, probably, by the            3   23rd of 2009.
     4   time I saw that data.                                      4   A       My recollection -- my recollection is
     5   MS. CONROY:                                                5   that, yes, it was.
     6   Q       Yeah.                                              6   Q       Okay. If you go to page -- it's 465 at
     7   A       But I'm looking at the orders.                     7   the bottom, and it says, in the middle, "Order
     8   Q       True.                                              8   Management System (OMS) Review."
     9   A       Yeah.                                              9   A       Yes.
    10   Q       You're looking at the order,                      10   Q       It says, "As part of this SOP, Purdue
    11   but -- that's all I'm getting at, that by the             11   has instituted and developed an OMS program to
    12   time you're looking at --                                 12   review data received from Purdue's authorized
    13          You're looking at what the order was,              13   distributors per fee for service (FFS) data,
    14   and you're assuming that order was filled and             14   contracts.
    15   sold and made its way to the pharmacy.                    15          Do you see that?
    16   A       Reasonable assumption, yes.                       16   A       I do.
    17   Q       Right.                                            17   Q       And then it goes on and says, "The
    18          And so you're looking at --                        18   program uses certain specified parameters to
    19          Even though you're looking at an order,            19   determine which accounts, wholesaler or retail,
    20   you're assuming that the sale was actually made.          20   shall be subject to further review in an effort
    21   And, so, when you would be reporting to the -- to         21   to ascertain whether any order or series of
    22   the distributor and saying we have a -- we think          22   orders meets the standard of being," quote,
    23   we have a problem with this pharmacy or this is a         23   "suspect and warrant a potential DEA referral."
    24   hot spot or whatever, you would be attempting to          24          Do you see that?
    25   stop future orders and future sales to that               25   A       I do.

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     1   Q        Is that a description, generally, of             1   Q       And then it says, "If a referral is to
     2   the database, where it says the program uses              2   be made to the Drug Enforcement Administration
     3   specified parameters to determine which accounts,         3   (DEA), that will be handled by CSA compliance.
     4   wholesaler or retail, shall be subject to further         4          And that's you; right?
     5   review?                                                   5   A       That's right.
     6   A        I -- I don't think it's necessarily              6   Q       And then it goes on and it gives the
     7   about the database itself. I think I -- I                 7   detail. "Once an account is selected by the
     8   describe a program.                                       8   system under the current criteria," and then it
     9   Q        Does the program include the database?           9   says "notify distributors if it's a retail
    10   A        Yes, I would say so.                            10   account."
    11   Q        And does the program include the                11          That means you notify the distributor
    12   committee meetings?                                      12   if one of the accounts that's triggering the
    13   A        I would say yes.                                13   suspicious order is a retail pharmacy?
    14   Q        And I don't see it here. Maybe                  14   A       Yes. I want to read that again, but
    15   it's -- maybe it's elsewhere in here. But the            15   yes.
    16   program also includes conversations and                  16   Q       Yeah.
    17   communications with Purdue's authorized                  17   A       Yes.
    18   distributors; correct?                                   18   Q       Then it says, "All pharmacies will be
    19   A        Those would be the notes we've talked           19   assigned to National Accounts" --
    20   about several times before. So they -- they              20          That's Steve Seid; right?
    21   could include conversations. That -- that was            21   A       That's right.
    22   the goal, yeah.                                          22   Q       -- "for initial feedback based upon
    23   Q        Right.                                          23   familiarity with account, comparison with similar
    24           Because the program needed -- not only           24   accounts, or other information or context for a
    25   did it need the data that Purdue had but, if I           25   particular order."
                                                       Page 279                                                Page 281
     1   understand the program, you needed to communicate         1          Do you see that?
     2   with the authorized distributors as well.                 2   A       I do.
     3   A       Yes.                                              3   Q       So Mr. Seid's national accounts group
     4   Q       Turn to page 466. And that's, I think,            4   would look and to see how that retail account
     5   where --                                                  5   compares to historical numbers or any other
     6          So it says, at the very top, "Follow-up            6   information he might have?
     7   review of accounts identified by OMS" --                  7   A       I think that's accurate.
     8          That's the committee; right?                       8   Q       And then after he -- "After national
     9   A       Yes.                                              9   accounts is complete, CSA compliance, acting on
    10   Q       -- "is conducted by an                           10   behalf of the Office of General Counsel -- that's
    11   interdisciplinary group, including                       11   you -- will review available information and
    12   representatives from the office of the general           12   provide feedback and suggestions, which may
    13   counsel, CSA compliance, national accounts, and          13   include a request for further information from
    14   corporate security. Follow-up may include a              14   sales relative to other pharmacy or healthcare
    15   discussion with the authorized distributor."             15   practitioners in the vicinity of the subject
    16          Do you see that?                                  16   account."
    17   A       I do.                                            17          Do you see that?
    18   Q       And, so, that's -- that's -- so those            18   A       I do.
    19   are the members of the committee, and the                19   Q       So that would -- that would mean that
    20   committee may speak with authorized distributors.        20   either you or someone in the general counsel's
    21   Correct?                                                 21   office could go and talk and see if there were
    22   A       Yes.                                             22   any reports of concern or IMS data or Region 0
    23   Q       They don't have to. It just says                 23   prescribers that were somehow related to the --
    24   "follow-up may include."                                 24   the retail account that was under suspicion.
    25   A       That's correct.                                  25   Correct?

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     1   A       I think someone could seek out that          1   gets added to the database."
     2   information. But I think this particular             2          You have no reason to doubt that
     3   sentence may have been more related to a series      3   happens; right?
     4   of questions which were posed to a sales             4   A       I have no reason to doubt, no.
     5   representative to -- just as it says, other          5   Q       Then it says, "The file will be further
     6   pharmacy or healthcare practitioners in the          6   reviewed by corporate security for any additional
     7   vicinity. So that would be asking for a              7   relevant information that may be available." And
     8   comparison.                                          8   that's Mr. Geraci, and I think you gave me
     9          What do you know about the account in         9   another name at some point.
    10   question and how does it compare to other           10   A       Luis Bauza.
    11   pharmacies in the area and do you know any of the   11   Q       Then it says, "Following corporate
    12   healthcare practitioners that are writing           12   security review, it may be marked for CSA
    13   prescriptions?                                      13   compliance review, which will generally take
    14   Q       And that would be IMS data; correct?        14   place in conjunction with the other reviewers as
    15   MR. HOFFMAN:                                        15   a summary discussion."
    16          Object to the form.                          16          Do you see that?
    17   MS. CONROY:                                         17   A       I do.
    18   Q       That -- that's where the data would be,     18   Q       And is that a committee meeting that
    19   IMS or -- or one -- one of its -- IQVIA or          19   would take place to discuss all that -- the
    20   whatever it would be called at the time. But        20   compilation of results that were input into the
    21   that's where the healthcare practitioners in the    21   database?
    22   vicinity of the subject account, that's where you   22   A       May happen outside of the committee
    23   would see that data; right?                         23   meeting. We try to make it as much in real time
    24   MR. HOFFMAN:                                        24   as we could, so --
    25          Object to the form.                          25   Q       Okay. So you could just -- you could
                                                 Page 283                                                 Page 285
     1   A         Excuse me.                                 1   call a discussion at any point.
     2           I wouldn't see that data personally,         2   A         Right.
     3   so -- and I wasn't really that familiar with what    3   Q         And then it says, "The reviewing team,
     4   was available to sales reps. And I'm not trying      4   under the guidance and direction of the general
     5   to be evasive in any way.                            5   counsel's office" --
     6   Q         And I don't -- I don't -- when I'm         6           And that's -- that's Robin Abrams,
     7   asking, it just says -- I'm going by the SOP, and    7   Betsy Adams, Giselle Issa; correct?
     8   it just says, "When National Accounts' review is     8   A         Correct.
     9   complete, CSA compliance, acting on behalf of the    9   Q         -- "will then discuss and perform next
    10   Office of General Counsel, will review available    10   steps as appropriate and coordinate its
    11   information."                                       11   assessment with the authorized distributor."
    12           So you may not know exactly what            12           Do you see that?
    13   information is available, but someone in the        13   A         Excuse me.
    14   general counsel's office, just someone working      14           I do.
    15   with you, there's no -- there's no restriction.     15   Q         Okay. And, so, the reviewing team,
    16   If there's information or data available at         16   under the direction of the general counsel's
    17   Purdue, it's -- it's at your disposal, correct,     17   office, decides what to do next. Right?
    18   with respect to doing research into this retail     18   A         I agree with that generally, as far as
    19   account that is potentially suspicious?             19   coordinating the assessment with the authorized
    20   MR. HOFFMAN:                                        20   distributor.
    21           Object to the form.                         21   Q         Okay.
    22   A         Yes, I think that's true.                 22   A         I mean, I -- I -- what I mean to say
    23   MS. CONROY:                                         23   is -- like I say, "perform next steps as
    24   Q         And then if -- if you go down, it says,   24   appropriate in addition to the coordination of
    25   "After the sales force responds, that information   25   the assessment." I'm not trying to split hairs.

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     1   I'm --                                              1          So did they meet the definition of a
     2   Q        No. That's fine.                           2   formal report? I don't think that they did. But
     3          And then, on the next page, it says,         3   they were reports. They were communications to
     4   "There are three final status values for all        4   DEA.
     5   pharmacies that were identified for follow-up       5   MS. CONROY:
     6   review."                                            6   Q       And if -- and if there was a
     7          Do you see that?                             7   communication to DEA, the file -- the database
     8   A        Yes.                                       8   would be marked "referred"?
     9   Q        And those are the three: Pending;          9   A       No. No. Not -- huh-uh. I don't agree
    10   complete; and complete, referred. Correct?         10   with that.
    11   A        Yes. That's what I see, yes.              11   Q       Okay. So if I wanted to know if --
    12   Q        And we -- and we talked about, earlier    12          So what you're telling me is there's a
    13   today, what those mean. Correct?                   13   formal referral and then maybe a less formal
    14   A        Yes. Well, I think we did, yeah.          14   referral, but there certainly was communication
    15   Q        Okay. Then it says "Filing suspicious     15   with the DEA about a particular account by
    16   order reports with DEA."                           16   Purdue.
    17          It says, "Under 21 CFR Section              17   A       That's correct.
    18   1301.74(b), orders designated as suspicious must   18   Q       And if that took place, that would be
    19   be reported to DEA when discovered. Once the       19   in the notes of the database, but it wouldn't
    20   determination that an order is suspicious has      20   necess- -- I couldn't -- if I just asked to see
    21   been made, a phone call to report the order to     21   which -- which pharmacies or retail accounts were
    22   the local DEA office is recommended to meet this   22   referred to the DPA -- DEA by this designation,
    23   requirement unless DEA provides other direction.   23   complete, comma, referred, that wouldn't -- that
    24   If requested, Purdue will provide additional       24   wouldn't give me all the times that you
    25   information."                                      25   communicated to the DEA.
                                                Page 287                                                 Page 289
     1          Do you see that?                             1   A       It would not give you all the times.
     2   A        I do.                                      2   Q       I'd have to look at the database.
     3   Q        And, as you sit here today, at least as    3   A       I'm not sure that's included in the
     4   of the time you left Purdue, the only occasions     4   database.
     5   where an order was designated as suspicious and     5   Q       What?
     6   reported to the DEA was the incident with           6   A       You know, routine conversations
     7   Mr. Geraci when he did a written report to the      7   with -- with DEA. They're just too numerous
     8   DEA on a single pharmacy or group of pharmacies     8   to -- you know, to capture sometimes. As I
     9   in Las Vegas and the instance where Robin Abrams    9   mentioned before, that may have been the goal,
    10   went to the DEA office in Virginia and reported    10   but, you know...
    11   on a decrease in OxyContin sales to the DEA.       11   Q       Would it be fair to say it would be a
    12   MR. HOFFMAN:                                       12   start?
    13          Object to form.                             13   A       I'm sorry, though. A start --
    14   MS. CONROY:                                        14   Q       If -- if -- if you wanted to know at
    15   Q        Is that -- is that your best memory?      15   least some of the instances where someone on the
    16   MR. HOFFMAN:                                       16   order monitoring committee contacted the DEA
    17          Object to form. I believe it misstates      17   about a suspicious retail account, they
    18   the record.                                        18   were -- the goal was, at least, to put that into
    19   A        I probably need to clarify more. I --     19   the notes of the database; correct?
    20   I'd be thinking in terms of a -- an official       20   A       That's the goal, yeah.
    21   referral document type of a report. In terms of    21   Q       And it might be emails as well;
    22   reporting to DEA, it's the definition of report.   22   correct?
    23   We spoke -- I personally, and also others in the   23   A       Might be. Might be, yes.
    24   organization, spoke to and reported activity to    24   Q       And -- and then there'd be phone
    25   DEA routinely.                                     25   conversations, and there would be no way to track

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     1   those phone conversations. Is that correct?          1   operating procedure, correct?
     2   A        I think that's accurate.                    2   MR. HOFFMAN:
     3   Q        So the only place left, to me, to check     3          Object to form.
     4   that is the database and the emails at Purdue;       4   MS. CONROY:
     5   correct? Is there anywhere -- is there any other     5   Q        Or should be?
     6   written record of that?                              6   MR. HOFFMAN:
     7   A        Not that I know of.                         7          Object to the form.
     8   Q        And the people that would be closest to     8   A        We try to capture the formal system as
     9   this are the members of the order monitoring         9   well -- as well as we could. But if I personally
    10   committee; correct?                                 10   was talking to a DEA agent because I had
    11   A        That's correct.                            11   relationships with people throughout the field in
    12   Q        Those are the individuals that would be    12   DEA or they happened to call me, I -- I may, in
    13   tasked with having any conversation with DEA        13   fact, say, "Oh, by the way," and then go on from
    14   officers, correct, about these --                   14   there. This is the type of relationship that you
    15   A        Well --                                    15   have with -- with field personnel, shall I say.
    16   Q        -- particular suspicious retail            16   That's -- might be conversations to an
    17   accounts?                                           17   investigator. Is it a report? Will it become a
    18   A        These being the ones that we've            18   report later?
    19   earmarked within the system?                        19          I -- I'm not trying to -- I'm -- I'm
    20   Q        Yes.                                       20   just trying to say to you there are many times
    21   A        Right.                                     21   I've talked to DEA, and -- and I'm sure it's not
    22   Q        I'm not talking about just any kind of     22   captured in that database.
    23   account. I'm talking about, once you've             23   MS. CONROY:
    24   earmarked these, you have a -- you have a           24   Q        Okay. And I'm trying to figure out
    25   protocol that you're following and you have         25   whether I need to ask you, for days on end, every
                                                 Page 291                                                         Page 293
     1   particular procedures that are followed by the       1   possible memory you have about speaking to a DEA
     2   different members of the committee, by what          2   agent that may, in fact, have been about a
     3   department they are, and you would -- and each       3   suspicious retail account, or can I rely, in some
     4   one has a particular procedure they're following.    4   part, on produced suspicious order monitoring
     5          But if they're contacting a DEA agent,        5   system and their protocol that there was at least
     6   they're contacting a DEA agent about that            6   an attempt to log conversations with DEA agents,
     7   suspicious retail account as a function of their     7   communications with distributors, and anything
     8   position on the order monitoring committee.          8   else about the suspicious retail accounts that
     9   Correct?                                             9   were tar- -- that were -- that were triggered?
    10   A       And/or their function as the chief          10   MR. HOFFMAN:
    11   security officer or executive director of CSA       11           Object to the form.
    12   compliance, yeah. I -- I don't mean to get          12   A         May I use one of the exhibits that you
    13   in --                                               13   gave me?
    14   Q       I understand that. But if -- but if         14   MS. CONROY:
    15   you're identifying them as suspicious orders as     15   Q         Of course.
    16   part of this SOP, then I would expect that to be    16   A         That is Exhibit -- whatever it is --
    17   a rather -- a more formal procedure than if         17   Number 8.
    18   someone in corporate security had a conversation    18   Q         Uh-huh.
    19   with a DEA agent about a nonsuspicious retail       19   A         Sitting here, I don't know for a fact
    20   account, just because there was something           20   if -- if that pharmacy was reported to the DEA by
    21   happening.                                          21   the wholesaler involved with -- with the,
    22          Once -- once it rises to the level of        22   you know, with the input from Purdue.
    23   being a targeted or triggered suspicious retail     23           I -- I don't know that it was
    24   account, then any conversations with a DEA agent    24   formally -- you'd find it in the system as being
    25   about that account are part of this standard        25   referred. What you'd find is that's in a report

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     1   and -- and -- and, in a meeting with DEA, that            1   any that, you know --
     2   might have been one of 15 pharmacies that was             2         One obviously sticks in your head. I
     3   discussed with them, see.                                 3   just wondered if there were others.
     4          "By the way," (indicating), okay?                  4         Is -- is your wife a DEA agent?
     5          So that -- that's all I mean.                      5   A       Formerly.
     6          "And if you need any help from us, we              6   Q       And what was --
     7   have information that we can -- we can work               7   A       Retired.
     8   together on this."                                        8   Q       And what was her --
     9   Q       And that's what you'd say to the DEA.             9         Did -- did she have anything to do with
    10   A       Yes.                                             10   controlled substances, or what were her
    11   Q       And you would also say that to your              11   responsibilities, generally?
    12   authorized distributors.                                 12   A       Her title was Group Supervisor,
    13   A       I would personally say that. I'd say,            13   Columbia, South Carolina, resident office.
    14   "Look, I talked to them about this, that whole           14   Q       And what does a group supervisor do?
    15   area," you know.                                         15   MR. GOLDMAN:
    16   Q       Do you have individuals at the DEA that          16         Give a very, very broad description.
    17   you talk to regularly, agents that you know their        17   A       She would supervise inspections and
    18   names and you would talk to them?                        18   investigations involving compliance with the
    19   A       There aren't too many left.                      19   Controlled Substances Act and the Code of Federal
    20   Q       Okay. Any that I would recognize --              20   Regulations or violations thereof.
    21   any that you --                                          21   MS. CONROY:
    22          Would you also email them?                        22   Q       And was there any restriction? Could
    23   MR. HOFFMAN:                                             23   she be in charge or be a part of an investigation
    24          Sorry. Are you asking now or back at              24   of Purdue or any of its manufacturing facilities?
    25   this time?                                               25   And I'm talking about while -- while -- while you
                                                       Page 295                                                Page 297
     1   MS. CONROY:                                               1   were there.
     2          When he was at Purdue.                             2   A       Right. I understand.
     3   Q        I'm assuming that's what you mean when           3          Her geographical area of responsibility
     4   you say there are not that many left. You're              4   was the state of South Carolina. We -- we didn't
     5   talking about they're still not at the DEA now.           5   have any facilities there. So, generally
     6   A        Right.                                           6   speaking, no, she was not.
     7          I -- I would send emails to some, yes.             7   Q       And what about any retail accounts in
     8   Q        And who -- who are the ones that you             8   South Carolina or authorized distributors in
     9   can remember those --                                     9   South Carolina? Was there any prohibition,
    10          What names do you recall?                         10   because she was your spouse, to having anything
    11   A        Well, I distinctly remember Jane                11   to do with any investigations with anything to do
    12   Tomko -- she had a hyphenated name -- Griffin.           12   with Purdue within her geographic territory?
    13   Griffith, Griffin. And she was in Las Vegas.             13   A       Prohibition by who?
    14   That -- that's one example.                              14   Q       By the DEA.
    15   Q        Anyone else you recall?                         15   A       None.
    16   A        Well, people at headquarters. Agents            16   Q       Any on the part of Purdue?
    17   who may have asked me questions, I don't remember        17   A       No.
    18   their names.                                             18   Q       So you could have a conversation, for
    19          There were pockets of investigators               19   example, with her about a particular retail
    20   that I would have talked to. Whether or not I            20   pharmacy you were concerned about?
    21   emailed, I mean, I don't know, but --                    21   A       That never happened, so I -- I suppose
    22   Q        Okay.                                           22   I could, but I didn't.
    23   A        -- I -- I spoke to contacts                     23   Q       That's what I'm saying. There's
    24   from -- from Boston to Los Angeles.                      24   no -- there's nothing that said that she couldn't
    25   Q        No. I just was curious if there were            25   have anything to do with where her spouse was

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     1   employed?                                                  1   Q        And who was -- do you know Douglas
     2   A        I could reach out to her like any other           2   Robinson?
     3   DEA employee, in -- in my opinion.                         3   A        I don't know him personally. He -- he
     4   Q        Okay. Did you ever seek any advice                4   took the place of George Euson for about one year
     5   from her while you were at Purdue about how a DEA          5   at H.D. Smith as the director of security.
     6   agent would view something or another?                     6   Q        Okay. And, in this email, you -- you
     7   A        I don't remember anything specific.               7   send Mr. Robinson excerpts from the Rannazzisi
     8   Q        Do you remember anything generally?               8   letters and you -- you offer your -- you talk
     9   A        I -- I'm sure we had general                      9   about the emerging interpretation of the DEA
    10   discussions of frustrations, whatever. But, you           10   letters, you give him some examples, and I
    11   know...                                                   11   believe somewhere you offered -- you say, at the
    12   Q        Did you ever forward to her any issues           12   end, "Our primary focus is to help you protect
    13   that were coming up at Purdue about particular            13   your registration and your business in general
    14   pharmacies or distributors or give her a tip              14   and especially in distributing our products.
    15   about any pharmacies or distributors?                     15   We're very appreciative of your work in assuring
    16   A        She was quite good at getting her own            16   that our medicine reaches our patients in an
    17   tips. Yeah.                                               17   appropriate manner and in a timely fashion. I
    18          I'm not trying to be smart.                        18   look forward to our next discussion and will
    19          Don't believe so.                                  19   provide more direct background if you would
    20   Q        If it had looked like something that             20   like."
    21   would have been useful with respect to                    21          Do you see that?
    22   identifying or getting more information about a           22   A        I'm sorry. I heard it, and -- and I
    23   suspicious activity at a retail level or an               23   kind of zoned out on what page it was, so...
    24   authorized distributor, would there be any reason         24   Q        Very end of the letter, you know, it
    25   you wouldn't contact her to get more information          25   basically sounds like you're saying to
                                                      Page 299                                                  Page 301
     1   if you thought she had it?                                 1   Mr. Robinson that you appreciate his business and
     2   A       I probably would have thought closely              2   you're there if he has any questions.
     3   whether or not there would be any kind of a                3   THE WITNESS:
     4   conflict. But I wouldn't preclude myself from              4          Oh, I'm sorry.
     5   doing that.                                                5   MR. HOFFMAN:
     6   Q       Okay. Do you have any other family                 6          She's looking at page 0265 at the
     7   members that are DEA agents?                               7   bottom.
     8   A       I do not.                                          8   A       Yeah, 0265. Five. Oh. I think this
     9   Q       And she's retired now?                             9   one's a -- oh, I'm sorry. I went too far.
    10   A       Retired, yes.                                     10          (Reading.)
    11   Q       Is she part of your consultancy                   11          Yes, I -- I see that.
    12   business?                                                 12   MS. CONROY:
    13   A       No. I wish she was. No, she's not.                13   Q       Okay.
    14   No.                                                       14   A       Yes.
    15         (CROWLEY EXHIBIT NUMBER 12                          15   Q       And I -- I -- I see from the -- the
    16          WAS MARKED FOR IDENTIFICATION.)                    16   cover email to this that Mr. Robinson didn't get
    17   MS. CONROY:                                               17   back to you after you sent that email to him.
    18   Q       I'll show you what's been marked as               18          Do you know if -- did you -- I know and
    19   Exhibit 12. This is PPLPC018000240260, and this           19   I've seen several emails between you and
    20   is an email from you to Richard Widup at the --           20   Mr. Euson at H.D. Smith. Did you develop a
    21   at the top, but if you go in a bit, you have              21   relationship with Mr. Robinson?
    22   a -- you attach an email to Douglas Robinson at           22   A       Not really, because he was not in that
    23   H.D. Smith.                                               23   position that long.
    24          Do you -- do you see that?                         24   Q       Did someone replace him? Do you know?
    25   A       I do.                                             25   Or this was in 2008. Who replaced Mr. Robinson,

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     1   if you recall?                                       1   individual, would have certain measures of
     2   A        Eventually, George Euson went back          2   effectiveness, and this is one -- one of them.
     3   there, but I think there was a person in             3   Q        And --
     4   the -- in the middle, Tracy Hernandez -- and         4   A        I'm sorry. Yeah. Go ahead.
     5   sometimes I've seen her name hyphenated, Tracy       5   Q        Did you ever -- did you ever see a
     6   Hernandez-Norton, I think. Yeah.                     6   measure of effectiveness of the order monitoring
     7   Q        And then you -- you think Mr. Euson         7   system?
     8   went back to H.D. --                                 8   MR. HOFFMAN:
     9   A        He did. I know he did. Yeah.                9          Object to the form.
    10   Q        Okay. And, so, then you continued          10   A        I -- I need to read this, so if -- if
    11   having communication with him, with Mr. Euson?      11   you can bear with me.
    12   A        I certainly did if -- if he came back      12   MS. CONROY:
    13   before I left in 2012, which I think he did.        13   Q        Yep. Absolutely.
    14   So...                                               14   A        I -- I -- I see it.
    15   Q        Okay.                                      15          I was generally aware of this.
    16   A        Yeah.                                      16   Q        Do you know if there were measures of
    17   Q        Can put that one away.                     17   effectiveness or if somebody had a scorecard
    18   A        But I'm actually not sure when he came     18   about this or whether somebody was -- was grading
    19   back. I'm sorry.                                    19   the effectiveness of the order monitoring system?
    20   Q        It will be -- there are -- there are       20   A        I think that that may be the case, that
    21   records of those kind of things.                    21   there was a scorecard by someone. Whether it was
    22   A        Oh, okay.                                  22   Giselle Issa, I -- you know, I'm not the type of
    23         (CROWLEY EXHIBIT NUMBER 13                    23   individual who would let that, you know, dictate
    24          WAS MARKED FOR IDENTIFICATION.)              24   to me what I try to accomplish, so...
    25   MS. CONROY:                                         25   Q        No, I wasn't -- I wasn't suggesting
                                                 Page 303                                                 Page 305
     1   Q        I'll show you Exhibit 13, which is          1   that.
     2   PPLPC023000371445, just a one-page document.         2   A         Yeah.
     3   This is from you to Gina Limer. Do you recall        3   Q         I just mean were you -- were you
     4   who she was?                                         4   familiar that as sort of some corporate exercise
     5   A        Limer.                                      5   that was potentially being done?
     6   Q        Limer.                                      6   A         I think so.
     7   A        She -- she was my assistant.                7   Q         And --
     8   Q        Okay.                                       8   A         Yes.
     9   A        Administrative assistant, I think,          9   Q         And if it was being done, was it being
    10   is the term.                                        10   done through the general counsel's office, if --
    11   Q        Okay. And this is dated Wednesday,         11   if it involved Giselle Issa?
    12   April 5th -- I'm sorry. Yeah. Wednesday,            12   MR. HOFFMAN:
    13   April -- May 4th of 2011. And it's called OMS       13           Object to the form. Foundation.
    14   (order monitoring system) Measures of               14   A         Well, she would have been part of it.
    15   Effectiveness (MOE).                                15   It may have been passed up to someone else in
    16          Do you see that?                             16   some kind of a committee. Right.
    17   A        I do.                                      17   MS. CONROY:
    18   Q        What -- what was an MOE or what            18   Q         Did you have a memory of what kind of
    19   did -- tell -- do you have a memory about what      19   committee would do this kind of audit or measure
    20   that was? Because I want to ask you to describe     20   of effectiveness?
    21   it for me.                                          21   A         I -- I -- I don't.
    22   A        I think the company had -- or was          22   Q         Okay. You can put that away.
    23   developing and perfecting a -- a more robust        23           I have a number of exhibits here.
    24   system of gauging, just as it says, effectiveness   24   Those are yours, 14 --
    25   of whatever. And each unit, if not each             25           Through what?

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     1   MS. FITZPATRICK:                                          1          And in the first -- in the second or
     2          26.                                                2   maybe third paragraph you say, "On a side note,
     3   MS. CONROY:                                               3   I'd love to speak with you or your colleagues who
     4   Q       -- 26. And then that's your set.                  4   are involved with the suspicious order monitoring
     5   MR. GOLDMAN:                                              5   program. We can collaborate with Cardinal on
     6          Oh, thank you.                                     6   issues about our products, and we have recently
     7   MS. FITZPATRICK:                                          7   developed our own order monitoring system that
     8          Here are the other sets.                           8   reaches down to the retail customer."
     9   MS. CONROY:                                               9          Do you see that?
    10          Okay.                                             10   A       I do.
    11         (CROWLEY EXHIBIT 14 THROUGH 26                     11   Q       And you go on. You say, "Since the
    12          WERE MARKED FOR IDENTIFICATION.)                  12   retail customer is really your customer" --
    13   MS. CONROY:                                              13          Meaning Cardinal; correct?
    14   Q       I'm not gonna ask you about these                14   A       Correct.
    15   individually, but I want you to take a look at           15   Q       -- "I refer to this as knowing our
    16   Exhibits 14 through 26. And these appear to me           16   customer's customer. And since you are our
    17   to be your emails and communications with                17   customer, I feel that it is very important for
    18   Purdue's authorized distributors talking about           18   Purdue to collaborate with and support you on any
    19   issues that you may be seeing as part of the             19   accounts we might feel require further
    20   order monitoring triggers. So --                         20   assessment, et cetera. This isn't a situation
    21   MR. HOFFMAN:                                             21   where we would be questioning you,
    22          And you're not asking him if it's all             22   et cetera -- nay, nay -- this is a support
    23   of them. Just to identify if that's what they            23   function for industry to do the right thing,
    24   are?                                                     24   support itself and each other, protect itself
    25   MS. CONROY:                                              25   from overzealous regulators, and ensure that the
                                                     Page 307                                                  Page 309
     1           No. I'm gonna go -- I'm gonna go --               1   patients receive their appropriate medication in
     2   Q        I'm not expecting you to identify them.          2   a timely fashion."
     3   It's that -- what I'm -- I was just giving you a          3          Do you see that?
     4   general explanation of what I've just given to            4   A       I do.
     5   you.                                                      5   Q       And do you -- you stand by what you
     6           Let's see. Which one is it? If you go             6   said there?
     7   to -- take a look at Exhibit 17, for example.             7   A       Beginning with "this isn't a situation
     8   MR. HOFFMAN:                                              8   where we would be questioning you"?
     9           What's the Bates number on that one?              9   Q       Well, it's all your --
    10   MS. CONROY:                                              10   A       Yeah.
    11           That is CAH_MDL2804_00824045 through             11   Q       It's all what you said, so not
    12   50.                                                      12   necessarily beginning but --
    13   Q        And that is an email from you                   13   A       All right.
    14   concerning the New Jersey work group meeting             14   Q       -- you stand by this is what you were
    15   notice to Charles Forsaith and Greg Halvacs.             15   offering to Cardinal --
    16           Do you see that?                                 16   A       Right.
    17   A        Yeah. At the bottom of page 045?                17   Q       -- to collaborate with them and discuss
    18   Q        That's right.                                   18   any assessments about any of their retail
    19           And if you'll look at the top, Greg              19   accounts?
    20   Halvacs is at Cardinal. You can tell by his              20   A       To -- to a person I didn't really know
    21   email address.                                           21   who -- who's vice president of security.
    22   A        That's right.                                   22   Q       Did you get to know him?
    23   Q        And if you look at your email, you say,         23   A       Met him once or twice, yeah.
    24   "Hello, Greg. Glad to meet you on email. I hope          24   Q       Okay. And then you say, "I'd like to
    25   to meet you in person soon."                             25   discuss that with you to see if we can support

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     1   each other in the," quote, "DEA-created mess."            1          Are you familiar with that?
     2          Do you see that?                                   2   A        Yes, I am.
     3   A       I do.                                             3   Q        Have you been there before?
     4   Q       And by that, are you talking about the            4   A        That one time.
     5   Rannazzisi letters?                                       5   Q        And are you familiar with that
     6   A       I -- I would have been talking about              6   business, the Cegedim/Dendrite business?
     7   that, yes.                                                7   A        I'm familiar with Buzzeo PDMA, as he
     8   Q       And did you meet Mr. --                           8   calls it, which is a part of Cegidem/Dendrite.
     9   A       Halvacs?                                          9   Q        Do you know if Purdue ever purchased
    10   Q       -- Halvacs at a -- a New Jersey                  10   any data or other information from either
    11   industry work group meeting?                             11   Cegidem/Dendrite or Buzzeo PDMA?
    12   A       I think I met him at a different                 12   A        I don't.
    13   meeting. I -- I don't think he ever was able to          13   Q        Do you know if Purdue ever purchased
    14   come to a New Jersey industry meeting.                   14   any data or information from any company owned by
    15   Q       Did you attend New Jersey industry work          15   Ron Buzzeo?
    16   group meetings?                                          16   A        I don't.
    17   A       Each one that I could, yes.                      17   Q        Do you know the kind of data they had
    18   Q       Okay.                                            18   for sale?
    19   A       Usually twice a year.                            19   A        I -- I really don't.
    20   Q       It -- it says here -- and if you look            20   Q        Okay.
    21   on page 046, there's an email from Gina cc'ing           21   A        No.
    22   you about a New Jersey industry work group               22   Q        Do you know what kind of services they
    23   meeting notice that says, "Hello, New Jersey DEA         23   had for sale?
    24   controlled substances compliance colleagues."            24   A        Well, certainly DEA compliance
    25          And you say, "We have 20 attendees who            25   services, all aspects.

                                                       Page 311                                                    Page 313
     1   have confirmed." Or Gina says. "It was the goal           1   Q       Do you know if --
     2   of the planning committee to have 30 to 35                2   A       Right. Go ahead.
     3   attendees for the first meeting of the New Jersey         3   Q       Do you know if those services were ever
     4   industry work group on June 5th from 10:00 to             4   utilized by any of Purdue's authorized
     5   3:00."                                                    5   distributors?
     6          Do you see that?                                   6   A       I don't know.
     7   A       I do.                                             7   Q       Take a look at Exhibit 18, which is an
     8   Q       When you attended, was that about how             8   email -- well, it's Allergan_MDL_02128065 through
     9   many -- do you think you had somewhere between 20         9   072. And if you look on the first page --
    10   and 35 attendees?                                        10          Did you find that exhibit?
    11   A       My recollection would be yes. Yep.               11   A       I did.
    12   Q       Then it says, "Please note, Ron Buzzeo           12   Q       Great.
    13   graciously offered to host the first meeting so          13          On the first page, there's an email
    14   that we could get the group up and running."             14   from you to Noemi Rebeco. Do you see that?
    15          Do you know Ron Buzzeo?                           15   A       I do.
    16   A       I do.                                            16   Q       Do you recall her?
    17   Q       And how do you know him?                         17   A       Not at this moment, no.
    18   A       He at one time was the deputy -- his             18   Q       Okay. You say, "We did not use a
    19   title would have been Deputy Director, Office of         19   consulting group to design our own program but
    20   Diversion Control. He was the number two                 20   utilized specialists from our IT group from the
    21   official at DEA in the Office of Diversion               21   sales business side with input from various
    22   Control.                                                 22   stakeholders."
    23   Q       "And the inaugural meeting will take             23          Do you see that?
    24   place at Cegedim," C-E-G-E-D-I-M, "Dendrite              24   A       I do.
    25   headquarters."                                           25   Q       And you're talking about the creation

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     1   of the OMS database and -- and suspicious order     1   February 29th of 2012. And do you recall
     2   monitoring program; correct?                        2   Ed Hazewski?
     3   A       Yes.                                        3   A       I do.
     4   Q       And you say, "We have met with our          4   Q       It's H-A-Z-E-W-S-K-I?
     5   customers, our wholesalers, and made agreements     5   A       He pronounces it "He-Zes-ski."
     6   with them to discuss certain accounts when          6   Q       Hazewski.
     7   appropriate. We also get their sales data for       7          And what -- what position, or best you
     8   our products through contract agreement which is    8   can describe for me, did he hold at
     9   fed into our order monitoring system database."     9   AmerisourceBergen?
    10          That's the fee for service agreements;      10   A       He was the director of order -- their
    11   correct?                                           11   order monitoring service, system, or group.
    12   A       Yes.                                       12   Q       And did you have -- did you have
    13   Q       "Our relationship with our own             13   contact with him over your tenure at Purdue?
    14   customers, wholesalers in the area of mutual       14   A       I did.
    15   support for order monitoring is key for us."       15   Q       And was -- AmerisourceBergen was an
    16          Do you see that?                            16   authorized distributor for Purdue?
    17   A       I do.                                      17   A       I'm sorry?
    18   Q       And then you're suggesting Ron Buzzeo      18   Q       Was an authorized distributor for
    19   if she would prefer to use a consultant. Do you    19   Purdue?
    20   see that?                                          20   A       Yes, yes.
    21   A       I do.                                      21   Q       AmerisourceBergen was an authorized
    22   Q       Did you typically suggest Ron Buzzeo       22   distributor?
    23   to --                                              23   A       Yes.
    24          Well, let me ask you this first. Was        24   Q       And what -- if -- if you'll look at
    25   Allergan an authorized distributor for Purdue?     25   these, there's a -- it looks like you have
                                                Page 315                                                 Page 317
     1   A        I don't think so. I think Allergan was     1   forwarded to Mr. Hazewski in February an article
     2   a manufacturer. I -- I'm sorry. I think -- I'm      2   from USA Today. Do you see that?
     3   looking at Actavis. Where's Allergan?               3   A        I see it.
     4   Q        Oh, I'm sorry. That's on the -- it is      4   Q        And why were you telling Mr. Hazewski
     5   Actavis. I think it's now called Allergan. But      5   that -- something about Ruth Carter?
     6   it was Actavis at the time that you were sent       6   A        Well, we like to keep up to date with
     7   this email.                                         7   people in responsible positions at DEA
     8   A        I don't believe that they were.            8   headquarters or in the field, diversion program
     9   I -- I'm not familiar with having a relationship    9   managers or whatnot that you might have to deal
    10   as manufacturer to distributor with them.          10   with.
    11   Q        Okay. You can put that one away.          11   Q        So you were just -- this was just part
    12   MR. GOLDMAN:                                       12   of your kind of back and forth with Mr. Hazewski
    13           Do you want to take a break?               13   just to make sure that he knew about this?
    14   THE WITNESS:                                       14   A        That's right.
    15           We can keep going if you want.             15   Q        And this would be an example of some of
    16   MS. CONROY:                                        16   the communications you may have with distributors
    17   Q        Yeah. Let me just finish up with          17   that may or may not make it on to the OMS
    18   these. I just have a few questions about these,    18   database? This would just be something outside
    19   and we'll identify them, then take a break.        19   of the suspicious order monitoring?
    20   MR. HOFFMAN:                                       20   A        Is it -- for the sake of time, is this
    21           Okay.                                      21   all from --
    22   MS. CONROY:                                        22   Q        It's all the article, yeah.
    23   Q        Exhibit 19, ABC -- ABDCMDL00301700        23   A        All the article?
    24   through 0703. And this is an email from you to     24   Q        It's all the article.
    25   Edward Hazewski at AmerisourceBergen dated         25   A        Yeah, that would be outside the system.

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     1 Q         Okay. You can put that one away.                   1   A       It's possible. Yes.
     2          Take a look at Exhibit 21                           2   Q       And, as part of that collaboration and
     3   CAH_MDL2804_01724159 through 160. This concerns            3   mutual support, is this where you would have
     4   a Purdue-Cardinal meeting on November 28th of              4   reiterated the Purdue policy that you would
     5   2012. And the email, you are -- you are on the             5   inform Cardinal before you would report any of
     6   email, but it comes from Giselle Issa, and                 6   their retail accounts or retail pharmacies to the
     7   there's an agenda attached.                                7   DEA?
     8          Do you have a memory of this meeting                8   MR. GOLDMAN:
     9   taking place at the end of November of 2012?               9          Objection.
    10   A       Yes.                                              10   MR. HOFFMAN:
    11   Q       And what was -- what do you recall the            11          Object to the form.
    12   purpose of this meeting?                                  12   A       I -- I personally would always at least
    13   A       To meet the new team that was in place            13   verbally communicate that that was the goal, that
    14   at Cardinal for their order monitoring service            14   there would be -- have to be agreement. That --
    15   system.                                                   15   whether or not that was said formally by Robin or
    16   Q       And why was there a new team?                     16   anyone else, I don't know.
    17   A       Perhaps retirement, reassignment. I               17   MS. CONROY:
    18   really don't know.                                        18   Q       Would it typically be your practice
    19   Q       Okay. And the attendees for Purdue                19   yourself or would Robin say, "If you do report
    20   Pharma were the, looks like, at least, most of            20   one -- if you, Cardinal, report one of your
    21   the members of the order monitoring committee;            21   retail pharmacies to the DEA, we would like to
    22   correct?                                                  22   know about it"?
    23   A       Yes.                                              23   A       She may have done that, or Giselle.
    24   Q       And this is an instance where Cardinal            24   Yeah. May have.
    25   explained what their due diligence system was             25   Q       There would be -- it was nothing
                                                      Page 319                                                  Page 321
     1   like? Is that fair?                                        1   controversial about that; correct? You -- there
     2   A       A discussion on each other's role,                 2   was no reason why you, Purdue, would not feel
     3   whether we're not -- whether or not we get into            3   entitled to know if Cardinal had reported one of
     4   the nuts and bolts of their system, probably in a          4   its outlets or retail outlets to the DEA;
     5   broad sense, yes, I guess it's fair.                       5   correct?
     6   Q       And where it says -- it looks like the             6   MR. HOFFMAN:
     7   order monitoring manufacturer/distributor                  7           Object to form.
     8   collaboration, there are a number of bullet                8   MR. PYSER:
     9   points. The first one, Cardinal talks about                9           Object. I'm going to object on that
    10   updated changes to the due diligence system.              10   prior question as well.
    11   Further down, Purdue, you have a general outline          11   A        My own personal view and my
    12   of your order monitoring system. Do you see               12   recollection and memory, there's nothing
    13   that?                                                     13   controversial about that.
    14   A       I do.                                             14   MS. CONROY:
    15   Q       And then there's a bullet point,                  15   Q        Because if you were -- if you were
    16   collaboration of efforts and mutual support.              16   gonna communicate with -- with Cardinal or any
    17   Would that be with respect to mutual support              17   other authorized distributor before you were
    18   communication with respect to suspicious orders           18   going to report their customers to the DEA, you
    19   that Purdue was identifying that potentially              19   were just looking for the same courtesy back;
    20   involved Cardinal's retail outlets, or retail             20   that if they actually reported those customers,
    21   accounts?                                                 21   that they let you know.
    22   A       Yes. Or -- or -- or the other way.                22   A        Generally speaking, yeah.
    23   Yes.                                                      23   Q        And -- and what was the reason? Why
    24   Q       And they're providing information up to           24   would you want to know at Purdue if Cardinal or
    25   you?                                                      25   one of your other authorized distributors

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     1   reported one of their retail pharmacies to the       1   sure. I can make sure these are -- exhibits are
     2   DEA?                                                 2   identified for the record without taking the time
     3   A       In my opinion, several reasons. One          3   to read in the Bates numbers.
     4   would be to note that in -- in our file so you       4   MR. GOLDMAN:
     5   could complete-refer it or close out or              5          Okay. Thank you.
     6   something.                                           6   VIDEOGRAPHER:
     7          And the other one would be, from my           7          We are now going off the video record.
     8   perspective, in continuing due diligence, to         8   The time is currently 5:54 p.m. This is the end
     9   sooner or later find out what other wholesaler       9   of media number 5.
    10   might have picked up that business.                 10              (OFF THE RECORD.)
    11   Q       Right. Because you would want to be         11   VIDEOGRAPHER:
    12   able to then say to the next wholesaler that you    12          We are now back on the video record
    13   would -- who would then be an authorized            13   with beginning of media number 6. The time is
    14   wholesaler for Purdue products, "Hey, we just had   14   currently 6:07 p.m.
    15   a problem with this pharmacy, with Cardinal or      15   MS. CONROY:
    16   whoever it was as the authorized distributor.       16   Q       Mr. Crowley, did I understand your
    17   Keep your eyes open."                               17   testimony today that, although it's not something
    18   A       I think that's accurate.                    18   you would actually have been able to go and get,
    19   Q       And did you have occasions when that        19   you had Region 0 physician lists available to you
    20   happened or you can recall generally that that      20   on the order monitoring committee; correct?
    21   happened?                                           21   A       I don't agree with that. I'd have to
    22   MR. HOFFMAN:                                        22   completely -- I would have to ask for it or be
    23          Object to form.                              23   provided with some of it. I don't think I ever
    24   A       I -- I think it did happen. I would         24   had access to the whole list.
    25   have to dig a little bit to think, but I would      25   Q       Well, let me -- let me phrase it a
                                                 Page 323                                                 Page 325
     1   say it happened, yes.                                1   little differently.
     2   MS. CONROY:                                          2   A        Okay.
     3   Q         And that would be also one of the          3   Q        Did you have a reason to believe, if
     4   functions of the order monitoring database, that     4   you had asked for a -- a list of Region 0
     5   if -- if you had some type of a reference in         5   physicians as of November of 2012, that you would
     6   there to Cardinal referring one of their -- one      6   not receive it?
     7   of the pharmacies to the DEA, hopefully that         7   A        I -- I have no reason to believe that
     8   would pop up again if you were looking at another    8   would be the case. I would have received it.
     9   wholesaler that was -- that was supplying to that    9   Q        And did you ever have occasion to use a
    10   pharmacy?                                           10   Region 0 list or reason to use the names of
    11   MR. PYSER:                                          11   physicians that appeared on that list with
    12           Object to form.                             12   respect to any of the investigations you were
    13   A         Hopefully.                                13   conducting with particular pharmacies as part of
    14   MS. CONROY:                                         14   your suspicious order monitoring?
    15   Q         Right. But that's where it would show     15   MR. HOFFMAN:
    16   up; right?                                          16           Object to form.
    17   A         If the annotation was made.               17   A        I may have. That would not have been a
    18   Q         Right.                                    18   primary reason that I initiated a further study
    19   A         Yeah.                                     19   or investigation of a particular physician. They
    20   Q         Well, always assuming that.               20   may have also happened to be on Region 0, which I
    21   A         If.                                       21   would find out later, I mean, right.
    22   Q         We can put that one away.                 22   MS. CONROY:
    23           Want to take a break, and I can             23   Q        Okay. What about with respect to a
    24   identify --                                         24   pharmacy? Would you ever look or see if they
    25           Did we hit every one of these? I'm not      25   were -- if there was a Region 0 physician or more

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     1   than one Region 0 physician in the area of a         1   A        Coventry, Rhode Island. Yes.
     2   pharmacy that you were investigating?                2   Q        -- and affiliated in some fashion with
     3   A       A case-by-case basis, that may have          3   Purdue Pharma.
     4   happened, yes.                                       4   A        That's correct.
     5   Q       And -- and would it be fair to say, on       5   Q        Right.
     6   a case-by-case basis, that may be relevant to you    6          Did you ever -- did you ever institute
     7   if there was a pharmacy across the street from a     7   a suspicious order monitoring program with
     8   Region 0 physician?                                  8   respect to its supply of product? I'm not
     9   A       I -- I think it could be relevant, yes.      9   talking about its -- I'm not talking about the
    10   Q       But that would be something case by         10   manufacturing part of the company.
    11   case?                                               11   A        I did not.
    12   A       Yes.                                        12   Q        Okay. Do you know if anyone else ever
    13                                                       13   has?
                                                             14   A        I do not.
                                                             15   Q        Do you know who the authorized
                                                             16   distributors are for Rhodes?
                                                             17   A        The -- are we speaking of Rhodes
                                                             18   Pharmaceuticals, I believe it is?
                                                             19   Q        That's one of the -- that's one of the
                                                             20   corporate names, yes.
                                                             21   A        One of them? Okay.
                                                             22          Towards the time that I was leaving,
                                                             23   shall I say, or my last period of time, a year or
                                                             24   two -- may have been longer, but I don't think
                                                             25   so -- that company was trying to develop the
                                                                                                          Page 329
                                                              1   ability to sell generic oxycodone and
                                                              2   maybe -- maybe something else, morphine. I -- I
                                                              3   don't remember.
                                                              4          They did not have the ability to
                                                              5   distribute, so their authorized distributor was
                                                              6   going to be Purdue Pharmaceuticals in Wilson,
                                                              7   North Carolina, which would have been used sort
                                                              8   of the same way a third-party, you know,
                                                              9   distributor would be used.
                                                             10          So I -- I'm -- I'm generally aware of
    11   Q      Did you ever implement a suspicious          11   that. Don't know how long that would have taken
    12   order monitoring program with respect to supply     12   place.
    13   of Purdue product coming from Rhodes?               13   Q        And you don't know one way or the other
    14   MR. GOLDMAN:                                        14   whether or not, at Rhodes Pharmaceuticals, there
    15         Objection.                                    15   was a suspicious order monitoring program set up
    16   MR. HOFFMAN:                                        16   to determine whether or not the retail accounts
    17         Object to the form.                           17   where the product was going were triggering as
    18   MR. GOLDMAN:                                        18   unusual or however the suspicious order
    19         Go ahead.                                     19   monitoring algorithm would have worked?
    20   A      Rhodes?                                      20   MR. HOFFMAN:
    21   MS. CONROY:                                         21          Object to form.
    22   Q      Rhodes, the company. I -- there are a        22   A        I -- I -- I don't have direct
    23   number of different names: Rhodes Technologies,     23   knowledge, no.
    24   Rhodes -- several. It's in -- located in            24   MS. CONROY:
    25   Rhode Island and --                                 25   Q        Do you not know one way or the other

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     1   whether there was a suspicious order monitoring              1   distribution.
     2   program in place?                                            2   Q        Do you still read his blog?
     3   A        I -- I remember discussions, but not to             3   A        It -- it appears in my email. Don't
     4   the extent that I was involved in it.                        4   always read it. I haven't got the time.
     5   Q        Okay. And did you ever have                         5   Q        And did you provide comments to the
     6   discussions at Wilson about a suspicious order               6   blog anonymously during the time you were at
     7   monitoring program being set up if, in fact,                 7   Purdue? This -- this email is around March of
     8   Wilson was going to become a distributor of                  8   2008, when you asked to be -- you asked your
     9   Purdue products or Rhodes Pharmaceuticals'                   9   comments to be anonymous. But did you, after
    10   products?                                                   10   this date, submit comments to Dr. Fein's blog?
    11   A        I really do not.                                   11   A        After this, no.
    12   Q        Did Purdue have affiliations or own any            12   Q        And why is that?
    13   other distribution arms other than Wilson? And              13   A        I never had the --
    14   I -- I don't mean to characterize Wilson that               14          Why did I ever not comment on any of
    15   way, but...                                                 15   his --
    16   A        At -- at the time of --                            16          I -- I didn't think -- feel the need, I
    17   Q        When you were there.                               17   guess.
    18   A        While I was there.                                 18   Q        Okay.
    19           The facility at Totowa, New Jersey,                 19   A        Yeah.
    20   P.F. Labs, was still technically registered at              20   Q        Do you -- do you comment on blogs, any
    21   that time, so potentially that could have been.             21   other blogs?
    22           But, no, they did not have another                  22   A        The only other blogs that I comment on
    23   distribution facility, no.                                  23   have to do with the Boston College sports.
    24   Q        Do you know if Totowa in New Jersey had            24   Q        My mother's an Eagle.
    25   a suspicious order monitoring program in place?             25   A        Oh, really.
                                                          Page 331                                                Page 333
     1   A       I believe they had a suspicious order                1   Q        And my brother's a double Eagle. No,
     2   monitoring program that was broad and general,               2   he's a triple Eagle. So that's a good blog.
     3   and by the time these guidelines started to come             3         (CROWLEY EXHIBIT NUMBER 29
     4   out, that -- that facility was in the process of             4          WAS MARKED FOR IDENTIFICATION.)
     5   being phased out, so...                                      5   MS. CONROY:
     6   Q       Okay.                                                6   Q        Let me hand to you Exhibit 29, which is
     7         (CROWLEY EXHIBIT NUMBER 28                             7   PPLPC018000310389. I'm sorry. 88 to 89. I have
     8          WAS MARKED FOR IDENTIFICATION.)                       8   it backwards.
     9   MS. CONROY:                                                  9          This appears to be, starting on August
    10   Q       Let me show you what I've marked as                 10   6th of 2009, an email from Bill Mahoney at
    11   Exhibit 28, which is PPLPC031000423- --                     11   McKesson to you saying, "I know neither one of us
    12   A       Oh, yeah. I'm sorry.                                12   is a doctor, but would you consider prescription
    13   Q       -- -731 through 734. This is an email               13   of 330 OxyContin, 80 milligrams, and 390
    14   from you to Adam Fein. But what I'm actually                14   oxycodone, 30 milligrams, to a single patient on
    15   gonna ask you about is way toward the end, which            15   a monthly basis to be for a medical purpose?"
    16   you are asking Dr. Fein at pembrokeconsulting.com           16          Do you see that?
    17   if he would publish your blog comment anonymously           17   A        I first heard it. I'm sorry. I
    18   rather than how it went in as Big Jack Krack,               18   was --
    19   with a K.                                                   19   Q        Go to page 89. That's --
    20          Did you -- did you have a blog?                      20   A        Yeah. I'm sorry.
    21   A       No, I did not. No.                                  21   Q        Yep. And Bill Mahoney --
    22   Q       What was -- what was Dr. Fein's blog                22   A        Yes.
    23   about, generally?                                           23   Q        -- at McKesson's --
    24   A       He has a very comprehensive blog on                 24   A        Yes.
    25   matters relating to pharmacy operations and                 25   Q        -- asking you a question about --

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     1   A        I see it.                                   1   A       I don't.
     2   Q        Okay. And then you get back to him and      2         (CROWLEY EXHIBIT NUMBER 31
     3   you say, "Hello, Bill. I'm not comfortable with      3          WAS MARKED FOR IDENTIFICATION.)
     4   those amounts. I'd be curious why the doctor is      4   MS. CONROY:
     5   writing those and why the pharmacist is filling."    5   Q       Let me show you what I've marked as
     6           And then you kind of go through a whole      6   Exhibit 31, PPLPC023000234301 through 303. And
     7   calculation about what that would actually mean      7   here you -- this is a continuation a couple of
     8   practically.                                         8   days later to Mr. Bill Mahoney, and you tell him
     9           And you say you would get -- "I'll get       9   when used appropriately --
    10   you a better medical opinion as soon as I can,      10          You say, first of all, "Would you like
    11   but this does not appear to be a legitimate         11   to discuss this with Purdue Medical Services?"
    12   medical purpose on its face."                       12          Do you see that?
    13           Do you see that?                            13   A       I do.
    14   A        Spoken as a compliance person, yes. I      14   Q       And then you say, "I have seen the
    15   see it.                                             15   study that describes the maximum dose of
    16   Q        Okay. Did you often get questions like     16   OxyContin tablets."
    17   that, if you can recall, from distributors or       17          Do you see that?
    18   others about what you would consider a suspicious   18   A       I do.
    19   prescription?                                       19   Q       And where did you receive the study
    20   MS. SIDARTH:                                        20   describing the maximum dose of OxyContin tablets?
    21           Objection to the form.                      21   A       I don't recall. Would -- would have to
    22   A        No. Not this type of a question, no.       22   rely on this chain here.
    23   MS. CONROY:                                         23   Q       Would that be something you would have
    24   Q        Okay.                                      24   had in your office or would it be likely
    25          (CROWLEY EXHIBIT NUMBER 30                   25   something that Dr. Haddox provided you with?
                                                 Page 335                                                     Page 337
     1          WAS MARKED FOR IDENTIFICATION.)               1   A        It would not have been in my office,
     2   MS. CONROY:                                          2   no.
     3   Q       Now let me give you Exhibit 30, which        3   Q        Would it be reasonable to believe
     4   is PPLPC022000271055 through 56. And it looks        4   that -- that it's something that you received
     5   like you forward the question about 330              5   from Dr. Haddox?
     6   OxyContin, 80 milligrams, and 390 oxycodone, 30      6   MR. HOFFMAN:
     7   milligrams, to a single patient to Dr. David         7           Object to form.
     8   Haddox.                                              8   A        It's reasonable to believe that I
     9          Do you see that?                              9   received it from someone in Medical Services.
    10   A       I do.                                       10   Possibly from him, but I can't be certain.
    11   Q       And Dr. Haddox tells you to give him a      11   MS. CONROY:
    12   call, puts his number there.                        12   Q        Okay. And then you go on to tell Bill
    13          Do you see that?                             13   Mahoney, "When used appropriately, there is no
    14   A       I do.                                       14   established or fixed upper limit on the dosage of
    15   Q       Do you know Dr. Haddox?                     15   full, single-entity opioid agonists such as
    16   A       Yes.                                        16   oxycodone."
    17   Q       Is he someone that you would                17           Do you see that?
    18   communicate with regularly?                         18   A        Yes.
    19   A       No.                                         19   Q        Is that information you would have
    20   Q       Why is it that you went to Dr. Haddox       20   received from someone or is that something that
    21   with this question?                                 21   you would have known and been able to type?
    22   A       Well, he was a qualified medical            22   A        I would have received that from
    23   director of our -- in our company.                  23   someone.
    24   Q       And do you recall whether or not you        24   Q        Do you typically use the term "opioid
    25   did have a telephone conversation with him?         25   agonist"?

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     1   A        I don't, no.                                1   percentages, would that have been something that
     2   Q        Do you know what that is?                   2   was provided to you and then you cut and pasted
     3   A        Generally.                                  3   it and put it into an email to McKesson?
     4   Q        Okay. And did you know that there --        4   A       I think that's right.
     5   or did you understand that there was no              5   Q       Okay. And then where you say at the
     6   established or fixed upper limit on the dosage of    6   bottom of the page "The pharma should --
     7   full, single-entity opioid agonists such as          7   pharmacist should have ample documentation on
     8   oxycodone?                                           8   such a patient, in my opinion, and would have to
     9   A        Not generally, no.                          9   defend his professional reasons for filling those
    10   Q        Was that a surprise to you, that           10   prescriptions," do you see that?
    11   there -- there was no limit on the dose?            11   A       I do.
    12   MR. HOFFMAN:                                        12   Q       And on what is -- is that based that a
    13           Object to the form.                         13   pharmacist should have ample doc- -- ample
    14   A        Not completely. But I would look at        14   documentation on such a patient? What kind of
    15   that as more of an academic research paper.         15   documentation are you talking about?
    16   MS. CONROY:                                         16   A       Documentation from the prescriber on a
    17   Q        Did -- did you read the study, Maximum     17   treatment plan, goals, what the level of
    18   Dose of OxyContin Tablets, or were you just         18   medication would be, what the long- -- short-term
    19   referencing it for Mr. Mahoney?                     19   and long-term plan is to treat this patient, why
    20   A        Oh, I was just referencing it              20   would a patient be on the high end of the -- of
    21   to -- to -- to show that, you know, it's not easy   21   the spectrum, so to speak.
    22   to answer that question as a compliance person,     22          In other words, how can you justify
    23   so...                                               23   this? We need your professional opinion because
    24   Q        Okay. If you look further down at the      24   we're nonprofessionals looking at this.
    25   fifth paragraph, it says, at the last sentence,     25   Q       And is it your understanding that a
                                                 Page 339                                                 Page 341
     1   "This patient would be receiving a daily dose,"      1   pharmacist presented with a legitimate
     2   quote, "at the highest end for sure."                2   prescription would not fill such a prescription
     3          Do you see that?                              3   unless they had a treatment plan or some
     4   A       I do.                                        4   understanding in addition to the size of the
     5   Q       Would you have had an understanding at       5   prescription or the -- the -- the dose and the
     6   that time of what a high-end dose would be? For      6   volume of the prescription?
     7   example, did you know whether there were other       7   MR. HOFFMAN:
     8   higher doses out there?                              8          Object to form.
     9   MR. HOFFMAN:                                         9   A       I would say that should be the --
    10          Objection.                                   10   should be the professional standard. Whether or
    11   A       It was the number of tablets times the      11   not a pharmacist would fill a prescription
    12   milligram. So only what I read that what the        12   without such a thing, I -- I really don't know.
    13   range is, 80 milligrams to 1360 milligram.          13   MS. CONROY:
    14   MS. CONROY:                                         14   Q       Well, what --
    15   Q       Did you have an understanding that that     15          Have you ever seen that, a pharmacist
    16   range --                                            16   that has a treatment plan? Is that something
    17          So when you're -- the median daily dose      17   you're familiar with?
    18   of OxyContin was 120 milligrams, is that coming     18   A       Generally speaking, yes.
    19   from the study that describes the maximum dose of   19   Q       Okay. And -- and how are you familiar
    20   OxyContin tablets?                                  20   with that?
    21   A       That may have been a corresponding          21   A       I think I have, in my experience, seen
    22   document. I -- I don't recall. I'm sorry.           22   some, but I've also studied up on it. I've
    23   Q       Would this -- would the -- would the        23   become aware of what -- what -- what the standard
    24   substance of this email about the median daily      24   should be for -- for managing pain patients and
    25   dose and the eight clinical trials and the          25   so forth.

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                                                     Page 342                                                  Page 344
     1   Q        And when did you study up on that?               1   MR. HOFFMAN:
     2   A        Sometime during my employment at                 2          Object to the form.
     3   Purdue.                                                   3   A        I do not, and I don't think I did.
     4   Q        So, during your employment at Purdue,            4   MS. CONROY:
     5   you studied up on what -- the parameters of               5          I think my time is up.
     6   prescribing for a pain patient -- prescribing a           6   MR. GOLDMAN:
     7   controlled substance?                                     7          Okay.
     8   A        My understanding of the parameters               8   VIDEOGRAPHER:
     9   might -- might be different than yours, so I'd            9          We are now going off the video record.
    10   have to apologize. But what should be included           10   The time is currently 6:34 p.m.
    11   in a treatment plan in order to prescribe levels         11               (OFF THE RECORD.)
    12   of -- of a -- of an opioid.                              12   VIDEOGRAPHER:
    13   Q        Right.                                          13          We are now back on the video record.
    14          What I'm talking about is when you said           14   The time is currently 6:48 p.m.
    15   "I've studied up on it, I've become aware of what        15                 EXAMINATION
    16   the standing should be for managing pain patients        16   BY MR. PYSER:
    17   and so forth." So --                                     17   Q        Good afternoon, or I guess evening,
    18   A        I -- I'm sorry. Where is that?                  18   Mr. Crowley. My name is Stephen Pyser. I
    19   Q        That's what you said a few minutes ago.         19   represent Cardinal Health.
    20   A        Oh, oh, oh, oh.                                 20          Before today, have we ever spoken or
    21   Q        And, so, I'm -- I'm -- that's what I'm          21   met?
    22   asking you about. Where did you -- where did you         22   A        No, to my knowledge.
    23   get that understanding while you were at Purdue?         23   Q        I don't remember either.
    24   What -- what were you -- what were you looking at        24          Earlier today, counsel for the
    25   or studying to become aware of the standing for          25   plaintiffs presented you Exhibit 4. Do you have
                                                       Page 343                                                Page 345
     1   managing pain patients and so forth?                      1   Exhibit 4 in front of you?
     2   MR. HOFFMAN:                                              2   A        I do.
     3          Objection to form.                                 3   Q        Okay. And it's -- it's been a while.
     4   A       I'm a Google type person, Internet                4   Can you remind us what Exhibit 4 is, where it
     5   person, so I would con- -- consult sources from           5   came from?
     6   American Medical Society, American Society of             6   A        It's a document that lists excerpts
     7   Addiction Medicine, whatever like that; that that         7   from two letters from DEA, Joseph Rannazzisi, and
     8   would be my main thing.                                   8   with some emerging interpretation at the bottom
     9   MS. CONROY:                                               9   of that, and it came from my personal file.
    10   Q       Would you look at the American Pain              10   Q        So these are some notes you kept on
    11   Society?                                                 11   your file -- in your files?
    12   A       I may have, yes.                                 12   A        That's correct.
    13   Q       The American Pain Foundation?                    13   Q        Okay. And, at the bottom in
    14   A       I don't know what that is, so I don't            14   particular, you had a piece about emerging
    15   know.                                                    15   interpretation, 2008 through 2012, in
    16   Q       Okay. But you would -- your studying             16   parentheses; right?
    17   would have included -- you would have -- you             17   A        Yes.
    18   would have Googled how to manage pain patients or        18   Q        I'm gonna ask you a couple questions
    19   something like that?                                     19   about that. But, generally speaking, in this
    20   A       Professional standards for -- for that,          20   time period, 2007 and 2008, was DEA broadening
    21   yes.                                                     21   their guidance for registrants, meaning
    22   Q       And do you recall any other instances            22   distributors and manufacturers?
    23   when you informed any of the authorized                  23   MS. CONROY:
    24   distributors about what would or would not be an         24          Objection.
    25   appropriate prescription?                                25   A        That -- that was my impression. I

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     1   mean, they're trying to -- I guess that's a good     1   fair -- is that a fair description of -- of how
     2   word, "broaden."                                     2   you saw the Rannazzisi letters?
     3   MR. PYSER:                                           3   A         Yes.
     4   Q       Well, let's go back to what the              4   Q         And, just to be clear, did you see the
     5   regulation is. The original regulation is -- or      5   Rannazzisi letters as an expansion of the plain
     6   the regulation --                                    6   language of the regulation?
     7   A       Right.                                       7   A         That's the way I -- I would describe
     8   Q       -- for suspicious order monitoring           8   it. That's my understanding, yes.
     9   reporting, that's 21 CFR 1301.74(b). Are you         9   Q         At the bottom of the -- of the first
    10   familiar with that?                                 10   page of your notes, there's this section,
    11   A       Yes, I am.                                  11   emerging interpretation, 2008 through 2012.
    12   Q       And that -- the actual language of the      12   A         Could I back up for a second?
    13   regulation hasn't changed since the 1970s; right?   13           It's an expansion, but it's a goal. I
    14   A       It's never changed.                         14   mean, was it -- I don't have to say anything
    15   Q       But, over time, since it was                15   else.
    16   established in the 1970s, has DEA periodically      16           It -- it's -- I think I -- I believe I
    17   issued new guidance or interpretations of how       17   said earlier DEA was asking for industry's help
    18   distributors and manufacturers should act?          18   and they're giving more information, more
    19   MS. CONROY:                                         19   guidance; but it is, in fact, an expansion,
    20          Objection.                                   20   right.
    21   A       This was the only guidance type letter      21   Q         Thank you for that --
    22   that I'm -- letters that I'm familiar with DEA      22   A         Okay.
    23   ever sending out to any entire industry of          23   Q         -- clarification.
    24   manufacturers and distributors.                     24           So in your notes, you -- you write
    25          The --                                       25   "Emerging interpretation, 2008 through 2012 and
                                                 Page 347                                                Page 349
     1           Excuse me.                                   1   present."
     2           So to say "periodically," I don't think      2          Do you see that?
     3   would be accurate. These -- these are more           3   A       Yes.
     4   unique.                                              4   Q       And I want to go to the -- the next
     5   MR. PYSER:                                           5   page and look at a couple of your comments in
     6   Q         So these letters, the 2007 Rannazzisi      6   particular or your notes on this.
     7   letter --                                            7          The last three, you said in your notes,
     8   A         Right.                                     8   quote, "Must conduct an independent analysis of
     9   Q         -- that was a set of guidance for          9   suspicious orders prior to completing sale."
    10   industry. Is that fair?                             10          Do you see that?
    11   MS. CONROY:                                         11   A       I do.
    12           Objection.                                  12   Q       Okay. And this was part of this
    13   A         I think that was the intention, yes.      13   expansion or emerging interpretation, as you
    14   MR. PYSER:                                          14   described it in your notes. Is that right?
    15   Q         And earlier today you were                15   A       Yes. It may have -- this actual
    16   testifying -- I guess counsel was asking you some   16   language may have come after that letter. I -- I
    17   questions -- you said -- and I'm quoting from the   17   really don't know without seeing the -- the
    18   rough transcript as to the Rannazzisi letters --    18   entire letter.
    19   quote, "The first thing I noticed was that it was   19   Q       But it's sometime in this time period,
    20   an expansion of the plain language of the           20   this 2007-'8 time period. Is that fair?
    21   regulation."                                        21   MS. CONROY:
    22           Do you remember discussing that?            22          Objection.
    23   A         I remember discussing it. I don't         23   A       2007 -- well, later. I think -- I
    24   remember that I -- actual --                        24   think I have 2008 to 2012.
    25   Q         But that -- that's a -- that's a          25   MR. PYSER:

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     1   Q        Okay. So this -- this piece of it, you             1   also a part of these emerging interpretations?
     2   understood that this was an emerging -- excuse              2   A        Yes, that is.
     3   me -- an emerging interpretation as of roughly              3   Q        Just to -- to set us in time and place,
     4   2008. Is that fair?                                         4   this -- in 2008, you'd been doing compliance
     5   MS. CONROY:                                                 5   consulting or work for Purdue for about seven
     6          Objection.                                           6   years after you left DEA by that point?
     7   MR. PYSER:                                                  7   A        Yes. About, yeah.
     8   Q        It's part of what you put in your                  8   Q        So -- and you'd retired from DEA in
     9   notes. Is that right?                                       9   what year?
    10   A        Right. But that particular bullet may             10   A        2001.
    11   have come after 2008. But it's fair to say it              11   Q        After how many years?
    12   came in 2008 or later, no later than 2012. Yeah.           12   A        Twenty-eight and a half.
    13   Q        And, similarly, the -- the second                 13   Q        I want to just ask you about one other
    14   bullet, "Know your customers, don't rely on rigid          14   document we saw earlier. This is gonna be -- if
    15   formulas," that's also part of this new emerging           15   you go into the stack in front of you, it's gonna
    16   interpretation that you put in your notes -- is            16   actually be Number 17. So I think it's -- it's
    17   that right? -- in this time period?                        17   maybe the next one.
    18   A        That language may have been included in           18           There you go.
    19   one of these two letters, if not both, so it was           19   A        Okay.
    20   a reiteration of the advice, "Don't rely only on           20   Q        And Exhibit 17 is an email between you
    21   a rigid formula."                                          21   and someone at Cardinal Health. Do you see that?
    22   Q        So you're -- and when you say                     22   A        I do.
    23   "reiteration," you're reiterating something that           23   Q        Now, you were asked some questions
    24   DEA had recently said in one of these two                  24   about this email in particular. You were asked a
    25   letters. Is that -- is that fair?                          25   couple of questions about how Purdue and
                                                         Page 351                                                Page 353
     1   A       DEA or -- or other consulting groups or             1   manufacturers were gonna work with distributors
     2   anyone who may have made comments to -- some law            2   to aid each other in anti-diversion efforts. Do
     3   firms.                                                      3   you recall that line of questioning?
     4   Q       But my -- my point, I think, is --                  4   A        I'm sorry. I was concentrating on
     5   A       Right.                                              5   this.
     6   Q       -- just a little bit simpler than that.             6          I think I do. But should you repeat it
     7   A       Okay.                                               7   maybe?
     8   Q       It's that wherever exactly your -- your             8   Q        Sure.
     9   note came from, that "Know your customers, don't            9   A        I'm sorry.
    10   rely on rigid formulas," that was something that           10   Q        Do you recall answering --
    11   was being discussed in the industry as an                  11          No. Not a problem at all.
    12   emerge -- as you described it, an emerging                 12          Do you recall answering some questions,
    13   interpretation roughly in this time period. Is             13   when you were looking at this email, about how
    14   that right?                                                14   distributors and manufacturers such as Purdue
    15   A       That's --                                          15   were going to work with each other in their
    16   MS. CONROY:                                                16   anti-diversion efforts?
    17          Objection.                                          17   A        Yes.
    18   A       That's right. That's my understanding,             18   MS. CONROY:
    19   yeah.                                                      19          Objection.
    20   MR. PYSER:                                                 20   MR. PYSER:
    21   Q       And same thing for the -- for the last             21   Q        And did Purdue take steps, in this time
    22   bullet point, "Do not fill suspicious orders               22   period around 2008, to work with distributors in
    23   without first determining that order is not being          23   their joint anti-diversion efforts?
    24   diverted into other than legitimate medical,               24   A        In this time period?
    25   scientific, and industrial channels." That's               25   Q        Around 2008.

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     1   A       I -- I would recollect -- recall that        1   Purdue, and now is my chance to ask you some
     2   the answer to that is yes.                           2   questions. Okay?
     3   Q       And there was one part of this email         3   A       Yes.
     4   that, while you were being examined by               4   Q       Do you have in front of you Exhibit 27?
     5   plaintiff's counsel, you didn't speak to, and I      5   A       I do.
     6   wanted to draw your attention to that.               6   Q       Okay. I want to start there. And, for
     7          This is an email from you to some folks       7   the record, Exhibit 27 is a November 29, 2012,
     8   at Cardinal Health dated June 2nd, 2008. It's        8   email that attaches a March 23, 2009, SOP on the
     9   the bottom half of the email on the first page.      9   order management system. Is that correct?
    10          There you go. Sorry. The first page          10   A       Yes, that's correct.
    11   with writing on it.                                 11   Q       Okay. And I know you -- you had quite
    12   A       Okay.                                       12   an extensive discussion with plaintiff's counsel
    13   Q       And if you go there to the second           13   earlier. I just want to go back and talk about a
    14   paragraph that begins "Here's the latest            14   few aspects of this with you, if we could.
    15   reminder."                                          15          Turning to the page Bates ending
    16   A       Yes.                                        16   2466 --
    17   Q       Okay. You mention that, "I have known       17   A       Yes.
    18   Steve Reardon for years, and I have a very high     18   Q       -- you may recall earlier today there
    19   regard for your company."                           19   was quite a bit of discussion about whether it
    20          Do you see that language?                    20   was the policy of Purdue to reach agreement with
    21   A       Yes.                                        21   wholesalers and distributors before reporting to
    22   Q       Who is Mr. Reardon?                         22   or referring to DEA.
    23   A       He was a vice president in charge of        23          Do you recall that?
    24   compliance, I think was his title, at Cardinal in   24   A       Yes.
    25   Dublin, Ohio.                                       25   Q       If we go through some aspects of this
                                                 Page 355                                                Page 357
     1   Q       And when you say you'd known him for         1   SOP, I've highlighted the sections that I'd like
     2   years, does that even date back prior to 2001        2   to discuss with you.
     3   or --                                                3          At the top there, do you see where it
     4   A       Yes.                                         4   says "Follow-Up from the OMS committee may
     5   Q       So you've known him for years,               5   include a discussion with the authorized
     6   including the time when you were at DEA; right?      6   distributor"? Do you see that?
     7   A       That's correct.                              7   A        I do.
     8   Q       And, just to be clear, when you say "I       8   Q        And it says, "If a referral is to be
     9   have a very high regard for your company," what      9   made to the Drug Enforcement Administration
    10   company are you speaking about there?               10   (DEA), that will be handled by CSA compliance."
    11   A       Cardinal.                                   11   Is that right?
    12   MR. PYSER:                                          12   A        I see that. That's right.
    13          Thank you very much, sir.                    13   Q        And that would be you and CSA
    14          No further questions.                        14   compliance. Is that fair?
    15   VIDEOGRAPHER:                                       15   A        That's right.
    16          We are now going off the record. The         16   Q        Okay. And the language here is the
    17   time is currently 7:00 p.m.                         17   follow-up "may" include a discussion. Is that
    18             (OFF THE RECORD.)                         18   right?
    19   VIDEOGRAPHER:                                       19   A        That's correct.
    20          We are now back on the video record.         20   Q        It then goes on to talk about notifying
    21   The time is currently 7:04 p.m.                     21   the distributors if a retail account is in
    22               EXAMINATION                             22   question.
    23   BY MR. HOFFMAN:                                     23          Do you see that?
    24   Q       Good evening, Mr. Crowley. My name is       24   A        Yes.
    25   Nathan Hoffman. For the record, I represent         25   Q        Then, at the bottom, it also discusses

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     1   near the end of this process, after the reviewing    1   sitting here today, even ballparking over your
     2   team is looking at all of this information, it       2   years at Purdue, how many discussions you would
     3   says, "It will then discuss and perform next         3   have had as part of your routine duties with DEA
     4   steps, as appropriate, and coordinate its            4   agents as part of the suspicious order monitoring
     5   assessment with the authorized distributor."         5   program?
     6          Do you see that?                              6   A       Probably several hundred, at least.
     7   A       I do.                                        7   And that's conservative.
     8   Q       And is it fair to say that's always the      8   Q       Okay. You mentioned, I believe, some
     9   goal of the SOP is to have that type of              9   examples, at least a couple of examples, maybe
    10   coordination with the wholesaler or distributor?    10   more, when you recalled Purdue referring retail
    11   MS. CONROY:                                         11   pharmacies to DEA without necessarily having a,
    12          Objection.                                   12   you know, a specific agreement or -- I don't know
    13   A       I believe -- I believe so.                  13   how I can characterize it -- I guess a specific
    14   MR. HOFFMAN:                                        14   agreement with wholesalers or distributors. Do
    15   Q       And, then, going over to the next page,     15   you recall that?
    16   under "Filing Suspicious Order Reports," you had    16   A       I -- I think so. I do.
    17   some discussion with plaintiff's counsel about      17   Q       And I believe one of the examples you
    18   this section as well, and I want to call your       18   mentioned was after the reformulation of
    19   attention to the second sentence. It says, "Once    19   OxyContin, you noticed at Purdue, you and your
    20   a determination that an order is suspicious has     20   colleagues in the suspicious order monitoring
    21   been made, a phone call to report the order to      21   program noticed that certain pharmacies, their
    22   the local DEA office is recommended to meet this    22   orders of the reformulated OxyContin had fallen
    23   requirement."                                       23   off substantially, perhaps greater than 75
    24          Do you see that?                             24   percent.
    25   A       I do.                                       25          Do you recall that?
                                                 Page 359                                                 Page 361
     1   Q       And I believe you had some discussion        1   A       I do.
     2   with plaintiff's counsel about formal referrals      2   Q       And, just so we're clear on the record,
     3   versus less formal conversations, discussions,       3   when we say the reformulation of OxyContin, what
     4   and reports that you may have had with the DEA.      4   did that reformulation entail or what was the
     5          Do you recall that?                           5   purpose of it?
     6   A       Yes, I do.                                   6   A       The purpose was to --
     7   Q       And correct me if I'm wrong, but I           7   MS. CONROY:
     8   believe earlier today you described those            8          Objection.
     9   conversations -- I guess those ongoing               9   A       -- make the tablet much more, if not
    10   conversations with DEA agents as somewhat           10   impossible, to crush or snort, if I could say it
    11   routine. Is that fair?                              11   that way.
    12   A       I think that's accurate.                    12   MR. HOFFMAN:
    13   MS. CONROY:                                         13   Q       Okay. So what, if anything, would a
    14          Objection.                                   14   pharmacy's decrease in orders, substantial
    15   MR. HOFFMAN:                                        15   decrease, perhaps over 50 percent, 75 percent,
    16   Q       Okay. As part of your routine duties        16   whatever the quantification is, why would that be
    17   and discussions with DEA agents, did you always     17   significant in the context of the reformulation
    18   reach agreement with the wholesalers and            18   of OxyContin as you've described it?
    19   distributors or notify them of each and every       19   MS. CONROY:
    20   discussion that you were having with DEA?           20          Objection.
    21   A       I would say no. I tried to inform them      21   A       Would -- may or would indicate that
    22   afterwards.                                         22   patients of those pharmacies were not interested
    23   Q       Okay.                                       23   in the new product.
    24   A       Right.                                      24   MR. HOFFMAN:
    25   Q       Is there any way for you to quantify,       25   Q       Because of being more difficult to

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     1   abuse? Is that fair to say?                          1   recollection that you were involved in at least
     2   MS. CONROY:                                          2   one of those meetings?
     3           Objection.                                   3   A        It does. I think I was mixed up on my
     4   A        I think that's fair to say.                 4   previous answer, and I'd like to correct that. I
     5   MR. HOFFMAN:                                         5   apologize. Yeah.
     6   Q        Okay.                                       6   Q        It goes on to talk about how the list
     7          (CROWLEY EXHIBIT NUMBER 32                    7   was compiled and some of the criteria that were
     8           WAS MARKED FOR IDENTIFICATION.)              8   used. And I believe earlier today there was just
     9   MR. HOFFMAN:                                         9   a number thrown out there of 150 pharmacies that
    10   Q        Let me hand you what I've marked as        10   met the criteria and were referred to DEA.
    11   Exhibit 32 to your deposition. I'll ask you to      11           Do you recall that?
    12   take a look at Exhibit 32. And after you've had     12   A        I do.
    13   a chance to review it, can you tell me whether or   13   Q        This document actually indicates that
    14   not this is the referral to DEA that you            14   the total pharmacies that met the criteria is
    15   referenced earlier in your testimony in 2011        15   285.
    16   regarding slow pharmacies after the reformulation   16           Do you see that?
    17   of OxyContin?                                       17   A        I do.
    18   A        I -- it is, yes. That's -- that's what     18   Q        And, in fact, if we look at the
    19   it is.                                              19   exhibit, Exhibit 32, you see that it includes a
    20   Q        Okay. So here is the email, Exhibit        20   list of each of those -- each of those 285
    21   32. It is dated Friday, October 7, 2011.            21   pharmacies, as well as the criteria being used to
    22           Do you see that?                            22   evaluate those pharmacies?
    23   A        I do.                                      23   A        I do.
    24   Q        And it is from -- looks like it's from     24   Q        And, so, this was, in fact, the
    25   you to somebody at usdoj.gov. Do you see that?      25   referral that you mentioned earlier in your
                                                 Page 363                                                 Page 365
     1   A       I do.                                        1   testimony in 2011, and it involved 285 total
     2   Q       And can you tell us who that individual      2   retail pharmacies being referred to FDA.
     3   is?                                                  3   A        DEA.
     4   A       Barbara Boockholdt at the time was the       4   Q        DEA. I'm sorry. Maybe I'll -- let me
     5   chief of the Regulatory Unit, Office of Diversion    5   strike that and I'll back up and re-ask my
     6   Control, one of the -- the staff members of --       6   question. I do that sometimes.
     7   primary staff chiefs of Joe Rannazzisi.              7          So Exhibit 32, was this, in fact, a
     8   Q       And, over time, had you been having          8   referral that you mentioned earlier in your
     9   ongoing conversations with Barbara, among others     9   testimony in 2011, and it involved 285 total
    10   at DEA?                                             10   retail pharmacies being referred to DEA?
    11   A       Yes.                                        11   A        Yeah. The testimony I gave today about
    12   Q       So this is somebody that you had some       12   2011, yes.
    13   form of working relationship with?                  13   Q        Yeah.
    14   A       Yes.                                        14          Okay. Going now to Exhibit 8 --
    15   Q       If we look at the email, first              15          Do you have Exhibit 8 in front of you?
    16   sentence, it says, "Thank you very much for your    16   A        I do.
    17   time you and supervisory investigators Levin and    17   Q        Oh, I'm sorry. Before we move off of
    18   Arnold spent with Robin and me on Tuesday."         18   Exhibit 32, I had one more question I wanted to
    19          Do you see that?                             19   ask you.
    20   A       I do.                                       20          So there was -- there was a question
    21   Q       So I believe your testimony earlier         21   posed or maybe a couple questions posed earlier
    22   today was that you didn't recollect being           22   today by plaintiff's counsel --
    23   involved in these meetings with DEA; correct?       23          I wrote it down and hope I captured it
    24   A       I recall I said that, yes.                  24   correctly.
    25   Q       Does this help refresh your                 25          -- about touting the benefits or one of

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     1   the reasons to submit this information to FDA was    1   know, on the ground, understanding doctors,
     2   to tout the benefits of reformulated OxyContin.      2   under- -- interviewing, you know, local doctors
     3          Do you -- do you recall that?                 3   and a pharmacist, for example, if they could come
     4   A       I do.                                        4   to that understanding that Region 0 doctors or
     5   Q       Is there -- is there any mention in          5   Region 0 prescribers were filling prescriptions
     6   this referral, in the email, or anywhere that you    6   at a particular pharmacy.
     7   see about touting the benefits of reformulated       7   A        That would be one source, yes.
     8   OxyContin?                                           8   Q        And then this report also mentions
     9   A       No.                                          9   another source, at least, at this time, would be
    10   Q       Okay. I'm sorry. Now going to Exhibit       10   looking at the savings card information, the data
    11   8, you had a series of discussions today with       11   that was being returned to FDA regarding savings
    12   plaintiff's counsel regarding something referred    12   card utilization.
    13   to as "Region 0 prescribers." Do you recall         13          Do you see that?
    14   that?                                               14   A        Returned to DEA, yes. I mean -- I'm
    15   A       I do.                                       15   sorry.
    16   Q       And one of the sources of information       16   MS. CONROY:
    17   for Region 0 prescribers that you were asked        17          You said FDA.
    18   about was a list kept by Purdue in the ordinary     18   THE WITNESS:
    19   course of business.                                 19          I'm sorry.
    20          Do you recall that?                          20   MR. HOFFMAN:
    21   A       Yes.                                        21   Q        Did I say FDA again?
    22   Q       Now, in addition to that list, does         22   MR. GOLDMAN:
    23   this particular report, which is dated October      23         You said FDA, and you said DEA.
    24   28, 2010, does it also mention that, based upon     24   THE WITNESS:
    25   reports of concern, ROCs --                         25          Yeah. Yeah. We're all --
                                                 Page 367                                                 Page 369
     1          Do you see that?                              1   MS. CONROY:
     2   A        I do.                                       2          Yes. I'm not sure you meant either one
     3   Q        -- ROCs from field sales force              3   of them.
     4   indicating the pharmacy was filling prescriptions    4   THE WITNESS:
     5   written by Region 0 prescribers?                     5          We're all confused. We're all
     6          Do you see that?                              6   confused.
     7   A        Yes.                                        7   MR. HOFFMAN:
     8   Q        So would it be fair to say that's           8          I'm sorry. It's late in the day.
     9   another source of information whereby Purdue         9   Thank you. Thank you for telling me that.
    10   could determine whether or not Region 0             10   THE WITNESS:
    11   prescribers were filling prescriptions at a         11          Sure.
    12   particular location; in other words, by the sales   12   MR. HOFFMAN:
    13   force telling Purdue that in a report of concern?   13          I apologize.
    14   A        I'm sorry. It -- that's available to       14   Q        Let me go back, and I'll try to re-ask
    15   Purdue, that prescriptions written by Region 0      15   the question.
    16   prescribers, yes. That's --                         16          Then on the next page of this report,
    17          I hate to ask you to repeat the              17   which is Bates 4665, it mentions another source
    18   question, but I --                                  18   of information provided to Purdue whereby Purdue
    19   Q        I'm just asking if that would be one       19   could see at least at some level that Region 0
    20   source --                                           20   prescribers were utilizing sales -- excuse
    21   A        Yeah.                                      21   me -- saving -- savings cards based on data that
    22   Q        -- whereby Purdue could receive that       22   was being returned to Purdue. Is that right?
    23   information. We talked about the list, but I'm      23   A        Yes.
    24   asking you now if a report of concern is another    24   Q        So we talked about at least three
    25   way where the sales force at the ground -- you      25   sources. Now we've talked about a list that was

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     1   kept in the ordinary course, we talked about              1   Q       You mentioned earlier today to
     2   reports of concern, and, at least in this                 2   plaintiff's counsel that you do not believe the
     3   instance, we've also talked about the savings             3   L.A. Times article necessarily quoted you
     4   card program whereby those data could be accessed         4   accurately in certain circumstances.
     5   by Purdue. Is that fair?                                  5          Do you recall that?
     6   A       That's fair.                                      6   A       I do.
     7   Q       Now, going to Exhibit 5, which is the             7   Q       Okay. I want to show you a couple of
     8   L.A. Times article that plaintiff's counsel asked         8   statements in Exhibit 5, which, again, is the
     9   you about, before we get into any specifics in            9   L.A. Times article. If you go over -- and it
    10   the article, I want to go back and ask you about         10   doesn't have a Bates number, but if you go over
    11   some of your testimony earlier in the day.               11   to the page where, at the top, it has that map of
    12          You mentioned at one point -- I believe           12   MacArthur Park.
    13   it was this morning -- that in May of 2009 you           13   A       I'm sorry. I haven't found it yet.
    14   recall that Mark Geraci and perhaps others had           14   Q       Might be on the back of one of those
    15   meetings and discussions with DEA regarding              15   pages.
    16   certain pharmacies in -- in that time period.            16   MR. GOLDMAN:
    17          Is that right?                                    17          There it is.
    18   A       That's correct.                                  18   A       Oh, there it is. Okay.
    19   Q       And I believe plaintiff's counsel asked          19   MR. HOFFMAN:
    20   you if Lams Pharmacy was one of those pharmacies.        20   Q       I want to draw your attention to the
    21   A       I believe that was asked, yes.                   21   fourth paragraph. It says, "In an interview,
    22   Q       Okay. Can you tell us whether or not             22   Crowley said that in the five years he spent
    23   the St. Paul Pharmacy and the Lake Medical Group         23   investigating suspicious pharmacies, Purdue never
    24   was also a part of that discussion with DEA in           24   shut off the flow of pills to any store."
    25   May of 2009?                                             25          Do you see that?
                                                     Page 371                                                  Page 373
     1   A       I believe it was.                                 1   A        I do.
     2   Q       Okay. And what is your belief based               2   Q        And there's no quote there that's
     3   on?                                                       3   attributed to you, but it says "Crowley said,"
     4   A       Conversations with Luis Bauza and Mark            4   and then it goes on to characterize some
     5   Geraci himself.                                           5   statements.
     6   Q       Okay. And do you recall which DEA                 6           Do you see that?
     7   agent was involved in those discussions?                  7   A        I do.
     8   A       The two that I recall, one was Michael            8   Q        Okay. Do you -- do you believe that
     9   Lewis, who was a diversion program manager in             9   that's -- that accurately conveys what you said?
    10   Los Angeles, and the other -- I'm trying to think        10   A        No.
    11   of her name. She was assistant special agent in          11   Q        And why not?
    12   charge, and I can't be a hundred percent certain,        12   A        Because I don't believe I said that.
    13   but I think it was Lisa McElhaney, something, I          13   Q        Okay. And just help us understand. I
    14   think.                                                   14   guess if we -- if you can leave that exhibit out
    15   Q       Okay. And did you have follow-up                 15   and now if you go to Exhibit 13, which you should
    16   conversations with the folks at DEA after May of         16   also have in front of you.
    17   2009, when Mr. Geraci and Lou Bauza spoke with           17   A        Yes.
    18   them?                                                    18   Q        Exhibit 13, for the record, is a May 4,
    19   A       I did.                                           19   2011, email, and it goes through certain criteria
    20   MS. CONROY:                                              20   of OMS measures of effectiveness.
    21          Objection.                                        21           Do you recall that?
    22   MR. HOFFMAN:                                             22   A        I do.
    23   Q       Regarding, among other things,                   23   Q        I draw your attention to number 3. It
    24   Lake Medical and St. Paul's Pharmacy?                    24   says, "Reduction or Cut-Off Supply. Wholesaler
    25   A       I did.                                           25   reduces supply or stops supplying the outlet

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     1   based on due diligence review in coordination        1   Q       Based on your experience while on the
     2   with Purdue."                                        2   order monitoring committee, what is your view of
     3          Do you see that?                              3   Purdue's efforts to detect suspicious orders?
     4   A       I do.                                        4   MS. CONROY:
     5   Q       In fact, did that happen over the years      5          Objection.
     6   that you were involved in suspicious order           6   A       I -- I think we were leading the
     7   monitoring with Purdue?                              7   industry in terms of our efforts to monitor
     8   A       Yes.                                         8   suspicious orders and always continually --
     9   Q       And would that be in collaboration, as       9   continually trying to improve it. So I -- I -- I
    10   it says here, with the -- the wholesaler? And       10   thought we did the best we could at that time.
    11   the wholesaler being the one that actually          11   Yeah.
    12   reduces the supply or stops supplying the outlet.   12   MR. HOFFMAN:
    13   A       That's true. That's correct.                13   Q       In all your years at Purdue working on
    14   Q       Okay. And is that one of the reasons        14   suspicious order monitoring, you mentioned
    15   why this statement attributed to you may be         15   earlier having routine conversations with the
    16   misleading, in your view?                           16   DEA?
    17   MS. CONROY:                                         17   A       We did.
    18          Objection.                                   18   Q       Okay. So in all your years at Purdue
    19   A       Yes.                                        19   working on suspicious order monitoring, did
    20   MR. HOFFMAN:                                        20   anyone at FDA express to you any critique --
    21   Q       Okay. Now, if we go to one other            21   MR. GOLDMAN:
    22   page -- I guess it's -- it might be the last page   22          DEA.
    23   of the article. It's down near the bottom. The      23   MR. HOFFMAN:
    24   top of the page has -- it looks like some kind of   24   Q       Did I say it again?
    25   chain or medallion at the top of it.                25   A       It's okay.
                                                 Page 375                                                Page 377
     1   A        Okay.                                       1   Q       Unbelievable. I'm sorry about that. I
     2   Q        What I want to ask you about is a           2   talk about the FDA way too much. Thank you for
     3   statement --                                         3   that.
     4          Maybe I can get it a little closer            4          Let me back up and try this one more
     5   here. And, again, it says, "In hindsight,"           5   time.
     6   Crowley said, "he questions whether Purdue should    6          In all your years at Purdue working on
     7   have done more."                                     7   suspicious order monitoring, did anyone at DEA
     8          Do you see that?                              8   express to you any critique or complaint about
     9   MR. GOLDMAN:                                         9   Purdue's suspicious order monitoring system?
    10          Right here (indicating).                     10   MS. CONROY:
    11   A        Yes.                                       11          Objection.
    12   MR. HOFFMAN:                                        12   A       No. No.
    13   Q        And, again, it says "Crowley said," but    13   MR. HOFFMAN:
    14   there's no actual quotation that's attributed to    14          Thank you. I believe those are all the
    15   you. Is that right?                                 15   questions I have at this time.
    16   A        That's right.                              16   VIDEOGRAPHER:
    17   Q        Do you believe this is a fair              17          We are now going off the video record.
    18   conveyance of a quote that you actually provided    18   The time is currently 7:27 p.m.
    19   to the L.A. Times?                                  19              (OFF THE RECORD.)
    20   A        No.                                        20   VIDEOGRAPHER:
    21   Q        In your review of the L.A. Times           21          We are now back on the video record.
    22   article, do you believe that it accurately          22   The time is currently 7:29 p.m.
    23   depicted the efforts of Purdue's order monitoring   23                 EXAMINATION
    24   system?                                             24   BY MS. CONROY:
    25   A        No.                                        25   Q       Mr. Crowley, I'm gonna hand you what

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     1 I've marked as Exhibit 33 and 34.                      1   manufacturers and distributors to inform DEA of
     2          (CROWLEY EXHIBITS 33 and 34                   2   suspicious orders in accordance with 21 CFR
     3           WERE MARKED FOR IDENTIFICATION.)             3   1301.74(b)."
     4   MS. CONROY:                                          4          Do you see that?
     5   Q        And there are some copies behind it.        5   A        I do.
     6   It's the -- they are the two Rannazzisi letters.     6   Q        And you don't know one way or the other
     7   Exhibit 33 is the September 27th, 2006, letter,      7   whether the DEA believed this letter to be an
     8   and it's Allergan_MDL_02467796 through 799, and      8   expansion of the Controlled Substances Act. In
     9   Exhibit 34 is the December 27th of 2007 letter,      9   fact, they say it's a reiteration of the
    10   and it's Card- -- it's                              10   requirements of the Controlled
    11   CAH_MDL_PRIORPROD_DEA07_00866877 and 78.            11   Substances -- Substances Act; correct?
    12           You have -- you have read these letters     12   MR. HOFFMAN:
    13   in the past; is that correct, Mr. Crowley?          13          Object to the form.
    14   A        If they're the same letters that were      14   A        Well, that's what the first part says.
    15   addressed to Purdue, I have, yes.                   15   And then it begins, "In addition..."
    16   Q        Okay. And I -- I will -- I will            16   MR. GOLDMAN:
    17   represent to you that we've been talking about      17          Yeah, but listen -- please listen to
    18   the Rannazzisi letters.                             18   her question.
    19   A        Correct.                                   19   THE WITNESS:
    20   Q        These are -- these are the two -- the      20          I'm sorry.
    21   2006 letter and then the 2007 letter. Okay?         21   MR. GOLDMAN:
    22           And I just want to draw your attention      22          Because I think the question is do
    23   first, on Exhibit 33, to the front page, where it   23   you know one way or the other whether the DEA
    24   says, "The statutory scheme and legal duties of     24   believed this to be an expansion of the
    25   distributors and DEA registrants."                  25   Controlled Substances Act. Do you know whether
                                                 Page 379                                                 Page 381
     1          Do you see that?                              1   or not the DEA believed that?
     2   A       I do.                                        2   MR. HOFFMAN:
     3   Q       And it says, "Although most                  3          Object to form.
     4   distributors are already well aware of the           4   A       I don't know.
     5   following legal principles, they are reiterated      5   MS. CONROY:
     6   here as an additional background for this            6   Q       And do you know any more today about
     7   discussion."                                         7   whether or not -- about what the DEA knew or
     8          Do you see that?                              8   didn't know in December of 2007?
     9   A       I do.                                        9   MS. SIDARTH:
    10   Q       Is it fair to say that you don't know       10          Objection.
    11   whether or not the DEA believed there to be any     11   MR. HOFFMAN:
    12   expansion of the Controlled Substances Act?         12          Object to form.
    13   Correct?                                            13   A       I don't know.
    14   MR. HOFFMAN:                                        14   MS. CONROY:
    15          Object to the form.                          15   Q       You can put that away.
    16   A       In terms of this letter, I would agree      16          You were asked some questions about
    17   with that, in terms of that letter.                 17   Exhibit 17, a meeting between Cardinal -- or some
    18   MS. CONROY:                                         18   con- -- some emails between Cardinal and
    19   Q       Okay. Because you may --                    19   yourself. Do you recall that?
    20          Well, okay. Fine.                            20   A       Yes.
    21          Let's take a look, then, at Exhibit 34,      21   Q       And you were asked a question about
    22   which is the 2007 letter. And, in this letter,      22   joint anti-diversion efforts between Purdue and
    23   is "The purpose" -- in the first paragraph, "The    23   an authorized distributor such as Cardinal. Do
    24   purpose of this letter is to reiterate the          24   you recall that?
    25   responsibilities of controlled substance            25   A       Asked that question by you?

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     1   Q        No. It was Mr. Pyser, and he asked you     1   Q        And I understand that you worked -- it
     2   about joint anti-diversion efforts.                 2   was your goal to work jointly with the authorized
     3   MR. PYSER:                                          3   distributors to make sure that you were not -- to
     4           Object to form.                             4   make sure you could try to end diversion and
     5   A        I -- I -- I recall generally, yes.         5   oversupply or whatever. But the responsibility
     6   MS. CONROY:                                         6   under the Controlled Substances Act was
     7   Q        Okay. Let me ask it this -- because        7   individual. Correct?
     8   it's kind of -- of course you don't remember        8   MR. HOFFMAN:
     9   specifically every word.                            9           Object to the preamble. Move to
    10           Would you agree with me that DEA is not    10   strike.
    11   interested in whether there are joint efforts to   11   A        The requirement is suspicious orders.
    12   prevent diversion? The responsibility is           12   So that indicates individual manufacturer,
    13   individual with respect to each registrant;        13   individual distributor, yeah.
    14   correct?                                           14   MS. CONROY:
    15   MR. PYSER:                                         15   Q        Okay. Would you agree with me that a
    16           Object to form.                            16   referral to the DEA is not routine? And I'm
    17   MR. HOFFMAN:                                       17   using "referral" in the sense of referrals that
    18           Object to form.                            18   were identified as such in the order monitoring
    19   A        Are we talking about a certain time       19   system database.
    20   frame?                                             20   A        Would I agree that reporting was not
    21   MS. CONROY:                                        21   routine?
    22   Q        Well, let's talk about the time that      22   Q        Referral.
    23   you were at Purdue. You understood that Purdue     23   A        Referrals.
    24   had its own responsibility as a DEA registrant     24   Q        The category "Referral."
    25   with respect to the Controlled Substances --       25   A        Right.
                                                Page 383                                                        Page 385
     1   Substances Act in any requirements?                 1           In the system that says "Complete,
     2   A       That's correct.                             2   Referred"?
     3   Q       So it wasn't -- you didn't have a -- a      3   Q        Exactly.
     4   joint responsibility with your authorized           4   A        Was not routine?
     5   wholesalers. You had your own responsibility.       5   Q        Correct.
     6   Correct?                                            6   A        I would agree with that.
     7   A       Correct.                                    7   Q        What you were talking about with
     8   Q       And every authorized distributor of         8   Mr. Hoffman was conversations with the DEA may
     9   Purdue had its own responsibilities.                9   have been routine for you.
    10   MR. PYSER:                                         10   A        Yes.
    11          Object to form.                             11   Q        Oh, here it is. If you take a look at
    12   A       To my knowledge, yes.                      12   Exhibit 32 that was just marked, and you see in
    13   MS. CONROY:                                        13   this list of --
    14   Q       So an authorized distributor couldn't      14           There's -- there are two things
    15   say, "Hey, we didn't report that because we        15   attached to this Exhibit 32 email to Barbara
    16   thought Purdue was gonna do it." You each had a    16   Boockholdt. One is a list of slow pharmacies
    17   responsibility; correct?                           17   with new criteria, an Excel spreadsheet.
    18   MR. HOFFMAN:                                       18   Correct?
    19          Objection. And argumentative.               19   A        I think it's an Excel spreadsheet,
    20   A       I and others made every effort that        20   yeah.
    21   that would not happen. It could have happened,     21   Q        Okay. And, on that spreadsheet, I
    22   but...                                             22   noticed, as number 86, you have the V Pacifica
    23   MS. CONROY:                                        23   Pharmacy in Huntington Beach, the B & B Pharmacy,
    24   Q       Right.                                     24   Gamble Pharmacy. On -- as number 21 you have
    25   A       Right.                                     25   St. Paul's Pharmacy.

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                                                Page 386                                                 Page 388
     1         Do you see that?                              1   face-to-face visit with the DEA; correct? That's
     2   A      I -- I see some of them that you've          2   what -- that's what Exhibit 32 is, this list?
     3   mentioned. I heard you. I see some of them,         3   A        Thirty-two, yeah. Once I was reminded
     4   yeah.                                               4   of this, that's -- that's what I said, yes.
     5   Q      Okay. Number 21 --                           5   Q        And it's your -- and you testified that
     6   A      I see it.                                    6   285 pharmacies were referred to the DEA?
     7   Q      -- St. Paul's?                               7   A        Yes, based on this correspondence here.
     8   A      Yep.                                         8   Q        Did you go and check and determine
     9   Q      Number 80, B & B.                            9   whether or not they were referred, as the term is
    10   A      I see it.                                   10   used in the order monitoring system's database?
    11   Q      Number 86, V Pacifica. Do you see           11   A        I did not.
    12   that?                                              12   Q        You don't know one way or the other
    13   A      I see it.                                   13   whether they are classified as referred as far as
    14   Q      And we -- and we talked about an order      14   Purdue's database is concerned; correct?
    15   monitoring report that was done for V Pacifica;    15   A        As we sit here today, that's correct.
    16   correct?                                           16   I don't remember.
    17   A      We did.                                     17   Q        And if you take a look at Exhibit 8,
    18   Q      And that was Exhibit 8, which I think       18   the recommendation on page 3 of 8, you actually
    19   you had out, or maybe it's back in the stack, if   19   see -- do you see that it's also number 665 at
    20   you could pull that out.                           20   the bottom?
    21         St. Paul's -- I'm sorry -- V Pacifica        21   A        Yes.
    22   was a pharmacy that had been -- that had been      22   Q        Okay. Do you see where it says, "Since
    23   suspicious for quite some time. Correct?           23   the wholesaler took appropriate action in
    24   MR. HOFFMAN:                                       24   consultation with Purdue to ensure greater due
    25         Object to form.                              25   diligence on the part of the pharmacy, order
                                                Page 387                                                 Page 389
     1   MS. CONROY:                                         1   volume decreased by more than 50 percent in
     2   Q        The report is dated October 28th of        2   February, has maintained at that level, and
     3   2010, but this -- the workup done on this           3   neither Steve nor Luis or the wholesaler have any
     4   pharmacy was certainly done over a period of        4   concerns about this account, it's recommended
     5   time; correct? You see, for example, the field      5   that this account be designated complete, closed,
     6   sales force input was back in April and June of     6   with the stipulation that the order monitoring
     7   2010?                                               7   system team will reopen its review upon receipt
     8   MR. HOFFMAN:                                        8   of new information"?
     9          I'm sorry. Objection. There are now          9          Do you see that?
    10   three questions pending. Which question do you     10   A       I do.
    11   want him to answer?                                11   Q       Does that -- do you know one way or the
    12   MS. CONROY:                                        12   other whether it was designated "complete,
    13   Q        The investigation of Pacifica Pharmacy    13   closed" on the system?
    14   didn't occur at the end of October of 2010;        14   A       I don't, but I would agree that it
    15   correct?                                           15   probably was.
    16   A        That's correct.                           16   Q       And the DEA was not alerted to this
    17   Q        It went over several months, if not       17   Pacifica Pharmacy until its sales of OxyContin
    18   years; correct?                                    18   decreased.
    19   MR. HOFFMAN:                                       19   MR. HOFFMAN:
    20          Object to the form. Foundation.             20          Object to form. Alerted by Purdue or
    21   A        Several months. I don't know if I'd       21   somebody else?
    22   agree with "years."                                22   A       I'm sorry.
    23   MS. CONROY:                                        23   MS. CONROY:
    24   Q        Okay. And your testimony was it was       24   Q       Okay. Let's take a look again at
    25   referred to the DEA on October 7th of 2011, in a   25   Exhibit 32 --

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     1   A        Right.                                      1   reformulated OxyContin had been touted to the
     2   Q        -- where you go and visit with the          2   DEA --
     3   DEA --                                               3         Do you recall that exchange?
     4   A        Right.                                      4   A      I do. Yeah.
     5   Q        -- and you alert them to --                 5   Q      And wouldn't you agree with me, if a
     6   A        Right.                                      6   study poster was being provided to the DEA about
     7   Q        -- in a list of two hundred and -- 285      7   the benefits of the reformulated OxyContin, that
     8   pharmacies.                                          8   was very far afield with the reporting of
     9   A        Right. I have it.                           9   suspicious pharmacies?
    10   Q        Pacifica Pharmacy was -- that name was     10   MR. HOFFMAN:
    11   provided to the DEA on October --                   11         Object to form.
    12          Well, the email was sent October 7.          12   A      That was in addition to.
    13   I'm not sure what time -- the meeting was a         13   MS. CONROY:
    14   couple of days earlier. That -- that pharmacy       14   Q      Correct.
    15   was listed because it sold less OxyContin;          15   A      Right.
    16   correct?                                            16   Q      But it had nothing to do with
    17   A        That's correct.                            17   suspicious pharmacies; right?
    18   Q        And I would like you to look at the        18   MR. HOFFMAN:
    19   front of Exhibit 32. One of the attachments is      19         Object to form.
    20   the list of slow pharmacies with new criteria.      20   A      Generally speaking, that's correct.
    21   Do you see that?                                    21   MS. CONROY:
    22   MR. GOLDMAN:                                        22   Q      It's -- it's -- it's a piece about one
    23          Thirty-two.                                  23   of Purdue's products; correct?
    24   THE WITNESS:                                        24   MR. HOFFMAN:
    25          Oh, I'm sorry.                               25         Object to the form.
                                                 Page 391                                                 Page 393
     1 MS. CONROY:                                            1   Q        The risks and benefits of one of its
     2 Q         Thirty-two.                                  2   products.
     3   A       I -- I -- I see the name of the listed       3   MR. HOFFMAN:
     4   attachment, yeah.                                    4           Object to the form.
     5   Q       And that -- and then there's a second        5   MR. GOLDMAN:
     6   attachment, PAINWeek ASI-MV OxyContin ORF Poster,    6           Object to the form. Lacks foundation.
     7   August 31st, 2011, FINAL.PPTX.                       7   A        I'm not trying to be difficult. I do
     8          Do you see that?                              8   not -- I don't remember what it was.
     9   A       I see it.                                    9   MS. CONROY:
    10   Q       Do you know what that is?                   10   Q        Okay.
    11   A       No. At this time, I don't recall it.        11   A        Yeah.
    12   Q       Does it refresh your memory if I tell       12   Q        With respect to Exhibit 5, which is the
    13   you that that was the study that was conducted      13   LA Times article, you had issue with -- on the --
    14   that showed the less abuse criteria -- less abuse   14           You may not need to see this.
    15   of the reformulated OxyContin?                      15   A        Okay.
    16   MR. HOFFMAN:                                        16   Q        You're lucky -- you're fine looking at
    17          Object to the form.                          17   it if you want.
    18   A       It -- it doesn't, unfortunately,            18           The page with MacArthur Park where you
    19   refresh my memory.                                  19   say -- where it's the -- what the article says,
    20   MS. CONROY:                                         20   "In an interview, Crowley said that in the five
    21   Q       In --                                       21   years he spent investigating suspicious
    22   A       So -- right.                                22   pharmacies, Purdue never shut off the flow of
    23   Q       In response to one of Mr. Hoffman's         23   pills to any store."
    24   questions about a question I had asked you          24           Do you remember that? And you said
    25   earlier about whether the benefits of the           25   that was not accurate. You --

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                                                     Page 394                                                  Page 396
     1   A        I do remember saying that, yeah.                 1   Q        Okay.
     2   Q        Okay. Is it accurate that Purdue did             2   A        Yeah.
     3   not shut off the flow of pills to any of the              3   Q        Do you know if H.D. Smith referred any
     4   stores that were identified, any of the                   4   of the pharmacies listed in the LA Times article
     5   pharmacies that were identified in this LA                5   to the DEA?
     6   article, LA Times articles?                               6   A        Off the top of my head, I would say
     7   A        I'd have to look at the names again.             7   St. Paul's Pharmacy simultaneously with -- they
     8   I --                                                      8   shut them off as a customer, if I could use that
     9   Q        Okay.                                            9   term. They discontinued business with St. Paul's
    10   A        Sorry. Yeah.                                    10   Pharmacy. I believe they reported that to DEA.
    11   Q        And if I wanted to take a look and see          11   Q        And was that around the time of the
    12   if Purdue had ever shut off any of the                   12   article?
    13   pharmacies, reported them to the DEA and shut off        13   MR. GOLDMAN:
    14   the supply of Purdue product to the pharmacies           14          Object to the form.
    15   listed in the LA Times article, I would need to          15   A        No. That was -- that was in 2009. I
    16   go to the database, the order monitoring system          16   think the article came out in -- what? -- 2016?
    17   database, and determine whether or not there were        17   MS. CONROY:
    18   referrals to the DEA?                                    18   Q        Okay. So who -- who was supplying
    19   MR. HOFFMAN:                                             19   St. Paul's Pharmacy after -- after H.D. Smith in
    20          Object to form.                                   20   2009?
    21   A        That's one place, yes.                          21   MR. HOFFMAN:
    22   MS. CONROY:                                              22          Object to form. Foundation.
    23   Q        Okay. Or look at the notes.                     23   A        I -- I -- I don't remember. I'm sorry.
    24   A        Right.                                          24   MS. CONROY:
    25   Q        Or ask you what you remember.                   25   Q        It would have been one of Purdue's
                                                       Page 395                                                Page 397
     1   A       That'd be another way of doing it, yep.           1   authorized distributors; correct?
     2   Q       Or ask other members of the order                 2   A       Yes.
     3   monitoring committee if they recalled whether or          3   Q       Do you know --
     4   not any of the LA Times-mentioned pharmacies were         4   A       I believe so, yes.
     5   shut off from Purdue products?                            5   Q       And do you know if, whoever that may
     6   A       That's correct.                                   6   have been, do you know if that authorized
     7   Q       Anybody else I could talk to that would           7   distributor stopped the supply of Purdue products
     8   know?                                                     8   to St. Paul's Pharmacy?
     9   A       Again, we're using the terminology                9   MR. HOFFMAN:
    10   "shut off."                                              10          Object to form. Foundation.
    11   Q       Or not -- not sold to?                           11   A       I -- I -- I don't. But I will say
    12   A       Exclusively by Purdue?                           12   eventually St. Paul's shut itself off. The owner
    13   Q       Well, that'd be one way, if Purdue had           13   fled the country, I think. I think. So it -- it
    14   done it. But there's no reason to believe that           14   discontinued pharmacy business on its own --
    15   they did it, because you told me about every             15   MS. CONROY:
    16   instance when Purdue shut off supply; correct?           16   Q       But --
    17   MR. GOLDMAN:                                             17   A       -- is my recollection.
    18         Objection.                                         18   Q       But that was -- that was some number of
    19   MR. HOFFMAN:                                             19   years after H.D. Smith stopped supplying in 2009;
    20         Object to the form. Foundation.                    20   correct?
    21   Misstatement.                                            21   A       I --
    22   A       I don't know if I told you about every           22   MR. HOFFMAN:
    23   incident that --                                         23          Object to form. Foundation.
    24         I tried to. So...                                  24   A       I -- I don't think so. I think it was
    25   MS. CONROY:                                              25   around the same time. I mean, you know, within

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     1   several months.                                      1           CERTIFICATE
     2   MS. CONROY:                                          2
     3   Q       What about Pacifica Pharmacy?                3        I do hereby certify that the above and
                                                              4 foregoing transcript of proceedings in the matter
     4   MR. HOFFMAN:
                                                              5 aforementioned was taken down by me in machine
     5          Objection.
                                                              6 shorthand, and the questions and answers thereto
     6   MR. GOLDMAN:                                         7 were reduced to writing under my personal
     7          Objection.                                    8 supervision, and that the foregoing represents a
     8   MS. CONROY:                                          9 true and correct transcript of the proceedings
     9   Q       Do you know if that was -- do you know      10 given by said witness upon said hearing.
    10   if any supply was ever stopped to that pharmacy?    11       I further certify that I am neither of
    11   MR. HOFFMAN:                                        12 counsel nor of kin to the parties to the action,
    12          Object to form. I think it's also            13 nor am I in anywise interested in the result of
    13   beyond the scope of the track 1 cases.              14 said cause.
    14   A       I don't. I read something in the            15
    15   exhibit.                                            16
                                                             17
    16   MS. CONROY:
                                                             18
    17   Q       The exhibit about the slow pharmacies?
                                                                              LOIS ANNE ROBINSON, RPR, RMR
    18   A       No. The one you just asked me about,
                                                             19               REGISTERED DIPLOMATE REPORTER
    19   V Pacifica. Isn't that --
                                                                              CERTIFIED REALTIME REPORTER
    20   Q       Oh, right. The -- the order -- the          20
    21   report about that?                                  21
    22   A       I think so, yeah.                           22
    23   Q       Let me ask it this way. As you sit --       23
    24          There are a number of pharmacies that        24
    25   were involved in the L.A. Times article; correct?   25

                                                 Page 399                                                          Page 401
     1   Not just St. Paul's?                                 1           ERRATA PAGE
     2   A       That's correct.                              2
                                                              3          I, JACK CROWLEY, the witness herein, have
     3   Q       Okay. And do you know one way or the
                                                                  read the transcript of my testimony, and the same
     4   other when or who of the authorized distributors     4   is true and correct, to the best of my knowledge,
     5   of Purdue products stopped supplying those               with the exceptions of the following changes noted
     6   pharmacies, if ever?                                 5   below, if any:
     7   MR. HOFFMAN:                                         6   Page/Line Word(s) to be changed/reason Correct Word
     8          Object to form. Foundation.                   7   _________ ________________________ _____________
     9   A       At this point, I don't -- do not.            8   _________ ________________________ _____________
    10   MS. CONROY:                                          9   _________ ________________________ _____________
                                                             10   _________ ________________________ _____________
    11          That's all I have. Thank you,
                                                             11   _________ ________________________ _____________
    12   Mr. Crowley.                                        12   _________ ________________________ _____________
    13   THE WITNESS:                                        13   _________ ________________________ _____________
    14          Thank you.                                   14   _________ ________________________ _____________
    15   VIDEOGRAPHER:                                       15   _________ ________________________ _____________
    16          We are now going off the video record.       16   _________ ________________________ _____________
    17          Are there any follow-ups?                    17   _________ ________________________ _____________
    18   MR. HOFFMAN:                                        18   _________ ________________________ _____________
    19          No. I don't have any.                        19   _________ ________________________ _____________
                                                             20   _________ ________________________ _____________
    20   VIDEOGRAPHER:
                                                             21
    21          The time is currently 7:57 p.m. This                          ____________________________
    22   is the end of media number 6 and the end of the     22               JACK CROWLEY
    23   deposition.                                         23
    24          (Deposition concluded at 7:57 p.m.)          24
    25                                                       25


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                                                                               Review
                                                          Page 402
     1           DECLARATION OF WITNESS
     2
     3        I, the undersigned, declare under penalty
     4 of perjury that I have read the foregoing
     5 transcript, and I have made any corrections,
     6 additions, or deletions that I was desirous of
     7 making; that the foregoing is a true and correct
     8 transcript of my testimony contained herein.
     9       EXECUTED this ______ day of ____________,
    10 2019, at ____________________, ___________________.
              (City)          (State)
    11
    12
    13
    14
    15
                   _______________________________
    16             JACK CROWLEY
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